                                                   Objection Deadline: June 15, 2023

PACHULSKI STANG ZIEHL & JONES LLP
James I. Stang, Esq. (admitted pro hac vice)
Karen B. Dine, Esq.
Gillian N. Brown, Esq.
Brittany M. Michael, Esq.
780 Third Avenue, 36th Floor
New York, New York 10017
Tel: 212-561-7700; Fax: 212- 561-7777
Email:         jstang@pszjlaw.com.
               kdine@pszjlaw.com
               gbrown@pszjlaw.com
               bmichael@pszjlaw.com

Counsel to the Official Committee
of Unsecured Creditors


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                            Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                     Case No. 20-12345 (SCC)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.




          TWENTY-EIGHTH MONTHLY FEE STATEMENT OF PACHULSKI
           STANG ZIEHL & JONES LLP FOR PROFESSIONAL SERVICES
            RENDERED AND DISBURSEMENTS INCURRED AS COUNSEL
         TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
            THE PERIOD FROM APRIL 1, 2023 THROUGH APRIL 30, 2023




                                               1
DOCS_LA:349282.1 18491/002
 Name of Applicant:                                                    Pachulski Stang Ziehl & Jones LLP
 Authorized to Provide Professional Services                           Official Committee of Unsecured Creditors
 to:
                                                                       Effective October 16, 2020 pursuant to Order
 Date of Retention:
                                                                       dated November 17, 2020 [Docket No.163]
 Period for which Compensation and
                                                                       April 1, 2023 – April 30, 20231
 Reimbursement is Sought:
 Amount of Compensation Sought as Actual,
                                                                       $1,243,820.60 (80% of $1,554,775.75)
 Reasonable and Necessary:
 Amount of Expense Reimbursement Sought
                                                                       $73,650.63
 as Actual, Reasonable and Necessary:

This is a:            x Monthly                Interim              Final Application.

                                                   Preliminary Statement

          Pachulski Stang Ziehl & Jones LLP (“PSZ&J”), counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre,

New York (the “Debtor”), hereby submits this statement of fees and disbursements (the

“Monthly Statement”) for the period from April 1, 2023 through April 30, 2023 (the

“Compensation Period”) in accordance with the Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals, dated November 4, 2020

[Docket No. 129] (the “Interim Compensation Order”). PSZ&J requests (a) interim allowance

and payment of compensation in the amount of $1,243,820.60 (80% of $1,554,775.75) for fees

on account of reasonable and necessary professional services rendered to the Committee by

PSZ&J;2 and (b) reimbursement of actual and necessary costs and expenses in the amount of

$73,650.63. PSZ&J reserves the right to apply in the future for reimbursement of actual and




1 The applicant reserves the right to include any time expended in the time period indicated above in future application(s) if it is

not included herein.
2 PSZJ will hold ten percent of all fees received in this case in a trust account to benefit this case’s abuse claimants. The funds

will be held until a trust is established through a plan of reorganization. If no such trust is created, the funds will be donated to a
child advocacy organization to be selected by the Committee at the conclusion of the case.


                                                                   2
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necessary costs and expenses, if any, incurred by members of the Committee in connection with

their service as members of the Committee during the Compensation Period.

                        Services Rendered During the Compensation Period

                 Exhibit A sets forth a timekeeper summary that includes the respective names,

positions, department, bar admissions, hourly billing rates and aggregate hours spent by each

PSZ&J professional and paraprofessional that provided services to the Committee during the

Compensation Period. The rates charged by PSZ&J for services rendered to the Committee are

the same rates that PSZ&J charges generally for professional services rendered to its non-

bankruptcy clients.

                 Exhibit B sets forth a task code summary that includes the aggregate hours per

task code spent by PSZ&J professionals and paraprofessionals in rendering services to the

Committee during the Compensation Period.

                 Exhibit C sets forth a disbursement summary that includes the aggregate

expenses, organized by general disbursement categories, incurred by PSZ&J in connection with

services rendered to the Committee during the Compensation Period.

                 Exhibit D sets forth a complete itemization of all time records for PSZ&J

professionals and paraprofessionals for the Compensation Period.

                                    Notice and Objection Procedures

                 No trustee or examiner has been appointed in this chapter 11 case. Notice of the

Monthly Statement has been served by electronic mail and/or U.S. First Class Mail upon: (a) the

Debtor c/o The Roman Catholic Diocese of Rockville Centre, 50 N Park Ave P.O. Box 9023,

Rockville Centre, NY 11571-9023 (Attn: Thomas Renker, Esq.); (b) the attorneys for the Debtor

at Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne Ball, Esq., Benjamin




                                                  3
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Rosenblum, Esq. and Andrew M. Butler, Esq.); and (c) the Office of the United States Trustee

Region 2, 201 Varick Street, Suite 1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and

Shara Cornell, Esq.). PSZ&J submits that no other or further notice need be provided.

                 Pursuant to the Interim Compensation Order, objections to this Application, if

any, must be served upon the undersigned counsel for the Committee and all persons identified at

paragraph 5, above, by June 15, 2023 (the “Objection Deadline”), setting forth the nature of the

objection and the amount of fees or expenses at issue.

                 If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay PSZ&J 80% of the fees and 100% of the expenses set forth above.

                 To the extent an objection to this Monthly Statement is timely made, the Debtor

shall withhold payment of that portion of the Monthly Statement to which the objection is

directed and promptly pay the remainder of the fees and disbursements in the percentages set




                             [remainder of page left intentionally blank]




                                                  4
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forth above. To the extent such objection is not resolved, it shall be preserved and presented to

the Court at the next interim or final fee application hearing.

                                               PACHULSKI STANG ZIEHL & JONES LLP
 Dated: May 31, 2023
                                                /s/ Gillian N. Brown
                                               James I. Stang, Esq. (admitted pro hac vice)
                                               Karen B. Dine, Esq.
                                               Gillian N. Brown, Esq.
                                               Brittany M. Michael, Esq.
                                               780 Third Avenue, 36th Floor
                                               New York, New York 10017
                                               Tel: (212) 561-7700; Fax: (212) 561-7777
                                               Email:
                                               jstang@pszjlaw.com
                                               kdine@pszjlaw.com
                                               gbrown@pszjlaw.com
                                               bmichael@pszjlaw.com

                                                Counsel to the Official Committee of Unsecured
                                                Creditors




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                                             EXHIBIT A

                                         Timekeeper Summary

NAME OF PROFESSIONAL            TITLE      YEAR OF      YEAR OF     HOURLY      TOTAL        TOTAL
                                          ADMISSION   PARTNERSHIP    RATE       HOURS     COMPENSATION
                                                                                BILLED




James I. Stang               Partner        1980         1983       $1,695.00    45.10      $76,444.50
Linda F. Cantor              Partner        1991         1994       $1,450.00    52.80      $76,560.00
Alan J. Kornfeld             Partner        1987         1996       $1,675.00   129.80     $217,415.00
Iain A.W. Nasatir            Partner        1983         1998       $1,395.00    74.30     $103,648.50
Iain A.W. Nasatir            Partner        1983         1998        $697.50     22.50      $15,693.75
Kenneth H. Brown             Partner        1981         2001       $1,525.00   126.90     $193,522.50
Kenneth H. Brown             Partner        1981         2001         762.50     11.50       $8,768.75
Ilan D. Scharf               Partner        2002         2010       $1,125.00      2.30      $2,587.50
John W. Lucas                Partner        2005         2014       $1,150.00      1.30      $1,495.00
Harry D. Hochman             Associate      1987         N/A        $1,350.00      5.40      $7,290.00
Hayley R. Winograd           Associate      2018         N/A         $825.00       1.20        $990.00
James K.T. Hunter            Counsel        1976         N/A        $1,350.00      9.70     $13,095.00
Gina F. Brandt               Counsel        1976         N/A        $1,050.00    28.80      $30,240.00
Judith Elkin                 Counsel        1981         N/A             0.00      2.50          $0.00
Judith Elkin                 Counsel        1981         N/A        $1,450.00    68.60      $99,470.00
Tavi C. Flanagan             Counsel        1993         N/A        $1,075.00   125.80     $135,235.00
Beth E. Levine               Counsel        1993         N/A        $1,095.00      4.00      $4,380.00
Gail S. Greenwood            Counsel        1994         N/A        $1,095.00   130.70     $143,116.50
Gail S. Greenwood            Counsel        1994         N/A         $547.50     14.50       $7,938.75
Gail S. Greenwood            Counsel        1994         N/A             $0.0      3.00          $0.00
Karen B. Dine                Counsel        1994         N/A        $1,395.00   148.80     $207,576.00
Gillian N. Brown             Counsel        1999         N/A           $0.00        .70          $0.00
Gillian N. Brown             Counsel        1999         N/A         $975.00     79.00      $77,025.00



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NAME OF PROFESSIONAL            TITLE     YEAR OF      YEAR OF     HOURLY     TOTAL        TOTAL
                                         ADMISSION   PARTNERSHIP    RATE      HOURS     COMPENSATION
                                                                              BILLED




Cia H. Mackle                Counsel       2006         N/A        $925.00        .50        $462.50
Brittany M. Michael          Counsel       2015         N/A        $875.00     85.50      $74,812.50
Beth D. Dassa                Paralegal     N/A          N/A        $545.00       2.30      $1,253.50
Mike A. Matteo               Paralegal     N/A          N/A        $495.00       2.10      $1,039.50
Karina K. Yee                Paraleal      N/A          N/A        $545.00        .20        $109.00
Diane H. Hinojosa            Paralegal     N/A          N/A        $395.00       5.20      $2,054.00
La Asia S. Canty             Paralegal     N/A          N/A        $545.99     66.10      $36,024.50
La Asia S. Canty             Paralegal     N/A          N/A        $272.50       2.40        $654.00
Kerri L. LaBrada             Paralegal     N/A          N/A        $545.00     28.80      $15,696.00
Leslie A. Forrester          Other         N/A          N/A        $595.00        .30        $178.50
Totals                                                                       1,282.60   $1,554,775.75




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                                          EXHIBIT B

                                      Task Code Summary

       Code                           Description          Hours       Amount
        CA         Case Administration                       5.10       $3,325.50
      CCONF        Chambers Conference                       2.80       $3,335.50
       CEM         Cemetery Transfers                        2.90       $4,121.50
        CO         Claims Admin/Objections                  33.30      $43,100.50
       CPO         Claims Admin/Objections                   1.30       $1,397.50
       CRF         Committee Discovery Requests –
                                                            20.00      $28,006.00
                   Finance/Governance
        IAC        IAC/Affiliate Transactions                 3.40       $5,206.00
        IFA        Interim Fee Applications                   4.40       $2,550.00
         IL        Insurance Litigation                       1.00       $1,395.00
       MCC         Mtgs/Conf w/Client                        21.40      $26,343.00
       MCP         Mtgs/Conf w/Cmte Profs                      .80       $1,116.00
        MD         Motion to Dismiss                        529.90     $667,558.00
        ME         Mediation                                109.20    $138,342.00
        MF         Mtgs/Conf w/ Case Prof.                    4.60       $6,613.00
       MFA         Monthly Fee Statements                     4.40       $2,850.00
       MOCP        Mtgs/Conf w/other Case Parties             1.80       $2,166.00
       OPH         Open Court Hearing                        61.30      $72,520.50
         PD        Plan & Disclosure Stmt.                    1.90       $2,245.50
       PDJD        Diocese Plan/Disclosure Stmt               2.40       $2,300.00
       PINJ        Preliminary Injunction                   419.60    $507,229.00
         TR        Travel                                    50.90      $33,055.25
                   TOTAL                                  1,282.80   $1,554,775.75




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                                              EXHIBIT C
                                         Disbursement Summary


                             Expenses (by Category)             Amounts
            Air Fare                                               $9,765.30
            Auto Travel Expense                                    $1,788.28
            Bloomberg                                                 $20.00
            Working Meals                                           $707.70
            Delivery service/messengers                             $423.18
            Federal Express                                         $140.88
            Filing Fee                                                $25.00
            Hotel Expense                                          $8,955.48
            Lexis/Nexis – Legal Research                             $593.13
            Outside Services                                      $42,583.00
            Pacer – Court Research                                    $39.80
            Postage                                                   $58.73
            Reproduction/Scan Copy                                 $4,766.00
            Travel Expense                                           $240.00
            Transcript                                             $3,544.15
            TOTAL                                                 $73,650.63




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                             EXHIBIT D




DOCS_LA:349282.1 18491/002
                               Pachulski Stang Ziehl & Jones LLP
                                       10100 Santa Monica Blvd.
                                              13th Floor
                                        Los Angeles, CA 90067
                                                                   April 30, 2023
JIS                                                                Invoice 132421
                                                                   Client    18491
                                                                   Matter    00002
                                                                             GNB

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 04/30/2023
               FEES                                               $1,554,775.75
               EXPENSES                                             $73,650.63
               TOTAL CURRENT CHARGES                              $1,628,426.38

               BALANCE FORWARD                                    $3,097,695.98
               LAST PAYMENT                                        $695,795.60
               TOTAL BALANCE DUE                                  $4,030,326.76
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  Summary of Services by Professional
  ID        Name                        Title         Rate     Hours               Amount

 AJK        Kornfeld, Alan J.           Partner     1675.00   129.80           $217,415.00

 BDD        Dassa, Beth D.              Paralegal    545.00     2.30             $1,253.50

 BEL        Levine, Beth E.             Counsel     1095.00     4.00             $4,380.00

 BMM        Michael, Brittany M.        Counsel      875.00    85.50            $74,812.50

 CHM        Mackle, Cia H.              Counsel      925.00     0.50              $462.50

 DHH        Hinojosa, Diane H.          Paralegal    395.00     5.20             $2,054.00

 GFB        Brandt, Gina F.             Counsel     1050.00    28.80            $30,240.00

 GNB        Brown, Gillian N.           Counsel        0.00     0.70                 $0.00

 GNB        Brown, Gillian N.           Counsel      975.00    79.00            $77,025.00

 GSG        Greenwood, Gail S.          Counsel        0.00     3.00                 $0.00

 GSG        Greenwood, Gail S.          Counsel      547.50    14.50             $7,938.75

 GSG        Greenwood, Gail S.          Counsel     1095.00   130.70           $143,116.50

 HDH        Hochman, Harry D.           Counsel     1350.00     5.40             $7,290.00

 HRW        Winograd , Hayley R.        Associate    825.00     1.20              $990.00

 IAWN       Nasatir, Iain A. W.         Partner      697.50    22.50            $15,693.75

 IAWN       Nasatir, Iain A. W.         Partner     1395.00    74.30           $103,648.50

 IDS        Scharf, Ilan D.             Partner     1125.00     2.30             $2,587.50

 JE         Elkin, Judith               Counsel        0.00     2.50                 $0.00

 JE         Elkin, Judith               Counsel     1450.00    68.60            $99,470.00

 JIS        Stang, James I.             Partner     1695.00    45.10            $76,444.50

 JKH        Hunter, James K. T.         Counsel     1350.00     9.70            $13,095.00

 JWL        Lucas, John W.              Partner     1150.00     1.30             $1,495.00

 KBD        Dine, Karen B.              Counsel     1395.00   148.80           $207,576.00

 KHB        Brown, Kenneth H.           Partner      762.50    11.50             $8,768.75

 KHB        Brown, Kenneth H.           Partner     1525.00   126.90           $193,522.50

 KKY        Yee, Karina K.              Paralegal    545.00     0.20              $109.00

 KLL        LaBrada, Kerri L.           Paralegal    545.00    28.80            $15,696.00

 LAF        Forrester, Leslie A.        Other        595.00     0.30              $178.50

 LFC        Cantor, Linda F.            Partner     1450.00    52.80            $76,560.00

 LSC        Canty, La Asia S.           Paralegal    272.50     2.40              $654.00
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 LSC        Canty, La Asia S.       Paralegal    545.00      66.10            $36,024.50

 MAM        Matteo, Mike A.         Paralegal    495.00       2.10             $1,039.50

 TCF        Flanagan, Tavi C.       Counsel     1075.00     125.80           $135,235.00

                                                          1282.60        $1,554,775.75
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  Summary of Services by Task Code
  Task Code         Description                       Hours                        Amount

 CA                 Case Administration [B110]          5.10                      $3,325.50

 CCONF              Chambers Conference                 2.80                      $3,335.50

 CEM                Cemetery Transfers                  2.90                      $4,121.50

 CO                 Claims Admin/Objections[B310]      33.30                     $43,100.50

 CPO                Comp. of Prof./Others               1.30                      $1,397.50

 CRF                CmteDisc Reqs- Finance/Govern      20.00                     $28,006.00

 IAC                IAC/Affiliate Transactions          3.40                      $5,206.00

 IFA                Interim Fee Applications            4.40                      $2,550.00

 IL                 Insurance Litigation                1.00                      $1,395.00

 MCC                Mtgs/Conf w/Client                 22.40                     $27,393.00

 MCP                Mtgs/Conf w/Cmte Profs              0.80                      $1,116.00

 MD                 Motion to Dismiss                 530.70                    $668,674.00

 ME                 Mediation                         109.20                    $138,342.00

 MF                 Mtgs/Conf w/ Case Prof.             4.60                      $6,613.00

 MFA                Monthly Fee Statements              4.60                      $2,850.00

 OPH                Open Court Hearing                 61.30                     $72,520.50

 PD                 Plan & Disclosure Stmt. [B320]      1.90                      $2,245.50

 PDJD               Diocese Plan/Disclosure Stmt.       2.40                      $2,300.00

 PINJ               Preliminary Injunction            419.60                    $507,229.00

 TR                 Travel                             50.90                     $33,055.25

                                                     1282.60                $1,554,775.75
Pachulski Stang Ziehl & Jones LLP   Page:      5
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18491 - 00002                       April 30, 2023


  Summary of Expenses
  Description                                        Amount
Air Fare [E110]                                $9,765.30
Auto Travel Expense [E109]                     $1,788.28
Bloomberg                                            $20.00
Working Meals [E111]                            $707.70
Delivery service/messengers                     $423.18
Federal Express [E108]                          $140.88
Filing Fee [E112]                                    $25.00
Hotel Expense [E110]                           $8,955.48
Lexis/Nexis- Legal Research [E                  $593.13
Outside Services                              $42,583.00
Pacer - Court Research                               $39.80
Postage [E108]                                       $58.73
Reproduction Expense [E101]                     $166.70
Reproduction/ Scan Copy                        $4,599.30
Travel Expense [E110]                           $240.00
Transcript [E116]                              $3,544.15

                                              $73,650.63
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                                                                                        Hours            Rate     Amount

  Case Administration [B110]
 04/04/2023   KLL     CA        Check in with transcriber on update for transcript       0.20         545.00       $109.00
                                request.

 04/07/2023   KLL     CA        Review docket and update critical dates memo for         0.30         545.00       $163.50
                                upcoming tasks.

 04/10/2023   KLL     CA        Correspond with Veritext on update for 3/28 hearing      0.20         545.00       $109.00
                                transcript.

 04/10/2023   KLL     CA        Revise master service list.                              0.40         545.00       $218.00

 04/14/2023   KLL     CA        Review dockets and update critical dates memo.           0.30         545.00       $163.50

 04/18/2023   GNB     CA        Email K. LaBrada regarding changes to pleading           0.10         975.00        $97.50
                                template.

 04/21/2023   KLL     CA        Review dockets and update critical date memos.           0.40         545.00       $218.00

 04/24/2023   KLL     CA        Review and update critical dates memo.                   0.20         545.00       $109.00

 04/25/2023   GNB     CA        Email with PSZJ staff regarding non-deliverable          0.10         975.00        $97.50
                                service by U.S. Mail; Email K. Dine and B. Michael
                                regarding service issues.

 04/25/2023   JIS     CA        Call with B. Michael re case status.                     0.40       1695.00        $678.00

 04/25/2023   KLL     CA        Review case management order and correspond with         0.20         545.00       $109.00
                                K. Dine on response deadlines.

 04/25/2023   KLL     CA        Update critical dates memo re objection to draft sale    0.20         545.00       $109.00
                                order.

 04/25/2023   KLL     CA        Update master service list.                              0.40         545.00       $218.00

 04/25/2023   KLL     CA        Review filing of notice of revised sale order for        0.20         545.00       $109.00
                                additional service parties.

 04/26/2023   KLL     CA        Review and revise master service list.                   1.00         545.00       $545.00

 04/26/2023   KLL     CA        Correspond with K. Dine on reply to notice of sale       0.20         545.00       $109.00
                                and revised order.

 04/28/2023   KLL     CA        Review dockets and update critical dates memo.           0.30         545.00       $163.50

                                                                                          5.10                    $3,325.50

  Chambers Conference
 04/17/2023   AJK     CCONF Attend hearing (Zoom) re discovery Bishop Barres             0.70       1675.00       $1,172.50
                            deposition.
Pachulski Stang Ziehl & Jones LLP                                                                  Page:      7
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                                                                                          Hours            Rate      Amount

 04/17/2023   GNB     CCONF Attend court conference on motion for protective               0.70           0.00         $0.00
                            order on deposition of Bishop Barres.

 04/17/2023   JIS     CCONF Attend hearing regarding Bishop deposition.                    0.70       1695.00       $1,186.50

 04/17/2023   KBD     CCONF Attend court conference regarding discovery.                   0.70       1395.00        $976.50

                                                                                            2.80                    $3,335.50

  Cemetery Transfers
 04/25/2023   KHB     CEM       Emails to F. Oswald re refusal of Cemco to negotiate       1.30       1525.00       $1,982.50
                                (.5); confer BRG re ability to pay analysis (.8).

 04/25/2023   GSG     CEM       Emails to/from K. Brown re Cemco settlement                0.20       1095.00        $219.00
                                discussions and pending mediation.

 04/25/2023   GSG     CEM       Call with J. Stang, K. Brown and BRG (P. Shields,          0.50       1095.00        $547.50
                                C. Tergevorkain, R. Strong, and E. Madsen) re
                                Cemco financial status.

 04/27/2023   KHB     CEM       Telephone call with Frank Oswald re response to            0.70       1525.00       $1,067.50
                                requests for information on ability to pay (.3); emails
                                with F. Oswald re same and re tolling agreement
                                (.4).

 04/28/2023   KHB     CEM       Email from F. Oswald re responses to information           0.20       1525.00        $305.00
                                requests.

                                                                                            2.90                    $4,121.50

  Claims Admin/Objections[B310]
 04/01/2023   JE      CO        Research issues relating to impact of case dismissal       1.30       1450.00       $1,885.00
                                on claim objection rulings.

 04/01/2023   JE      CO        Review additional case law on case dismissal.              0.40       1450.00        $580.00

 04/01/2023   JE      CO        Miscellaneous correspondence with J. Stang                 0.20       1450.00        $290.00
                                regarding impact of case dismissal on claim
                                objection rulings.

 04/01/2023   KBD     CO        Analyze pleadings on objections to claims.                 2.20       1395.00       $3,069.00

 04/03/2023   JIS     CO        Call from state court counsel re notice claim              0.30       1695.00        $508.50
                                objection.

 04/03/2023   JIS     CO        Review and respond to Parish email regarding parish        0.30       1695.00        $508.50
                                claim objection.

 04/03/2023   JIS     CO        Call with parish counsel re resolution of claims           0.70       1695.00       $1,186.50
                                objections.
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                                                                                         Hours           Rate     Amount

 04/03/2023   KHB     CO        Prepare for hearing on disallowance of claims (1.4);      3.30      1525.00       $5,032.50
                                email to court from Parish counsel re allegations that
                                resolution of claims is not ripe (.2); emails with J.
                                Stang and K. Dine re response to letter to Court (.8);
                                prepare proposed reservation of rights language (.5);
                                emails with J. Stang and K. Dine and B. Michaels re
                                same (.4).

 04/03/2023   GSG     CO        Review case law re claim objection and inherent           0.30      1095.00        $328.50
                                powers.

 04/03/2023   GSG     CO        Review parish letter to court and related emails re       0.30      1095.00        $328.50
                                PSIP claims.

 04/03/2023   KBD     CO        Call with J. Stang regarding Parish claim issues.         0.10      1395.00        $139.50

 04/03/2023   KBD     CO        Analyze issues relating to Parish proposal regarding      0.80      1395.00       $1,116.00
                                claims objections.

 04/03/2023   KBD     CO        Review pleadings relating to claims objections.           0.40      1395.00        $558.00

 04/04/2023   JIS     CO        Call with PSZJ team regarding Parish objections           0.30      1695.00        $508.50
                                stipulation.

 04/04/2023   JIS     CO        Call K. Brown re parish objection stipulation.            0.10      1695.00        $169.50

 04/04/2023   JIS     CO        Multiple emails regarding proposed settlement with        0.60      1695.00       $1,017.00
                                parishes on claims objections.

 04/04/2023   JIS     CO        Call with PSZJ team regarding parish objections.          0.50      1695.00        $847.50

 04/04/2023   KHB     CO        Review pleadings re claims objections and prepare         5.90      1525.00       $8,997.50
                                for hearing (2.6); Call with J. Stang, B. Michael and
                                K. Dine re response to parish proposal for
                                disallowance of claims without prejudice and
                                implications (.5); conferences with J. Stang re parish
                                proposal for disallowance of claims without
                                prejudice (.6); work on language for stipulation for
                                allowance without prejudice (.7); emails from T.
                                Sloan re proposed language (.4); prepare proposed
                                stipulated order (1.1).

 04/04/2023   JE      CO        Discuss additional claim objections with I. Scharf.       0.50      1450.00        $725.00

 04/04/2023   KBD     CO        Call with PSZJ team regarding Parish claims               0.50      1395.00        $697.50
                                objection issues.

 04/04/2023   KBD     CO        Analyze issues relating to Parish claims.                 1.00      1395.00       $1,395.00

 04/04/2023   BMM     CO        Communications with team regarding parish claims.         0.70        875.00       $612.50

 04/04/2023   BMM     CO        Meeting regarding parish claims objections with           0.50        875.00       $437.50
                                team.
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 04/04/2023   BMM     CO        Communication with K. Brown regarding hearing            0.10        875.00       $87.50
                                preparations on parish claims objections.

 04/05/2023   KHB     CO        Emails with K. Dine re proposed order disallowing        0.20      1525.00       $305.00
                                parish claims.

 04/05/2023   KBD     CO        Attention to proposed order regarding Parish             0.10      1395.00       $139.50
                                objections.

 04/06/2023   KHB     CO        Confer with K. Dine re form of order disallowing         0.30      1525.00       $457.50
                                parish claims (.1); emails with K. Dine re letter to
                                the Court re submission of order (.2).

 04/06/2023   GSG     CO        Review court letters and unpublished decision re         0.30      1095.00       $328.50
                                negligent supervision and response to claim
                                objection hearing.

 04/06/2023   KBD     CO        Revisions to proposed stipulated order.                  0.10      1395.00       $139.50

 04/06/2023   KBD     CO        Correspondence with counsel for claimants                0.10      1395.00       $139.50
                                regarding form of order.

 04/06/2023   KBD     CO        Draft letter to Chief Judge Glenn regarding              0.10      1395.00       $139.50
                                stipulated order.

 04/07/2023   KHB     CO        Review entered order disallowing parish claims.          0.10      1525.00       $152.50

 04/07/2023   KBD     CO        Analyze correspondence with Court regarding              0.20      1395.00       $279.00
                                objections to claims.

 04/07/2023   KBD     CO        Finalize letter and order for filing with Court.         0.20      1395.00       $279.00

 04/07/2023   KLL     CO        Review amended order re tenth omnibus objection to       0.20        545.00      $109.00
                                claims.

 04/07/2023   KLL     CO        Review and revise for filing Letter re proposed order    0.70        545.00      $381.50
                                on first omnibus objection to claims.

 04/10/2023   JIS     CO        Call K. Dine regarding Reich firm supplementary          0.20      1695.00       $339.00
                                letter to court regarding claim objection.

 04/10/2023   JIS     CO        Review Reich letter regarding response to omnibus        0.20      1695.00       $339.00
                                objection.

 04/12/2023   GSG     CO        Review orders and memorandum on released and             0.30      1095.00       $328.50
                                adjudicated claims.

 04/12/2023   KLL     CO        Review 2 additional abuse POC's.                         0.30        545.00      $163.50

 04/12/2023   KLL     CO        Review docket and pull all withdrawal of claims          0.90        545.00      $490.50
                                notices.

 04/12/2023   KLL     CO        Review docket and pull all orders to omnibus             0.50        545.00      $272.50
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                                                                                      Hours            Rate       Amount
                                objections to claims.
 04/13/2023   AJK     CO        Review order sustaining objections and analysis        0.20       1675.00         $335.00
                                e-mail.

 04/19/2023   DHH     CO        Research and provide requested survivor abuse          0.10         395.00         $39.50
                                claim to G. Brown.

 04/19/2023   BMM     CO        Read court’s decision on 5th omnibus claims            0.70         875.00        $612.50
                                objection.

 04/20/2023   BMM     CO        Analyze updated claim count.                           0.40         875.00        $350.00

 04/21/2023   BMM     CO        Communications with SCC regarding claims               0.50         875.00        $437.50
                                objection order.

 04/21/2023   BMM     CO        Analyze decision regarding the fifth omnibus claims    1.80         875.00       $1,575.00
                                objection.

 04/24/2023   KHB     CO        Review opinion on 5th omnibus claims objection         1.00       1525.00        $1,525.00
                                and consider impact on preliminary injunction
                                issues.

 04/26/2023   JWL     CO        Respond to B. Michaels email regarding claims          0.60       1150.00         $690.00
                                objection letters and BSA releases (.6);

 04/26/2023   BMM     CO        Analyze Debtor's BSA-related claims objections.        0.50         875.00        $437.50

 04/27/2023   AJK     CO        Review claims objection letters.                       0.30       1675.00         $502.50

 04/27/2023   BMM     CO        Review new claims objection letters and update         0.90         875.00        $787.50
                                claims objection chart.

                                                                                       33.30                    $43,100.50

  Comp. of Prof./Others
 04/26/2023   BMM     CPO       Analyze Debtor's fees and expert expenses (with K.     0.80         875.00        $700.00
                                Dine in part).

 04/28/2023   IAWN CPO          Review Reed Smith bills.                               0.50       1395.00         $697.50

                                                                                        1.30                     $1,397.50

  CmteDisc Reqs- Finance/Govern
 04/03/2023   JIS     CRF       Call with BRG regarding proposed CFN agreement.        1.00       1695.00        $1,695.00

 04/03/2023   KBD     CRF       Analyze issues relating to CFN proposal.               0.50       1395.00         $697.50

 04/03/2023   KBD     CRF       Call with BRG, S. Coran and PSZJ regarding CFN         1.00       1395.00        $1,395.00
                                proposal.
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                                                                                       Hours           Rate      Amount

 04/03/2023   KBD     CRF       Review February MOR.                                    0.20      1395.00        $279.00

 04/10/2023   KBD     CRF       Analyze proposal relating to sale of Cell Towers.       0.30      1395.00        $418.50

 04/11/2023   KBD     CRF       Analyze issues relating to proposed Cell Tower Sale.    0.30      1395.00        $418.50

 04/11/2023   KBD     CRF       Telephone call with N. Morin regarding proposed         0.10      1395.00        $139.50
                                Cell Tower Sale.

 04/17/2023   KBD     CRF       Analyze revised proposed sale order for Cell Tower      0.60      1395.00        $837.00
                                Assets.

 04/18/2023   AJK     CRF       Review CFN letter.                                      0.20      1675.00        $335.00

 04/18/2023   KBD     CRF       Analyze filed motion regarding cell tower sale.         0.30      1395.00        $418.50

 04/18/2023   KBD     CRF       Review CFN letter to Court regarding hearing.           0.10      1395.00        $139.50

 04/19/2023   KBD     CRF       Telephone call with S. Coran regarding FCC              0.10      1395.00        $139.50
                                Licenses.

 04/24/2023   KBD     CRF       Telephone call with N. Morin (Jones Day) regarding      0.20      1395.00        $279.00
                                FCC Licenses.

 04/24/2023   KBD     CRF       Telephone call with R. Schmidt (Kramer Levin)           0.40      1395.00        $558.00
                                regarding CFN.

 04/24/2023   KBD     CRF       Analyze issues relating to CFN with J. Stang (for       0.30      1395.00        $418.50
                                part).

 04/25/2023   AJK     CRF       Review objections to sale order.                        0.30      1675.00        $502.50

 04/25/2023   KBD     CRF       Telephone call with S. Coran regarding FCC License      0.20      1395.00        $279.00
                                issues.

 04/25/2023   KBD     CRF       Telephone calls (two) with N. Morin regarding           0.50      1395.00        $697.50
                                Spectrum Assets.

 04/25/2023   KBD     CRF       Telephone call with N. Morin, Kramer Levin and B.       0.70      1395.00        $976.50
                                Michael regarding cell tower sale.

 04/25/2023   KBD     CRF       Telephone calls (two) with B. Michael and J. Stang      0.60      1395.00        $837.00
                                regarding cell tower sale.

 04/25/2023   KBD     CRF       Analyze issues relating to sale of Cell Towers.         0.80      1395.00       $1,116.00

 04/25/2023   KBD     CRF       Analyze CFN objection to sale order.                    0.30      1395.00        $418.50

 04/25/2023   KBD     CRF       Prepare reply to CFN objection.                         2.30      1395.00       $3,208.50

 04/25/2023   BMM     CRF       Participate in call with Debtor and CFN counsel         0.70        875.00       $612.50
                                regarding tower sale.

 04/25/2023   BMM     CRF       Calls with K. Dine and J. Stang regarding CFN           0.60        875.00       $525.00
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                                                                                        Hours            Rate       Amount
                                potential settlement.
 04/26/2023   AJK     CRF       Review draft of reply re tower sale.                     0.30       1675.00         $502.50

 04/26/2023   JIS     CRF       Review CFN objection and review draft reply.             0.60       1695.00        $1,017.00

 04/26/2023   KBD     CRF       Analyze issue relating to fee and expenses.              0.20       1395.00         $279.00

 04/26/2023   KBD     CRF       Telephone call with N. Morin (Jones Day) regarding       0.30       1395.00         $418.50
                                Spectrum Assets.

 04/26/2023   KBD     CRF       Draft reply to CFN objection to sale.                    1.80       1395.00        $2,511.00

 04/26/2023   BMM     CRF       Revise reply to CFN regarding tower sale.                0.30         875.00        $262.50

 04/27/2023   AJK     CRF       Review reply re sale of tower assets.                    0.30       1675.00         $502.50

 04/27/2023   GSG     CRF       Review reply re CFN objection to sale order.             0.10       1095.00         $109.50

 04/27/2023   KBD     CRF       Prepare correspondence among team regarding              0.20       1395.00         $279.00
                                spectrum assets.

 04/28/2023   JIS     CRF       Review issues related to discussions on resolution of    0.60       1695.00        $1,017.00
                                CFN dispute on radio tower sales.

 04/28/2023   KBD     CRF       Analyze pleadings relating to sale of Cell Tower         0.40       1395.00         $558.00
                                Assets.

 04/28/2023   KBD     CRF       Multiple calls with N. Morin (Jones Day) regarding       0.70       1395.00         $976.50
                                Cell Tower sale.

 04/28/2023   KBD     CRF       Analyze issues relating to Spectrum Assets and           0.50       1395.00         $697.50
                                CFN.

 04/28/2023   KBD     CRF       Telephone call with J. Stang regarding issues            0.30       1395.00         $418.50
                                relating to Cell Tower Sale.

 04/29/2023   KBD     CRF       Telephone call with N. Morin regarding cell tower        0.10       1395.00         $139.50
                                sale.

 04/30/2023   KBD     CRF       Review and prepare comments to revised sale order.       0.60       1395.00         $837.00

 04/30/2023   KBD     CRF       Telephone call with J. Stang regarding proposed          0.10       1395.00         $139.50
                                revisions.

                                                                                         20.00                    $28,006.00

  IAC/Affiliate Transactions
 04/05/2023   KHB     IAC       Confer with J. Stang re settlements with IAC targets.    0.20       1525.00         $305.00

 04/06/2023   KHB     IAC       Emails with M. Bunin re settlement discussions with      1.00       1525.00        $1,525.00
                                DOE (.2); confer with M. Bunin re settlement with
                                DOE (.3); emails with F. Oswald re settlement
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                                                                                        Hours            Rate     Amount
                                discussions with CemCo (.2); confer with F. Oswald
                                re settlement with CemCo (.3).
 04/24/2023   JIS     IAC       Call with K. Brown regarding IAC status of               0.20       1695.00        $339.00
                                settlement discussions.

 04/24/2023   KHB     IAC       Confer with J. Stang re IAC claims and settlement        0.20       1525.00        $305.00
                                discussions.

 04/25/2023   KHB     IAC       Work on amended tolling agreements.                      1.20       1525.00       $1,830.00

 04/26/2023   KHB     IAC       Work on tolling agreements.                              0.20       1525.00        $305.00

 04/27/2023   KHB     IAC       Emails with W. Hauer and M. Bunin re tolling             0.30       1525.00        $457.50
                                agreements.

 04/27/2023   KBD     IAC       Review correspondence with IAC targets regarding         0.10       1395.00        $139.50
                                tolling.

                                                                                          3.40                    $5,206.00

  Interim Fee Applications
 03/16/2023   LSC     IFA       Review, revise, and assist with finalizing fee           1.80         545.00       $981.00
                                applications for filing and correspondence with N.
                                Robinson regarding filing of same.

 03/17/2023   LSC     IFA       Review, revise, and assist with finalizing additional    1.30         545.00       $708.50
                                fee applications for filing and correspondence with
                                N. Robinson regarding filing of same.

 04/18/2023   KLL     IFA       Prepare latest interim fee applications for courtesy     0.40         545.00       $218.00
                                copies to the Court.

 04/23/2023   GNB     IFA       Email K. Dine and B. Michael regarding fee               0.10         975.00        $97.50
                                application hearing; Email BRG regarding same.

 04/24/2023   KLL     IFA       Review fee applications and update professional fee      0.50         545.00       $272.50
                                chart on same.

 04/25/2023   GNB     IFA       Confirm information in Debtor's draft order granting     0.10         975.00        $97.50
                                seventh interim fee applications.

 04/26/2023   BMM     IFA       Communication to Debtor's counsel regarding              0.20         875.00       $175.00
                                disclosure of expert payments.

                                                                                          4.40                    $2,550.00

  Insurance Litigation
 04/19/2023   IAWN IL           Exchange emails with B. Michael regarding                0.10       1395.00        $139.50
                                recovery of bankruptcy fees from insurer.
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 04/30/2023   IAWN IL           Analyze Arrowood situation and exchange emails       0.90       1395.00       $1,255.50
                                with SCC.

                                                                                      1.00                    $1,395.00

  Mtgs/Conf w/Client
 04/03/2023   BDD     MCC       Emails with K. Dine re 4/4 Committee meeting         0.20         545.00       $109.00

 04/03/2023   KBD     MCC       Prepare and review correspondence among              0.30       1395.00        $418.50
                                Committee, SCC and PSZJ.

 04/04/2023   KBD     MCC       Prepare and review correspondence with Committee,    0.50       1395.00        $697.50
                                SCC and PSZJ regarding ongoing case issues.

 04/06/2023   KBD     MCC       Coordinate meeting with SCC regarding ongoing        0.30       1395.00        $418.50
                                case issues.

 04/06/2023   KBD     MCC       Prepare correspondence to SCC regarding ongoing      0.10       1395.00        $139.50
                                case issues.

 04/07/2023   KBD     MCC       Telephone call with creditors regarding motion to    0.40       1395.00        $558.00
                                dismiss.

 04/10/2023   KBD     MCC       Call with SCC for committee regarding ongoing        0.50       1395.00        $697.50
                                case issues.

 04/10/2023   KBD     MCC       Call with SCC for non-committee members              0.90       1395.00       $1,255.50
                                regarding ongoing case issues.

 04/10/2023   KBD     MCC       Call with R. Tollner regarding Committee meeting.    0.10       1395.00        $139.50

 04/10/2023   KBD     MCC       Prepare correspondence to State Court Counsel        0.30       1395.00        $418.50
                                regarding ongoing case issues.

 04/10/2023   BDD     MCC       Email K. Dine re 4/11 Committee meeting              0.10         545.00        $54.50

 04/11/2023   KBD     MCC       Prepare and review correspondence among              0.40       1395.00        $558.00
                                Committee, SCC and PSZJ regarding ongoing case
                                issues.

 04/12/2023   KBD     MCC       Telephone call with A. Kornfeld and P. Stoneking     0.20       1395.00        $279.00
                                regarding ongoing case issues.

 04/12/2023   KBD     MCC       Telephone call with SCC regarding ongoing case       0.20       1395.00        $279.00
                                issues.

 04/12/2023   KBD     MCC       Analyze and prepare correspondence among PSZJ        0.30       1395.00        $418.50
                                and SCC on ongoing case issues.

 04/13/2023   KBD     MCC       Analyze and prepare correspondence with SCC on       0.30       1395.00        $418.50
                                ongoing case issues.
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 04/14/2023   JIS     MCC       State court counsel call regarding open issues         0.80      1695.00       $1,356.00

 04/14/2023   KBD     MCC       Call with SCC, PSZJ and Burns Bair LLP regarding       0.80      1395.00       $1,116.00
                                ongoing case issues.

 04/15/2023   KBD     MCC       Review correspondence among PSZJ and SCC               0.20      1395.00        $279.00
                                regarding ongoing case issues.

 04/16/2023   KBD     MCC       Prepare email to Committee and SCC regarding           0.20      1395.00        $279.00
                                ongoing case issues.

 04/17/2023   KBD     MCC       Prepare and review correspondence among                0.60      1395.00        $837.00
                                Committee and SCC regarding ongoing case issues.

 04/18/2023   BDD     MCC       Attend weekly Committee meeting (1.0); prepare         1.50        545.00       $817.50
                                meeting minutes (.40); email K. Dine and B.
                                Michael re same (.10)

 04/18/2023   KBD     MCC       Preparation for call with Committee regarding          0.20      1395.00        $279.00
                                ongoing case issues.

 04/18/2023   KBD     MCC       Participate in call with Committee (partial)           0.70      1395.00        $976.50
                                regarding ongoing case issues.

 04/18/2023   KBD     MCC       Telephone call with B. Michael regarding issues for    0.40      1395.00        $558.00
                                Committee meeting.

 04/18/2023   BMM     MCC       Meeting with team following up on Committee            0.50        875.00       $437.50
                                meeting.

 04/20/2023   KBD     MCC       Prepare memorandum regarding ongoing case issues       0.70      1395.00        $976.50
                                for Committee.

 04/20/2023   BMM     MCC       Communications with SCC regarding claims               1.70        875.00      $1,487.50
                                objections, motion to dismiss, and preliminary
                                injunction.

 04/21/2023   KBD     MCC       Prepare and review correspondence among SCC,           0.40      1395.00        $558.00
                                Committee and PSZJ.

 04/21/2023   BMM     MCC       Participate in call with SCC regarding ongoing case    0.90        875.00       $787.50
                                issues.

 04/24/2023   KBD     MCC       Analyze correspondence among PSZJ, SCC and             0.30      1395.00        $418.50
                                Committee on ongoing case issues.

 04/24/2023   KBD     MCC       Analyze hearing transcripts regarding case issues.     1.30      1395.00       $1,813.50

 04/24/2023   KBD     MCC       Telephone call with R. Tollner regarding ongoing       0.20      1395.00        $279.00
                                case issues.

 04/24/2023   BMM     MCC       Analyze parish state court actions in response to      0.40        875.00       $350.00
                                SCC question regarding same.
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 04/25/2023   BDD     MCC       Email B. Michael re 4/25 Committee meeting and          0.10         545.00         $54.50
                                agenda

 04/26/2023   IAWN MCC          Telephone call with SCC and PSZJ regarding issues.      0.40       1395.00         $558.00

 04/26/2023   JIS     MCC       Call with state court counsel re status of mediation    0.40       1695.00         $678.00
                                and motion to dismiss.

 04/26/2023   KBD     MCC       Telephone call with SCC and PSZJ regarding              0.40       1395.00         $558.00
                                ongoing case issues.

 04/27/2023   KBD     MCC       Analyze correspondence among PSZJ, SCC and              0.40       1395.00         $558.00
                                Committee on ongoing case issues.

 04/28/2023   KBD     MCC       Prepare for call with SCC regarding ongoing case        0.20       1395.00         $279.00
                                issues.

 04/28/2023   KBD     MCC       Call with Burns Bair LLP, PSZJ and SCC regarding        1.30       1395.00        $1,813.50
                                ongoing case issues.

 04/28/2023   KBD     MCC       Draft correspondence on ongoing issues to               0.60       1395.00         $837.00
                                Committee and SCC.

 04/28/2023   BMM     MCC       (Partial) Follow up meeting with team regarding         0.10         875.00         $87.50
                                SCC meeting.

 04/28/2023   BMM     MCC       Participate in meeting with state court counsel         1.40         875.00       $1,225.00
                                regarding ongoing case issues (1.3); prepare for
                                same (.1)

 04/29/2023   KBD     MCC       Draft and review correspondence among PSZJ and          0.20       1395.00         $279.00
                                SCC regarding ongoing case issues.

                                                                                        22.40                    $27,393.00

  Mtgs/Conf w/Cmte Profs
 04/06/2023   KBD     MCP       Call with PSZJ, BRG and Burns Bair LLP regarding        0.80       1395.00        $1,116.00
                                communications with SCC.

                                                                                         0.80                     $1,116.00

  Motion to Dismiss
 03/24/2023   HDH     MD        Review and revise motion to dismiss                     2.60       1350.00        $3,510.00

 03/24/2023   DHH     MD        Review docket and compile withdrawals and               0.80         395.00        $316.00
                                objections to claims for joinder analysis (.70);
                                emails from/to B. Michael regarding same (.1).

 03/26/2023   HDH     MD        Review drafts of motion to dismiss case and respond     0.40       1350.00         $540.00
                                to comments
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 03/26/2023   HDH     MD        Telephone conference with A. Kornfeld regarding            0.30      1350.00        $405.00
                                motion to dismiss

 03/26/2023   HDH     MD        Revise motion to dismiss                                   1.30      1350.00       $1,755.00

 03/26/2023   HDH     MD        Review and revise draft motion to dismiss.                 0.40      1350.00        $540.00

 03/27/2023   HDH     MD        Review new drafts of motion to dismiss                     0.40      1350.00        $540.00

 03/27/2023   DHH     MD        Review docket and update list of withdrawals and           0.70        395.00       $276.50
                                objections to claims for joinder analysis (.2); prepare
                                all withdrawals and objections for emailing and
                                email same to Stout (.5).

 04/01/2023   GNB     MD        Draft document requests directed to Debtor.                4.10        975.00      $3,997.50

 04/01/2023   KHB     MD        Emails with J. Stang, J. Elkin and J.Davidson re           1.00      1525.00       $1,525.00
                                impact of dismissal on disallowance of claims (.5);
                                analyze authority re same (.5).

 04/01/2023   KBD     MD        Analyze legal issues relating to motion to dismiss.        0.80      1395.00       $1,116.00

 04/02/2023   GNB     MD        Telephone conference with A. Kornfeld regarding            0.10        975.00        $97.50
                                interrogatories to Debtor and affiliated parties.

 04/02/2023   GNB     MD        Draft document requests directed to Debtor.                0.10        975.00        $97.50

 04/02/2023   GSG     MD        Review database and related research re CFN                0.90      1095.00        $985.50
                                transfers for motion to dismiss (.8); and email G.
                                Brown re same (.1).

 04/02/2023   GSG     MD        Emails to/from K. LaBrada re motion to dismiss             0.10      1095.00        $109.50
                                joinders.

 04/03/2023   AJK     MD        Draft and revise interrogatories in connection with        2.70      1675.00       $4,522.50
                                Motion to Dismiss.

 04/03/2023   AJK     MD        Review of background materials in connection with          3.20      1675.00       $5,360.00
                                Motion to Dismiss.

 04/03/2023   AJK     MD        Draft and revise document requests in connection           2.30      1675.00       $3,852.50
                                with Motion to Dismiss.

 04/03/2023   GNB     MD        Draft document requests directed to Debtor.                0.80        975.00       $780.00

 04/03/2023   GNB     MD        Draft interrogatories directed to Debtor.                  0.80        975.00       $780.00

 04/03/2023   GNB     MD        Draft omnibus deposition notice directed to                0.30        975.00       $292.50
                                Debtor-controlled witnesses.

 04/03/2023   GNB     MD        Email team with edits to requests for admissions to        0.10        975.00        $97.50
                                Diocese.
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 04/03/2023   GNB     MD        Review and respond to edits from A. Kornfeld to         0.60        975.00       $585.00
                                requests for production to Debtor (.1); Revise
                                requests for production to Debtor in accordance
                                therewith (.5).

 04/03/2023   GNB     MD        Telephone conference with J. Stang regarding edits      0.10        975.00        $97.50
                                to requests for production to Debtor; Telephone
                                conference with A. Kornfeld regarding same; Email
                                with K. Dine regarding same.

 04/03/2023   GNB     MD        Review emails relating to discovery strategy and        0.20        975.00       $195.00
                                logistics from PSZJ team (.1); Integrate edits as
                                necessary to requests for production and
                                interrogatories directed to Debtor (.1).

 04/03/2023   IAWN MD           Exchange emails with K. Dine regarding PSIP.            0.20      1395.00        $279.00

 04/03/2023   IAWN MD           Review trust claims to PSIP.                            0.40      1395.00        $558.00

 04/03/2023   JIS     MD        Call with survivor regarding motion to dismiss.         0.50      1695.00        $847.50

 04/03/2023   KHB     MD        Work on discovery requests (.8) emails from A.          1.10      1525.00       $1,677.50
                                Kornfield and G. Brown re same (.3).

 04/03/2023   GSG     MD        Review A. Kornfeld comments to document                 0.10      1095.00        $109.50
                                requests.

 04/03/2023   GSG     MD        Review current MOR re income/expenses for               0.10      1095.00        $109.50
                                discovery requests.

 04/03/2023   GSG     MD        Review LBR (.3); and emails to/from G. Brown and        0.90      1095.00        $985.50
                                A. Kornfeld re discovery and service of discovery
                                (.6).

 04/03/2023   GSG     MD        Emails with PSZJ team re motion to dismiss and          0.10      1095.00        $109.50
                                preliminary injunction schedule.

 04/03/2023   TCF     MD        Telephone conference with A. Kornfeld regarding         0.20      1075.00        $215.00
                                motion to dismiss litigation and discovery issues.

 04/03/2023   TCF     MD        Work on litigation and discovery issues regarding       1.20      1075.00       $1,290.00
                                motion to dismiss.

 04/03/2023   KBD     MD        Analyze legal issues relating to motion to dismiss.     0.60      1395.00        $837.00

 04/03/2023   KBD     MD        Calls with creditors with questions regarding motion    0.40      1395.00        $558.00
                                to dismiss.

 04/03/2023   KBD     MD        Analyze and prepare comments to draft discovery         0.80      1395.00       $1,116.00
                                requests.

 04/03/2023   KBD     MD        Review proposed scheduling agreement and related        0.20      1395.00        $279.00
                                correspondence.
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 04/03/2023   BMM     MD        Review draft motion to dismiss discovery requests.         0.70        875.00       $612.50

 04/03/2023   KLL     MD        Pull all joinders re motion to dismiss for G.              0.30        545.00       $163.50
                                Greenwood discovery requests.

 04/03/2023   KLL     MD        Review and circulate master service list re upcoming       0.40        545.00       $218.00
                                discovery to be served.

 04/04/2023   AJK     MD        Review and analysis of IAC report.                         5.20      1675.00       $8,710.00

 04/04/2023   AJK     MD        Revise discovery requests.                                 3.50      1675.00       $5,862.50

 04/04/2023   AJK     MD        Call with G. Brown and T. Flanagan re discovery            0.50      1675.00        $837.50
                                requests.

 04/04/2023   GNB     MD        Two telephone conferences with K. Dine regarding           0.40        975.00       $390.00
                                Committee discovery requests directed to Debtor.

 04/04/2023   GNB     MD        Telephone conference with A. Kornfeld regarding            0.10        975.00        $97.50
                                Committee’s general discovery strategy.

 04/04/2023   GNB     MD        Review emails from PSZJ team regarding edits to            0.40        975.00       $390.00
                                requests for production to Debtor (.1); Integrate edits
                                (.3).

 04/04/2023   GNB     MD        Revise interrogatories directed to Debtor.                 0.40        975.00       $390.00

 04/04/2023   GNB     MD        Email with team regarding service list and process         0.10        975.00        $97.50
                                for service of discovery tomorrow.

 04/04/2023   GNB     MD        Further edit requests for production.                      0.50        975.00       $487.50

 04/04/2023   GNB     MD        Telephone conference with A. Kornfeld and T.               0.50        975.00       $487.50
                                Flanagan regarding discovery and depositions.

 04/04/2023   GNB     MD        Email PSZJ team regarding deposition preparation.          0.10        975.00        $97.50

 04/04/2023   GNB     MD        Telephone conference with G. Greenwood regarding           0.20        975.00       $195.00
                                discovery requests.

 04/04/2023   GNB     MD        Conform requests for admission to other discovery          0.30        975.00       $292.50
                                requests.

 04/04/2023   GNB     MD        Telephone conference with T. Flanagan regarding            0.50        975.00       $487.50
                                discovery request edits and contested matter
                                strategy.

 04/04/2023   KHB     MD        Review drafts of discovery requests (1.2); and             1.40      1525.00       $2,135.00
                                emails (.2) with G. Brown, A. Kornfield, J. Stang
                                and K. Dine re same.

 04/04/2023   GSG     MD        Telephone call with T. Flanagan re                         0.10      1095.00        $109.50
                                documents/discovery.
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 04/04/2023   GSG     MD        Review database re parish control and assessments.      0.90      1095.00        $985.50

 04/04/2023   GSG     MD        Revise requests for admissions.                         0.60      1095.00        $657.00

 04/04/2023   GSG     MD        Review issues and summary documents re                  0.50      1095.00        $547.50
                                Foundation and CFN for discovery requests.

 04/04/2023   GSG     MD        Review emails re discovery deadlines and proposed       0.40      1095.00        $438.00
                                limits (.3); and confer with M. Renck re
                                formatting/revisions (.1).

 04/04/2023   GSG     MD        Review T. Flanagan and K. Dine comments to              0.80      1095.00        $876.00
                                discovery (.2) and incorporate re requests for
                                admissions (.5);, and confer with T. Flanagan re
                                same (.1).

 04/04/2023   GSG     MD        Review database re bylaws for discovery requests        0.60      1095.00        $657.00
                                (.4); and emails to T. Flanagan and G. Brown re
                                same (.2).

 04/04/2023   GSG     MD        Telephone call with G. Brown re discovery requests.     0.20      1095.00        $219.00

 04/04/2023   TCF     MD        Review and analysis of motion to dismiss litigation     3.40      1075.00       $3,655.00
                                issues, documents and preparation.

 04/04/2023   TCF     MD        Telephone conference with G. Brown regarding            0.50      1075.00        $537.50
                                discovery related to motion to dismiss.

 04/04/2023   TCF     MD        Telephone conference with A. Kornfeld and G.            0.50      1075.00        $537.50
                                Brown regarding discovery related to motion to
                                dismiss.

 04/04/2023   TCF     MD        Telephone conference with G. Greenfield regarding       0.20      1075.00        $215.00
                                requests for admission related to motion to dismiss.

 04/04/2023   TCF     MD        Document review regarding motion to dismiss.            2.80      1075.00       $3,010.00

 04/04/2023   TCF     MD        Preparation of deposition outline regarding motion      1.20      1075.00       $1,290.00
                                to dismiss.

 04/04/2023   TCF     MD        Review and revise discovery requests regarding          0.90      1075.00        $967.50
                                motion to dismiss.

 04/04/2023   KBD     MD        Prepare comments to discovery requests.                 1.80      1395.00       $2,511.00

 04/04/2023   KBD     MD        Analyze legal issues relating to motion to dismiss.     0.70      1395.00        $976.50

 04/04/2023   KBD     MD        Review so ordered stipulation.                          0.10      1395.00        $139.50

 04/04/2023   KBD     MD        Review correspondence with Jones Day and                0.10      1395.00        $139.50
                                Chambers regarding stipulation.

 04/04/2023   KBD     MD        Two calls with G. Brown regarding discovery.            0.40      1395.00        $558.00
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 04/04/2023   KBD     MD        Calls with creditors regarding motion to dismiss.      0.30      1395.00        $418.50

 04/04/2023   KBD     MD        Prepare correspondence to Chambers regarding           0.10      1395.00        $139.50
                                hearing.

 04/04/2023   BMM     MD        Communications with team regarding motion to           0.50        875.00       $437.50
                                dismiss discovery.

 04/04/2023   KLL     MD        Review and update master service list re discovery     0.60        545.00       $327.00
                                requests.

 04/05/2023   AJK     MD        Analysis of Debtor's discovery.                        2.70      1675.00       $4,522.50

 04/05/2023   AJK     MD        Analysis of IAC report.                                3.60      1675.00       $6,030.00

 04/05/2023   AJK     MD        Edit discovery requests.                               4.20      1675.00       $7,035.00

 04/05/2023   GNB     MD        Email PSZJ team regarding edits to discovery           0.20        975.00       $195.00
                                responses.

 04/05/2023   GNB     MD        Email with PSZJ team regarding deposition              0.10        975.00        $97.50
                                preparation and documents for same.

 04/05/2023   GNB     MD        Edit deposition notice to Debtor.                      0.10        975.00        $97.50

 04/05/2023   GNB     MD        Edit discovery requests to be served today.            0.30        975.00       $292.50

 04/05/2023   GNB     MD        Telephone conference with PSZJ team regarding          0.50        975.00       $487.50
                                exhibits for deposition and evidentiary hearing.

 04/05/2023   GNB     MD        Multiple telephone conferences with T. Flanagan        0.30        975.00       $292.50
                                regarding preparation for depositions and
                                evidentiary hearing.

 04/05/2023   GNB     MD        Email PSZJ team regarding discovery issues.            0.30        975.00       $292.50

 04/05/2023   GNB     MD        Email with PSZJ team regarding motion to dismiss       0.70        975.00       $682.50
                                deposition preparation.

 04/05/2023   GNB     MD        Email with PSZJ staff regarding service issues with    0.10        975.00        $97.50
                                Epiq Rule 2002 list for service of Committee’s
                                discovery requests.

 04/05/2023   GNB     MD        Telephone conference with PSZJ team regarding          0.50        975.00       $487.50
                                deposition preparation.

 04/05/2023   IAWN MD           Review Request for Admissions revisions.               0.20      1395.00        $279.00

 04/05/2023   KHB     MD        Emails with G. Brown, A. Kornfeld and K. Dine re       1.30      1525.00       $1,982.50
                                discovery requests to DRVC (.4); review DRVC's
                                discovery requests to Joinder parties and Committee
                                (.6); emails from A. Kornfeld and K. Dine re
                                responses to discovery requests (.3).
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 04/05/2023   GSG     MD        Emails to/from PSZJ team re RFA revisions and        0.60      1095.00        $657.00
                                blackline.

 04/05/2023   GSG     MD        Call with G. Brown, T. Flanagan, and K. Dine re      0.50      1095.00        $547.50
                                discovery.

 04/05/2023   GSG     MD        Call and Zoom with K. Dine and R. Strong re          0.40      1095.00        $438.00
                                revenue/expenses and analysis of MOR's for motion
                                to dismiss discovery requests.

 04/05/2023   GSG     MD        Revise requests for admissions re MORs and           0.40      1095.00        $438.00
                                circulate blackline.

 04/05/2023   TCF     MD        Review and analysis of materials and documents       2.70      1075.00       $2,902.50
                                related to motion to dismiss.

 04/05/2023   TCF     MD        PSZJ team Zoom call regarding exhibits for           0.50      1075.00        $537.50
                                depositions and evidentiary hearing on motion to
                                dismiss.

 04/05/2023   TCF     MD        Telephone conferences (multiple) with G. Brown       0.30      1075.00        $322.50
                                regarding discovery and deposition preparation in
                                connection with evidentiary hearing on motion to
                                dismiss.

 04/05/2023   TCF     MD        Review and analysis of documents and preparation     6.00      1075.00       $6,450.00
                                of deposition outlines.

 04/05/2023   TCF     MD        Revise discovery demands.                            0.90      1075.00        $967.50

 04/05/2023   KBD     MD        Telephone conference with PSZJ team regarding        0.50      1395.00        $697.50
                                exhibits for deposition and evidentiary hearing.

 04/05/2023   KBD     MD        Call with G. Greenwood, D. Strong and C.             0.40      1395.00        $558.00
                                Tergevorkian regarding motion to dismiss.

 04/05/2023   KBD     MD        Review and prepare comments to discovery requests    0.80      1395.00       $1,116.00
                                relating to motion to dismiss.

 04/05/2023   KBD     MD        Correspondence among PSZJ and SCC regarding          0.40      1395.00        $558.00
                                discovery.

 04/05/2023   KBD     MD        Analyze discovery requests from Diocese to the       0.20      1395.00        $279.00
                                Committee regarding the Motion to Dismiss.

 04/05/2023   KBD     MD        Analyze discovery requests from Diocese to SCC       0.20      1395.00        $279.00
                                Joinders in the Motion to Dismiss.

 04/05/2023   KBD     MD        Telephone call with J. Stang regarding discovery     0.10      1395.00        $139.50
                                issues.

 04/05/2023   KBD     MD        Review Debtor's discovery requests made to law       0.30      1395.00        $418.50
                                firms filing joinders.
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 04/05/2023   KLL     MD        Review additional joinders to MTD.                       0.30        545.00       $163.50

 04/05/2023   KLL     MD        Review all joinders filed and prepare chart of           0.80        545.00       $436.00
                                counsel on same.

 04/05/2023   KLL     MD        Review discovery requests by Debtors to individuals      0.80        545.00       $436.00
                                who filed joinders and prepare chart on same.

 04/05/2023   KLL     MD        Update service list on MTD-related filings.              0.60        545.00       $327.00

 04/05/2023   IAWN MD           Telephone call with team regarding strategy.             0.80      1395.00       $1,116.00

 04/06/2023   AJK     MD        Further analysis of IAC report.                          1.20      1675.00       $2,010.00

 04/06/2023   AJK     MD        Analysis of potential expert issues.                     0.90      1675.00       $1,507.50

 04/06/2023   AJK     MD        Call with G Brown and K Dine.                            0.70      1675.00       $1,172.50

 04/06/2023   AJK     MD        Call with PSZJ team re Motion to Dismiss strategy.       0.80      1675.00       $1,340.00

 04/06/2023   AJK     MD        Review Debtor's preliminary injunction pleadings in      2.30      1675.00       $3,852.50
                                connection with motion to dismiss.

 04/06/2023   AJK     MD        Edit deposition notices (including 30(b)(6) notice).     1.40      1675.00       $2,345.00

 04/06/2023   AJK     MD        Edit witness lists.                                      0.60      1675.00       $1,005.00

 04/06/2023   GFB     MD        Review materials in connection with conference call      0.70      1050.00        $735.00
                                for Motion to Dismiss (.3); participate on conference
                                call with G. Brown, T. Flanagan, J. Hunter, and L.
                                Cantor regarding same (.7).

 04/06/2023   GNB     MD        Telephone conference with A. Kornfeld and K. Dine        0.70        975.00       $682.50
                                regarding pre-evidentiary hearing preparation.

 04/06/2023   GNB     MD        Email with PSZJ team regarding deposition                0.10        975.00        $97.50
                                preparation.

 04/06/2023   GNB     MD        Telephone conference with B. Downing regarding           0.10        975.00        $97.50
                                deposition coordination.

 04/06/2023   GNB     MD        Draft 30(b)(6) deposition notice to Diocese.             0.40        975.00       $390.00

 04/06/2023   GNB     MD        Revise omnibus deposition notice to individuals.         0.10        975.00        $97.50

 04/06/2023   GNB     MD        (Partial) Attend video meeting with PSZJ, Burns          0.60        975.00       $585.00
                                Bair, and Berkeley Research Group regarding
                                motion to dismiss (written discovery strategy,
                                witness list) and preliminary injunction evidentiary
                                hearing.

 04/06/2023   GNB     MD        Draft Committee witness list for evidentiary hearing     0.50        975.00       $487.50
                                (.4); Email PSZJ team regarding same (.1).
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 04/06/2023   GNB     MD        Telephone conference with T. Flanagan regarding        0.10        975.00        $97.50
                                discovery.

 04/06/2023   GNB     MD        Revise Rule 30(b)(6) deposition notice per PSZJ        0.40        975.00       $390.00
                                team edits.

 04/06/2023   GNB     MD        Email J. Stang regarding state court counsel           0.20        975.00       $195.00
                                witnesses for evidentiary hearing.

 04/06/2023   GNB     MD        Revise Committee’s witness list (.3); Email PSZJ       0.40        975.00       $390.00
                                team regarding same (.1).

 04/06/2023   IAWN MD           Telephone call with team regarding Debtor's joinder    0.70      1395.00        $976.50
                                discovery.

 04/06/2023   JKH     MD        Review motion, document requests regarding             1.30      1350.00       $1,755.00
                                preparation for depositions (.6); Zoom call with G.
                                Brown, L. Cantor, telephone call from G. Brandt
                                regarding preparation for depositions regarding
                                motion to dismiss (.7).

 04/06/2023   KHB     MD        Review deposition notices.                             0.20      1525.00        $305.00

 04/06/2023   KHB     MD        Call with PSZJ team re motion to dismiss strategy      0.70      1525.00       $1,067.50
                                and discovery issues.

 04/06/2023   LFC     MD        Review documents in advance of deposition              2.10      1450.00       $3,045.00
                                preparation call with PSZJ team.

 04/06/2023   LFC     MD        Call with PSZJ team regarding deposition               0.70      1450.00       $1,015.00
                                preparation.

 04/06/2023   LFC     MD        Review documents for deposition preparation.           1.60      1450.00       $2,320.00

 04/06/2023   GSG     MD        Emails re protective orders and confidentiality of     0.20      1095.00        $219.00
                                documents.

 04/06/2023   GSG     MD        Conference call with PSZJ team and BB re pending       0.70      1095.00        $766.50
                                discovery issues and strategy.

 04/06/2023   TCF     MD        PSZJ and BRG team call regarding motion to             0.80      1075.00        $860.00
                                dismiss litigation issues (partial attendance).

 04/06/2023   TCF     MD        PSZJ team call regarding motion to dismiss             0.70      1075.00        $752.50
                                deposition preparation.

 04/06/2023   TCF     MD        Telephone conference with A. Kornfeld and G.           0.30      1075.00        $322.50
                                Brown regarding depositions and witness list.

 04/06/2023   TCF     MD        Review and revise witness list.                        0.10      1075.00        $107.50

 04/06/2023   TCF     MD        Draft deposition outlines.                             3.80      1075.00       $4,085.00
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 04/06/2023   TCF     MD        Follow-up call with G. Brown regarding motion to       0.10      1075.00        $107.50
                                dismiss deposition preparation and document
                                review.

 04/06/2023   TCF     MD        Draft witness topics for witness list.                 0.20      1075.00        $215.00

 04/06/2023   TCF     MD        Review documents produced by Debtor for                2.80      1075.00       $3,010.00
                                deposition preparation.

 04/06/2023   KBD     MD        Telephone call with J. Stang regarding issues          0.60      1395.00        $837.00
                                relating to motion to dismiss.

 04/06/2023   KBD     MD        Call with A. Kornfeld and G. Brown regarding           0.70      1395.00        $976.50
                                discovery relating to motion to dismiss.

 04/06/2023   KBD     MD        Analyze issues relating to support for motion to       0.60      1395.00        $837.00
                                dismiss.

 04/06/2023   KBD     MD        Analyze discovery requests relating to motion to       0.50      1395.00        $697.50
                                dismiss.

 04/06/2023   KBD     MD        Calls with SCC regarding motion to dismiss.            0.20      1395.00        $279.00

 04/06/2023   KBD     MD        Call with creditor regarding motion to dismiss.        0.10      1395.00        $139.50

 04/06/2023   KBD     MD        Analyze discovery issues relating to motion to         0.40      1395.00        $558.00
                                dismiss.

 04/06/2023   BMM     MD        Emails with team and state court counsel regarding     1.00        875.00       $875.00
                                motion to dismiss.

 04/06/2023   KLL     MD        Review docket for substitutions or withdrawal of       0.60        545.00       $327.00
                                counsel and update list to same.

 04/06/2023   KLL     MD        Review files for A. Kornfeld and circulate             0.30        545.00       $163.50
                                documents for MTD preparation.

 04/06/2023   KLL     MD        Review discovery requests and prepare discovery        0.70        545.00       $381.50
                                tracking chart.

 04/06/2023   KLL     MD        Review and revise conference call distribution on      0.30        545.00       $163.50
                                discovery update.

 04/07/2023   AJK     MD        Call with BRG re Motion to Dismiss.                    0.60      1675.00       $1,005.00

 04/07/2023   AJK     MD        Work on discovery responses.                           1.30      1675.00       $2,177.50

 04/07/2023   AJK     MD        Call with G. Brown and K. Dine re discovery.           1.20      1675.00       $2,010.00

 04/07/2023   GNB     MD        Telephone conference with A. Kornfeld and K. Dine      1.30        975.00      $1,267.50
                                regarding responses to discovery (1.2); Prepare for
                                same (0.1).
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 04/07/2023   GNB     MD        Begin drafting exhibit list; Revise witness list.        0.10        975.00        $97.50

 04/07/2023   GNB     MD        Telephone conference with K. Dine regarding              0.10        975.00        $97.50
                                witness list and cross-examinations at evidentiary
                                hearing.

 04/07/2023   GNB     MD        Communications with J. Stang, with K. Brown, and         0.30        975.00       $292.50
                                with A. Kornfeld regarding testimony at evidentiary
                                hearing (.1); Email K. Dine regarding same (.1);
                                Email PSZJ team regarding same (.1).

 04/07/2023   GNB     MD        Telephone conference with K. Dine regarding              0.30        975.00       $292.50
                                responses to the Diocese’s requests for production
                                (.1); Prepare responses in accordance with same (.2).

 04/07/2023   GNB     MD        Email PSZJ regarding witness cross-examinations.         0.10        975.00        $97.50

 04/07/2023   GNB     MD        Review draft of master deposition outline from T.        0.10        975.00        $97.50
                                Flanagan.

 04/07/2023   GNB     MD        Email L. Cantor, G. Brandt, J. Hunter, and T.            0.10        975.00        $97.50
                                Flanagan regarding document review for deposition
                                and evidentiary hearing.

 04/07/2023   KHB     MD        Emails from G. Brown re discovery issues.                0.20      1525.00        $305.00

 04/07/2023   LFC     MD        Review documents for deposition preparation.             1.60      1450.00       $2,320.00

 04/07/2023   LFC     MD        Further review documents for deposition                  3.70      1450.00       $5,365.00
                                preparation.

 04/07/2023   LFC     MD        Confer with A. Kornfeld (.2) and T. Flanigan (.3)        0.50      1450.00        $725.00
                                regarding document review for deposition
                                preparation.

 04/07/2023   GSG     MD        Emails to/from K. Dine re complaints and proofs of       0.20      1095.00        $219.00
                                claim.

 04/07/2023   TCF     MD        Preparation for depositions in connection with           3.60      1075.00       $3,870.00
                                motion to dismiss.

 04/07/2023   TCF     MD        Continued preparation for depositions in connection      3.40      1075.00       $3,655.00
                                with motion to dismiss.

 04/07/2023   TCF     MD        Review and analysis of notice of depositions.            0.10      1075.00        $107.50

 04/07/2023   TCF     MD        Preparation for depositions, notes and outline.          0.50      1075.00        $537.50

 04/07/2023   KBD     MD        Call with G. Brown and A. Kornfeld regarding             1.20      1395.00       $1,674.00
                                motion to dismiss discovery matters.

 04/07/2023   KBD     MD        Call with A. Kornfeld and BRG team regarding             0.60      1395.00        $837.00
                                motion to dismiss.
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 04/07/2023   KBD     MD        Calls with G. Brown regarding motion to dismiss         0.20      1395.00        $279.00
                                discovery response.

 04/07/2023   KBD     MD        Draft response to motion to dismiss discovery.          2.80      1395.00       $3,906.00

 04/07/2023   KBD     MD        Review draft regarding deposition notices.              0.20      1395.00        $279.00

 04/07/2023   BMM     MD        Emails with team and state court counsel regarding      1.00        875.00       $875.00
                                motion to dismiss.

 04/07/2023   KLL     MD        Retrieve documents for preparation of declaration       0.20        545.00       $109.00
                                relating to motion to dismiss.

 04/07/2023   KLL     MD        Confirm dates from stipulated order for G. Brown.       0.20        545.00       $109.00

 04/08/2023   AJK     MD        Call with BRG re expert issues.                         0.30      1675.00        $502.50

 04/08/2023   AJK     MD        Work on discovery responses.                            1.70      1675.00       $2,847.50

 04/08/2023   AJK     MD        Call with J. Stang re litigation strategy.              0.50      1675.00        $837.50

 04/08/2023   GNB     MD        Email A. Kornfeld regarding issues to resolve before    0.10        975.00        $97.50
                                service of witness list on Monday.

 04/08/2023   GNB     MD        Brief telephone conference with J. Stang regarding      0.10        975.00        $97.50
                                witness list; Review email from J. Stang regarding
                                same; Email K. Dine regarding same.

 04/08/2023   GNB     MD        Email to K. LaBrada and M. de Leon regarding            0.10        975.00        $97.50
                                depositions.

 04/08/2023   GNB     MD        Review potential exhibits for deposition and            0.10        975.00        $97.50
                                evidentiary hearing.

 04/08/2023   GNB     MD        Revise witness list; Email with A. Kornfeld             0.10        975.00        $97.50
                                regarding same.

 04/08/2023   GNB     MD        Draft objections to and further responses to            2.90        975.00      $2,827.50
                                Diocese’s discovery propounded on Committee.

 04/08/2023   GNB     MD        Email I. Nasatir and J. Bair regarding information      0.10        975.00        $97.50
                                for responses to Diocese’s discovery requests; Email
                                with D. Strong and BRG team regarding same.

 04/08/2023   GNB     MD        Email PSZJ team regarding documents to produce to       0.10        975.00        $97.50
                                DRVC in response to discovery requests due April
                                14.

 04/08/2023   JIS     MD        Call A. Kornfeld regarding witnesses for motion to      0.50      1695.00        $847.50
                                dismiss.

 04/08/2023   JIS     MD        Preparation of email regarding committee witnesses      0.40      1695.00        $678.00
                                for motion to dismiss.
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 04/08/2023   JIS     MD        Call with C. D'Estries regarding motion to dismiss    0.20      1695.00        $339.00
                                witness list.

 04/08/2023   JIS     MD        Call with R. Tollner regarding committee witnesses    0.20      1695.00        $339.00
                                for motion to dismiss witness list.

 04/08/2023   JIS     MD        Call A. Kornfeld regarding witnesses on motion to     0.50      1695.00        $847.50
                                dismiss.

 04/08/2023   JIS     MD        Call A. Kornfeld regarding committee witness for      0.10      1695.00        $169.50
                                motion to dismiss.

 04/08/2023   JIS     MD        Call J. Amala regarding availability to testify as    0.20      1695.00        $339.00
                                witness on motion to dismiss.

 04/08/2023   LFC     MD        Summarize document review matters.                    1.50      1450.00       $2,175.00

 04/08/2023   LFC     MD        Review Debtor's documents for deposition              4.50      1450.00       $6,525.00
                                preparation.

 04/08/2023   LFC     MD        Further review Debtor's documents for deposition      2.20      1450.00       $3,190.00
                                preparation.

 04/08/2023   TCF     MD        Preparation of deposition outlines.                   1.60      1075.00       $1,720.00

 04/08/2023   TCF     MD        Telephone conference with L. Cantor regarding IAC     0.30      1075.00        $322.50
                                and CFN issues.

 04/08/2023   TCF     MD        Review and analysis of Debtor's documents and         5.80      1075.00       $6,235.00
                                materials and preparation of deposition outlines.

 04/08/2023   KBD     MD        Draft responses to motion to dismiss discovery.       2.60      1395.00       $3,627.00

 04/08/2023   KBD     MD        Analyze filed joinders to motion to dismiss.          0.40      1395.00        $558.00

 04/08/2023   KBD     MD        Call with A. Kornfeld and BRG team regarding          0.30      1395.00        $418.50
                                motion to dismiss.

 04/09/2023   AJK     MD        Deposition prep (detailed document review).           3.20      1675.00       $5,360.00

 04/09/2023   AJK     MD        Call with G. Brown and K. Dine re discovery           0.80      1675.00       $1,340.00
                                responses.

 04/09/2023   AJK     MD        Revise discovery responses.                           3.80      1675.00       $6,365.00

 04/09/2023   AJK     MD        Additional edits to discovery responses.              0.60      1675.00       $1,005.00

 04/09/2023   GNB     MD        Continue drafting and conforming further responses    3.60        975.00      $3,510.00
                                to Diocese’s discovery propounded on Committee.

 04/09/2023   GNB     MD        Telephone conference with A. Kornfeld and K. Dine     0.80        975.00       $780.00
                                regarding objections and responses to Diocese’s
                                discovery propounded on Committee.
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 04/09/2023   GNB     MD        Email PSZJ team regarding witness list.                  0.10        975.00        $97.50

 04/09/2023   GNB     MD        Email to PSZJ team and J. Bair regarding objections      0.10        975.00        $97.50
                                and responses to Diocese's discovery propounded on
                                Committee.

 04/09/2023   GNB     MD        Email with PSZJ and J. Bair regarding responses to       0.20        975.00       $195.00
                                Diocese's discovery propounded on Committee.

 04/09/2023   LFC     MD        Review Debtor's documents and outline issues for         5.60      1450.00       $8,120.00
                                deposition preparation.

 04/09/2023   LFC     MD        Further review Debtor's documents and draft outline      2.40      1450.00       $3,480.00
                                of issues for deposition preparation.

 04/09/2023   TCF     MD        Preparation for motion to dismiss depositions and        7.20      1075.00       $7,740.00
                                outline/exhibits.

 04/09/2023   KBD     MD        Call with A. Kornfeld and G. Brown regarding             0.80      1395.00       $1,116.00
                                discovery responses.

 04/10/2023   AJK     MD        Prepare for deposition (document review).                3.80      1675.00       $6,365.00

 04/10/2023   AJK     MD        Zoom with PSZJ and SCC for non-UCC members.              0.90      1675.00       $1,507.50

 04/10/2023   AJK     MD        Call with G. Brown re discovery responses.               0.30      1675.00        $502.50

 04/10/2023   AJK     MD        Zoom call with PSZJ and SCC (OCC member                  0.50      1675.00        $837.50
                                counsel) re discovery.

 04/10/2023   AJK     MD        Edit discovery response.                                 3.70      1675.00       $6,197.50

 04/10/2023   CHM     MD        Telephone conference with T. Flanagan re Everlaw         0.50        925.00       $462.50
                                searches for deposition preparation.

 04/10/2023   GNB     MD        Telephone conference with A. Kornfeld regarding          0.30        975.00       $292.50
                                objections and responses to Diocese’s discovery
                                propounded on Committee.

 04/10/2023   GNB     MD        Email J. Stang regarding witness list.                   0.10        975.00        $97.50

 04/10/2023   GNB     MD        Revise objections and responses to Diocese’s             2.70        975.00      $2,632.50
                                discovery propounded on Committee.

 04/10/2023   GNB     MD        Prepare for today’s video conferences with law firms     0.30        975.00       $292.50
                                that filed Joinders to Committee’s motion to dismiss.

 04/10/2023   GNB     MD        Email with PSZJ staff regarding service list issues      0.10        975.00        $97.50
                                for motion to dismiss papers.

 04/10/2023   GNB     MD        Attend video conference with PSZJ and SCC                0.50        975.00       $487.50
                                regarding Diocese discovery to counsel who filed
                                Joinders on motion to dismiss.
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 04/10/2023   GNB     MD        Email with P. Noaker regarding Committee’s witness       0.10        975.00        $97.50
                                list.

 04/10/2023   GNB     MD        Email with PSZJ team regarding document review in        0.10        975.00        $97.50
                                preparation for depositions and evidentiary hearing.

 04/10/2023   GNB     MD        Email with PSZJ team regarding Diocese’s witness         0.30        975.00       $292.50
                                list (.2); Draft email to counsel who filed Joinders
                                regarding same (.1).

 04/10/2023   GNB     MD        Email with T. Flanagan regarding document review         0.10        975.00        $97.50
                                in preparation for depositions; Email with G. Brandt
                                regarding same; Email T. Flanagan and C. Mackle
                                regarding same.

 04/10/2023   GNB     MD        Revise search terms for Everlaw review in                0.10        975.00        $97.50
                                preparation for depositions.

 04/10/2023   GNB     MD        Revise tracking charts for discovery and depositions.    0.10        975.00        $97.50

 04/10/2023   GNB     MD        Email with PSZJ team regarding discovery                 0.20        975.00       $195.00
                                responses.

 04/10/2023   GNB     MD        Attend Zoom conference with PSZJ and SCC who             0.90        975.00       $877.50
                                filed joinders to motion to dismiss and do not
                                represent Committee members.

 04/10/2023   GNB     MD        Review data from A. Harriman relevant to                 0.10        975.00        $97.50
                                Committee discovery responses; Email PSZJ team
                                regarding same.

 04/10/2023   GNB     MD        Telephone calls with K. Dine regarding witness list      0.30        975.00       $292.50
                                and evidentiary hearing strategy.

 04/10/2023   GNB     MD        Review potential documents for Committee                 0.10        975.00        $97.50
                                privilege log.

 04/10/2023   IAWN MD           Telephone call with SCC regarding motion to              0.90      1395.00       $1,255.50
                                dismiss.

 04/10/2023   IAWN MD           Telephone call with SCC regarding motion to              0.50      1395.00        $697.50
                                dismiss.

 04/10/2023   JIS     MD        Call P. Noaker regarding committee witness for           0.10      1695.00        $169.50
                                motion to dismiss.

 04/10/2023   JIS     MD        Draft email updates regarding status of committee        0.10      1695.00        $169.50
                                witnesses for motion tor motion to dismiss.

 04/10/2023   JIS     MD        (Partial) attend call with state court counsel           0.20      1695.00        $339.00
                                regarding motion to dismiss.

 04/10/2023   JIS     MD        Call with A. Kornfeld regarding response to              0.10      1695.00        $169.50
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                                                                                        Hours           Rate      Amount
                                discovery on motion to dismiss.
 04/10/2023   JIS     MD        Call with state court counsel regarding motion to        0.90      1695.00       $1,525.50
                                dismiss.

 04/10/2023   KHB     MD        Review proposed discovery responses (.6); review         1.00      1525.00       $1,525.00
                                witness lists of parties (.2); email from G. Brown re
                                discovery issues (.2).

 04/10/2023   LFC     MD        Review documents and draft outline for deposition        1.50      1450.00       $2,175.00
                                preparation.

 04/10/2023   LFC     MD        Review Debtor's documents and further draft outline      3.50      1450.00       $5,075.00
                                for deposition preparation.

 04/10/2023   GSG     MD        Review emails from G. Brown re follow-up to              0.20      1095.00        $219.00
                                discovery and scheduling.

 04/10/2023   TCF     MD        Deposition preparation in connection with motion to      2.80      1075.00       $3,010.00
                                dismiss.

 04/10/2023   TCF     MD        Document review of Debtor's production for               4.70      1075.00       $5,052.50
                                deposition and evidentiary hearing.

 04/10/2023   KBD     MD        Analyze draft discovery responses.                       0.40      1395.00        $558.00

 04/10/2023   KBD     MD        Prepare comments to deposition outline.                  0.80      1395.00       $1,116.00

 04/10/2023   KBD     MD        Call with A. Kornfeld regarding discovery on             0.20      1395.00        $279.00
                                motion to dismiss.

 04/10/2023   KBD     MD        Call with creditor regarding motion to dismiss.          0.20      1395.00        $279.00

 04/10/2023   KBD     MD        Analyze correspondence from Jones Day regarding          0.10      1395.00        $139.50
                                discovery issues relating to motion to dismiss.

 04/10/2023   KBD     MD        Calls (3) with G. Brown regarding discovery issues.      0.30      1395.00        $418.50

 04/10/2023   KBD     MD        Research factual issues relating to Committee            1.70      1395.00       $2,371.50
                                discovery responses.

 04/10/2023   BMM     MD        Communications with team regarding motion to             1.00        875.00       $875.00
                                dismiss litigation.

 04/10/2023   KLL     MD        Prepare a deposition tracking chart.                     0.60        545.00       $327.00

 04/10/2023   KLL     MD        Correspond with counsel requesting information on        0.20        545.00       $109.00
                                remote access for upcoming depositions.

 04/10/2023   KLL     MD        Locate documents related to MTD and upload for           0.30        545.00       $163.50
                                attorneys.

 04/11/2023   AJK     MD        Review documents in preparation for depositions.         3.60      1675.00       $6,030.00
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 04/11/2023   AJK     MD        Call with A. Felton re discovery responses.             0.10      1675.00        $167.50

 04/11/2023   AJK     MD        Call with K. Dine and G. Brown re discovery issues.     0.60      1675.00       $1,005.00

 04/11/2023   AJK     MD        Call with J. Amala re joinder.                          0.10      1675.00        $167.50

 04/11/2023   AJK     MD        Prepare for meet and confer including research.         0.90      1675.00       $1,507.50

 04/11/2023   AJK     MD        Revise Committee discovery responses.                   0.60      1675.00       $1,005.00

 04/11/2023   AJK     MD        Review meet and confer letter from Jones Day.           0.60      1675.00       $1,005.00

 04/11/2023   GFB     MD        Draft emails to T. Flanagan, G. Brown, J. Hunter,       0.20      1050.00        $210.00
                                and L. Cantor regarding status; review responses
                                regarding same; review email from T. Flanagan,
                                review documents and draft response; review email
                                from L. Cantor regarding same, and draft response.

 04/11/2023   GFB     MD        Review emails from L. Cantor regarding document         0.10      1050.00        $105.00
                                review and draft responses; telephone conference
                                with C. Mackle regarding same; draft further emails
                                to L. Cantor.

 04/11/2023   GFB     MD        Review Debtor documents in connection with              7.00      1050.00       $7,350.00
                                Motion to Dismiss.

 04/11/2023   GNB     MD        Continue revising objections and responses to           0.80        975.00       $780.00
                                Diocese’s discovery propounded on Committee.

 04/11/2023   GNB     MD        Review PSZJ comments to objections and responses        0.10        975.00        $97.50
                                to Diocese’s discovery propounded on Committee.

 04/11/2023   GNB     MD        Analyze document requests from Diocese that             0.40        975.00       $390.00
                                require additional searches for responsive documents
                                (.2); Email PSZJ team regarding same (.2).

 04/11/2023   GNB     MD        Email with G. Brandt regarding Everlaw document         0.10        975.00        $97.50
                                review for deposition exhibits; Edit Everlaw
                                database tag protocol for same.

 04/11/2023   GNB     MD        Email with K. Dine regarding Joinders.                  0.10        975.00        $97.50

 04/11/2023   GNB     MD        Email K. LaBrada regarding joinders; Review             0.10        975.00        $97.50
                                discovery documents to be sent to U.S. Trustee.

 04/11/2023   GNB     MD        Telephone conference with A. Kornfeld and K. Dine       0.60        975.00       $585.00
                                regarding document production and privilege log in
                                response to Diocese’s discovery requests
                                propounded on the Committee.

 04/11/2023   GNB     MD        Email with PSZJ document review team; Read Jones        0.10        975.00        $97.50
                                Day’s meet and confer letter.
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 04/11/2023   GNB     MD        Review A. Harriman chart relating to joinder, and       0.10        975.00        $97.50
                                email with K. Dine regarding same.

 04/11/2023   GNB     MD        Email K. LaBrada regarding joinders to motion to        0.10        975.00        $97.50
                                dismiss.

 04/11/2023   GNB     MD        Email with staff regarding service issues for           0.20        975.00       $195.00
                                discovery.

 04/11/2023   GNB     MD        Amend Committee witness list and draft email to         0.10        975.00        $97.50
                                Jones Day to accompany same.

 04/11/2023   JIS     MD        Review discovery responses on motion to dismiss.        0.60      1695.00       $1,017.00

 04/11/2023   JIS     MD        Call J. Amala regarding motion evidentiary support      0.30      1695.00        $508.50
                                for motion to dismiss.

 04/11/2023   KHB     MD        Emails with K. Dine re joinders (.1); emails K. Dine    1.00      1525.00       $1,525.00
                                re discovery issues (.2); emails from G. Brown re
                                discovery issues (.2); emails with K. Dine re
                                discovery responses (.2); work on discovery
                                responses (.3).

 04/11/2023   LFC     MD        Review, revise and finalize outline for deposition      0.80      1450.00       $1,160.00
                                preparation.

 04/11/2023   LFC     MD        Review exhibits in support of deposition outline        0.20      1450.00        $290.00
                                preparation.

 04/11/2023   LFC     MD        Review documents for deposition preparation.            3.00      1450.00       $4,350.00

 04/11/2023   GSG     MD        Review and respond to emails from G. Brown re           0.20      1095.00        $219.00
                                discovery.

 04/11/2023   TCF     MD        Deposition preparation in connection with motion to     4.60      1075.00       $4,945.00
                                dismiss.

 04/11/2023   TCF     MD        Document review in connection with motion to            4.20      1075.00       $4,515.00
                                dismiss.

 04/11/2023   KBD     MD        Analyze information regarding claims filed.             0.40      1395.00        $558.00

 04/11/2023   KBD     MD        Review revisions and comments to draft discovery        0.30      1395.00        $418.50
                                responses.

 04/11/2023   KBD     MD        Analyze issues relating to responses to discovery.      0.60      1395.00        $837.00

 04/11/2023   KBD     MD        Call with A. Kornfeld and G. Brown regarding            0.60      1395.00        $837.00
                                discovery relating to motion to dismiss.

 04/11/2023   KBD     MD        Darft deposition outline regarding White/CFN.           2.70      1395.00       $3,766.50

 04/11/2023   BMM     MD        Communications with team regarding motion to            1.00        875.00       $875.00
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                                                                                        Hours           Rate     Amount
                                dismiss litigation.
 04/11/2023   KLL     MD        Review Bonina joinder and update chart to same.          0.30        545.00       $163.50

 04/11/2023   KLL     MD        Update master service list re MTD filings.               0.40        545.00       $218.00

 04/12/2023   AJK     MD        Call with Jones Day and PSZJ re discovery in             1.00      1675.00       $1,675.00
                                connection with Motion to Dismiss and Preliminary
                                Injunction issues.

 04/12/2023   AJK     MD        Prepare for Motion to Dismiss deposition (review of      4.30      1675.00       $7,202.50
                                documents and outline).

 04/12/2023   AJK     MD        Analyze issues re joinders.                              0.40      1675.00        $670.00

 04/12/2023   AJK     MD        Revise Committee discovery responses.                    2.20      1675.00       $3,685.00

 04/12/2023   GFB     MD        Telephone conference with Everlaw regarding              0.10      1050.00        $105.00
                                document search in connection with Motion to
                                Dismiss.

 04/12/2023   GFB     MD        Review email from T. Flanagan regarding pending          0.30      1050.00        $315.00
                                depositions; review attachment regarding same.

 04/12/2023   GFB     MD        Review Debtor's documents in connection with             4.50      1050.00       $4,725.00
                                Motion to Dismiss.

 04/12/2023   GNB     MD        Email with K. Dine and B. Michael regarding              0.10        975.00        $97.50
                                joinders.

 04/12/2023   GNB     MD        Research law for opposition to motion for protective     0.20        975.00       $195.00
                                order regarding Bishop Barres deposition.

 04/12/2023   GNB     MD        Telephonic meet and confer with PSZJ and Jones           1.00        975.00       $975.00
                                Day teams regarding depositions and written
                                discovery.

 04/12/2023   GNB     MD        Email PSZJ team regarding meet and confer with           0.10        975.00        $97.50
                                PSZJ and Jones Day teams regarding depositions
                                and written discovery.

 04/12/2023   GNB     MD        Telephone conference with A. Kornfeld regarding          0.20        975.00       $195.00
                                discovery issues.

 04/12/2023   GNB     MD        Draft search terms for PSZJ email server for ESI         0.60        975.00       $585.00
                                responsive to Diocese’s requests for production (.5);
                                Email K. Dine regarding same (.1).

 04/12/2023   GNB     MD        Telephone conference with K. Dine regarding              0.70        975.00       $682.50
                                discovery, searches for ESI on PSZJ email servers,
                                and joinders.

 04/12/2023   GNB     MD        Email J. Stang regarding PSZJ emails potentially         0.10        975.00        $97.50
                                relevant to Diocese document requests; Email T.
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                                                                                        Hours           Rate     Amount
                                Flanagan and G. Greenwood regarding IAC Report;
                                Email A. Kornfeld regarding discovery.
 04/12/2023   GNB     MD        Review documents for use as deposition exhibits.         0.50        975.00       $487.50

 04/12/2023   GNB     MD        Telephone conference with T. Flanagan regarding          0.10        975.00        $97.50
                                deposition and potential trial exhibits.

 04/12/2023   GNB     MD        Email with PSZJ team regarding deposition and            0.10        975.00        $97.50
                                potential trial exhibits.

 04/12/2023   GNB     MD        Email with M. Matteo regarding research for              0.20        975.00       $195.00
                                opposition to motion to compel Bishop deposition
                                (.1); Review search hits from M. Matteo (.1).

 04/12/2023   GNB     MD        Email with K. LaBrada and D. Hinojosa regarding          0.30        975.00       $292.50
                                analysis of joinders and withdrawn claims (.1);
                                Email with PSZJ team regarding same (.1); Email
                                with D. Hinojosa regarding same (.1).

 04/12/2023   GNB     MD        Email A. Kornfeld and T. Flanagan regarding              0.10        975.00        $97.50
                                Diocese's anticipated motion for protective order
                                relating to deposition of Bishop Barres.

 04/12/2023   GNB     MD        Email with PSZJ group in response to K. Dine email       0.10        975.00        $97.50
                                regarding litigation strategy.

 04/12/2023   GNB     MD        Email with staff regarding email service bounce          0.10        975.00        $97.50
                                backs re discovery.

 04/12/2023   GNB     MD        Email Michael A. Matteo regarding legal research         0.10        975.00        $97.50
                                for Diocese's anticipated motion for protective order
                                relating to deposition of Bishop Barres.

 04/12/2023   JIS     MD        Return call to creditor regarding motion to dismiss.     0.10      1695.00        $169.50

 04/12/2023   JIS     MD        Call A. Kornfeld regarding discovery issues.             0.30      1695.00        $508.50

 04/12/2023   JIS     MD        Call K. Dine re motion to dismiss.                       0.10      1695.00        $169.50

 04/12/2023   JKH     MD        Review, telephone conference regarding draft             1.50      1350.00       $2,025.00
                                depositions summary (.4); review M. Renker
                                documents regarding preparation for motion to
                                dismiss depositions (1.1).

 04/12/2023   KHB     MD        Review amended witness list.                             0.10      1525.00        $152.50

 04/12/2023   KKY     MD        Respond (.1) to email from M. Matteo re deposition       0.20        545.00       $109.00
                                of Bishop and prepare (.1) attachment to same.

 04/12/2023   LFC     MD        Review Debtor documents for deposition                   1.50      1450.00       $2,175.00
                                preparation.

 04/12/2023   LFC     MD        Further review of Debtor documents for deposition        3.90      1450.00       $5,655.00
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                                                                                       Hours           Rate     Amount
                                preparation.
 04/12/2023   MAM     MD        Research case law for motion to compel.                 0.30        495.00       $148.50

 04/12/2023   MAM     MD        Legal research regarding opposition to motion for       1.80        495.00       $891.00
                                protective order for deposition of Bishop Barre.

 04/12/2023   DHH     MD        Emails to/from K. Dine and K. LaBrada regarding         0.50        395.00       $197.50
                                assembly of joinders to motion to dismiss and
                                whether claims have been disallowed or withdrawn.

 04/12/2023   GSG     MD        Email to/from K. Dine and G. Brown re IAC report        0.20      1095.00        $219.00
                                and exhibits.

 04/12/2023   GSG     MD        Further emails to/from G. Brown re IAC report and       0.20      1095.00        $219.00
                                call scheduling.

 04/12/2023   LSC     MD        Research for G. Brown re compelling Bishop Barre        0.60        545.00       $327.00
                                deposition.

 04/12/2023   TCF     MD        Emails with A. Kornfeld and G. Brown regarding          0.10      1075.00        $107.50
                                anticipated motion for protective order regarding
                                Bishop Barres deposition.

 04/12/2023   TCF     MD        Telephone conference with G. Brown regarding            0.10      1075.00        $107.50
                                depositions and potential trial exhibits.

 04/12/2023   TCF     MD        Prepare deposition outline and exhibits.                1.20      1075.00       $1,290.00

 04/12/2023   KBD     MD        Email with G. Brown and B. Michael regarding            0.10      1395.00        $139.50
                                joinders.

 04/12/2023   KBD     MD        Telephone call with G. Brown regarding discovery        0.70      1395.00        $976.50
                                issues.

 04/12/2023   KBD     MD        Prepare deposition outline for White.                   2.60      1395.00       $3,627.00

 04/12/2023   KBD     MD        Analyze issues relating to evidence and discovery       1.20      1395.00       $1,674.00
                                with respect to motion to dismiss.

 04/12/2023   KBD     MD        Telephone call with A. Kornfeld regarding               0.20      1395.00        $279.00
                                evidentiary issue on motion to dismiss.

 04/12/2023   KBD     MD        Analyze issues relating to claims and motion to         0.40      1395.00        $558.00
                                dismiss.

 04/12/2023   HRW     MD        Emails with L. Canty and G. Brown re: motion to         0.20        825.00       $165.00
                                compel and opposition to motion for protective order
                                (0.2).

 04/12/2023   HRW     MD        Research re: motion to compel and opposition to         1.00        825.00       $825.00
                                motion for protective order (1.0).

 04/12/2023   BMM     MD        Communications with team regarding motion to            1.00        875.00       $875.00
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                                                                                        Hours           Rate     Amount
                                dismiss litigation.
 04/12/2023   KLL     MD        Revise and update documents in joinders files.           0.40        545.00       $218.00

 04/12/2023   KLL     MD        Update chart re joinders to current filings.             0.50        545.00       $272.50

 04/12/2023   KLL     MD        Review and upload additional documents for               0.30        545.00       $163.50
                                attorney consideration.

 04/12/2023   KLL     MD        Update chart on deposition notification.                 0.20        545.00       $109.00

 04/13/2023   AJK     MD        Call with Slater, Slater & Schulman re discovery         0.30      1675.00        $502.50
                                issues.

 04/13/2023   AJK     MD        PSZJ team meeting (Zoom) (partial).                      0.70      1675.00       $1,172.50

 04/13/2023   AJK     MD        Prepare for Debtor depositions.                          5.40      1675.00       $9,045.00

 04/13/2023   AJK     MD        Call with M. Kazerouni re discovery issue.               0.20      1675.00        $335.00

 04/13/2023   AJK     MD        Call with C. Bowers re discovery.                        0.20      1675.00        $335.00

 04/13/2023   AJK     MD        Revise Committee discovery responses.                    3.60      1675.00       $6,030.00

 04/13/2023   AJK     MD        Analyze confidentiality issue.                           0.30      1675.00        $502.50

 04/13/2023   AJK     MD        Further edits to Committee discovery responses.          0.40      1675.00        $670.00

 04/13/2023   GFB     MD        Draft emails to L. Cantor and J. Hunter regarding        0.20      1050.00        $210.00
                                document project; review emails from L. Cantor
                                regarding same; review emails from T. Flanagan and
                                G. Brown regarding project, and draft responses;
                                telephone conference with J. Hunter regarding
                                project.

 04/13/2023   GFB     MD        Review and code Debtor's documents in connection         8.50      1050.00       $8,925.00
                                with Motion to Dismiss.

 04/13/2023   GFB     MD        Draft email to L. Cantor, T. Flanagan, J. Hunter, and    0.30      1050.00        $315.00
                                G. Brown regarding project issues (.1); review
                                database in connection with searched documents
                                (.2).

 04/13/2023   GNB     MD        Email with PSZJ team regarding confidentiality           0.30        975.00       $292.50
                                issues and IAC Report.

 04/13/2023   GNB     MD        Email with PSZJ team regarding deposition strategy       0.10        975.00        $97.50
                                and potential deposition exhibits.

 04/13/2023   GNB     MD        Telephone conference with K. Dine and G.                 0.30        975.00       $292.50
                                Greenwood regarding evidence for discovery and
                                evidentiary hearing.

 04/13/2023   GNB     MD        (Partial) Attend weekly telephone conference with        0.70        975.00       $682.50
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                                                                                        Hours           Rate     Amount
                                PSZJ, Burns Bair, and Berkeley Research Group
                                regarding strategy.
 04/13/2023   GNB     MD        Email with staff regarding analysis needed for           0.20        975.00       $195.00
                                discovery responses.

 04/13/2023   GNB     MD        Email with PSZJ regarding data and analysis needed       0.90        975.00       $877.50
                                for discovery responses.

 04/13/2023   GNB     MD        Email with PSZJ document review team regarding           0.30        975.00       $292.50
                                status and process.

 04/13/2023   GNB     MD        Preparation for depositions.                             0.90        975.00       $877.50

 04/13/2023   GNB     MD        Update objections and responses to Diocese’s             1.30        975.00      $1,267.50
                                discovery propounded on Committee.

 04/13/2023   GNB     MD        Email K. LaBrada regarding instructions for Joinder      0.10        975.00        $97.50
                                analysis.

 04/13/2023   GNB     MD        Telephone conference with J. Amala regarding             0.10        975.00        $97.50
                                Diocese discovery.

 04/13/2023   GNB     MD        Telephone conference with A. Kornfeld regarding          0.10        975.00        $97.50
                                Diocese discovery and evidentiary hearing exhibits.

 04/13/2023   GNB     MD        Telephone conference with K. Dine regarding              0.30        975.00       $292.50
                                Committee responses to Diocese discovery, and
                                confidentiality of exhibits for deposition and
                                evidentiary hearing.

 04/13/2023   GNB     MD        Telephone conference with A. Kornfeld and T.             0.20        975.00       $195.00
                                Flanagan regarding Jones Day challenge to
                                deposition of Bishop Barres.

 04/13/2023   GNB     MD        Legal research regarding opposition to deposition of     1.40        975.00      $1,365.00
                                Bishop Barres.

 04/13/2023   GNB     MD        Draft legal section of memorandum regarding              0.90        975.00       $877.50
                                opposition to deposition of Bishop Barres.

 04/13/2023   GNB     MD        Email state court counsel regarding discovery            0.20        975.00       $195.00
                                responses.

 04/13/2023   GNB     MD        Prepare for telephone conference with D. Paolicelli      0.20        975.00       $195.00
                                regarding Diocese's discovery requests (.1);
                                Telephone conference with D. Paolicelli and D.
                                Woodard regarding same (.1).

 04/13/2023   GNB     MD        Email J. Amala regarding Committee member                0.10        975.00        $97.50
                                signature on Verification of interrogatory responses.

 04/13/2023   IAWN MD           Exchange emails with M. Garabedian and Boyd              0.30      1395.00        $418.50
                                regarding Bishop depositions.
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 04/13/2023   JIS     MD        Review state court counsel discovery response          0.20      1695.00        $339.00
                                related to motion to dismiss.

 04/13/2023   JIS     MD        Call with creditor regarding motion to dismiss.        0.20      1695.00        $339.00

 04/13/2023   JIS     MD        Call K. Dine regarding evidentiary issues.             0.30      1695.00        $508.50

 04/13/2023   JKH     MD        Review of M. Renker emails in preparation for          4.40      1350.00       $5,940.00
                                motion to dismiss depositions.

 04/13/2023   KHB     MD        Emails with K. Dine and A. Kornfeld re IAC report      1.40      1525.00       $2,135.00
                                (.9); confer with J. Stang re IAC report (.5).

 04/13/2023   LFC     MD        Review outline issues and additional documents for     4.70      1450.00       $6,815.00
                                deposition preparation.

 04/13/2023   GSG     MD        Call with K. Dine and G. Brown re joinders and         0.30      1095.00        $328.50
                                related claims.

 04/13/2023   GSG     MD        Partial call with BRG, BB, and PSZJ re state court     0.40      1095.00        $438.00
                                counsel communications and issues.

 04/13/2023   TCF     MD        PSZJ team meeting regarding motion to dismiss          0.70      1075.00        $752.50
                                litigation issues (partial attendance).

 04/13/2023   TCF     MD        Drafting and research regarding deposition issues      4.80      1075.00       $5,160.00
                                and motion to quash.

 04/13/2023   TCF     MD        Document review regarding motion to dismiss.           2.00      1075.00       $2,150.00

 04/13/2023   TCF     MD        Draft deposition outline and consider exhibits.        2.40      1075.00       $2,580.00

 04/13/2023   KBD     MD        Call with G. Brown and G. Greenwood regarding          0.30      1395.00        $418.50
                                discovery matters.

 04/13/2023   KBD     MD        Call with A. Kornfeld and C. Bowers regarding          0.10      1395.00        $139.50
                                ongoing case issues.

 04/13/2023   KBD     MD        Call with A. Kornfeld regarding discovery issues.      0.10      1395.00        $139.50

 04/13/2023   KBD     MD        Call with J. Stang regarding evidentiary issues on     0.30      1395.00        $418.50
                                motion to dismiss.

 04/13/2023   KBD     MD        Analyze legal issues relating to motion to dismiss.    0.70      1395.00        $976.50

 04/13/2023   KBD     MD        Calls with G. Brown regarding discovery issues.        0.50      1395.00        $697.50

 04/13/2023   KBD     MD        Analyze issues relating to claims.                     0.60      1395.00        $837.00

 04/13/2023   KBD     MD        Analyze issues relating to discovery and factual       1.20      1395.00       $1,674.00
                                issues.

 04/13/2023   KBD     MD        Review submitted responses to SCC discovery            0.30      1395.00        $418.50
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                                                                                       Hours           Rate     Amount
                                requests.
 04/13/2023   KBD     MD        Review revised draft discovery responses.               0.40      1395.00        $558.00

 04/13/2023   KBD     MD        Prepare White deposition outline.                       0.80      1395.00       $1,116.00

 04/13/2023   KBD     MD        Telephone call with K. LaBrada regarding abuse          0.10      1395.00        $139.50
                                claims.

 04/13/2023   KBD     MD        Prepare revised service list for discovery reponses.    0.20      1395.00        $279.00

 04/13/2023   BMM     MD        Communications with team regarding motion to            0.70        875.00       $612.50
                                dismiss litigation.

 04/13/2023   KLL     MD        Review and update chart re SSS responses to             0.30        545.00       $163.50
                                Debtor's discovery requests.

 04/13/2023   KLL     MD        Review Claro analysis and update claims chart re        1.30        545.00       $708.50
                                joinders field by claimants.

 04/13/2023   KLL     MD        Review Dowd joinder and update chart to same re         0.30        545.00       $163.50
                                MTD.

 04/13/2023   KLL     MD        Review correspondence on deposition schedules and       0.30        545.00       $163.50
                                request for remote information to same.

 04/13/2023   KLL     MD        Review and update on joinder percentage chart.          0.40        545.00       $218.00

 04/13/2023   KLL     MD        Circulate update service list re MTD discovery          0.20        545.00       $109.00
                                reponses.

 04/14/2023   AJK     MD        Review and analyze discovery letter to court.           0.40      1675.00        $670.00

 04/14/2023   AJK     MD        Call with SCC counsel re status and strategy.           0.80      1675.00       $1,340.00

 04/14/2023   AJK     MD        Call with BRG re expert report.                         0.50      1675.00        $837.50

 04/14/2023   AJK     MD        Review and analyze debtor's expert report.              1.40      1675.00       $2,345.00

 04/14/2023   AJK     MD        Further analysis of debtor discovery letters.           2.20      1675.00       $3,685.00

 04/14/2023   AJK     MD        Research re discovery letter issues.                    2.10      1675.00       $3,517.50

 04/14/2023   AJK     MD        Call with M. Briscoe re discovery.                      0.20      1675.00        $335.00

 04/14/2023   GFB     MD        Draft and respond to emails with L. Cantor, T.          0.50      1050.00        $525.00
                                Flanagan, G. Brown, and J.Hunter regarding project
                                issues (.2); review Motion and Report in connection
                                with project review (.2); telephone conference with
                                J.. Hunter re project (.1).

 04/14/2023   GFB     MD        Review and code Debtor's documents in connection        6.40      1050.00       $6,720.00
                                with Motion to Dismiss.
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 04/14/2023   GNB     MD        Draft legal section of memorandum regarding             0.40        975.00       $390.00
                                opposition to deposition of Bishop Barres.

 04/14/2023   GNB     MD        Email with PSZJ regarding priority of deadlines for     0.10        975.00        $97.50
                                today.

 04/14/2023   GNB     MD        Research authorities cited in Debtor’s letter to        0.40        975.00       $390.00
                                Chambers re protective order for Bishop Barres’
                                deposition.

 04/14/2023   GNB     MD        Read Jones Day letter to Court regarding deposition     0.50        975.00       $487.50
                                of Bishop Barres (.2); Telephone conferences with
                                A. Kornfeld and T. Flanagan regarding same, and
                                with T. Flanagan regarding same (.1); Telephone
                                conference with A. Kornfeld regarding same (.1);
                                Telephone conference with K. Dine and email with
                                K. Dine regarding deadlines (.1).

 04/14/2023   GNB     MD        Revise categorical privilege log.                       0.10        975.00        $97.50

 04/14/2023   GNB     MD        Draft response letter to Court opposing Diocese’s       3.50        975.00      $3,412.50
                                motion for protective order for deposition of Bishop
                                Barres.

 04/14/2023   GNB     MD        Finalize Committee discovery responses for service.     0.30        975.00       $292.50

 04/14/2023   GNB     MD        Revise categorical privilege log.                       0.10        975.00        $97.50

 04/14/2023   GNB     MD        Identify emails for categorical privilege log.          0.20        975.00       $195.00

 04/14/2023   GNB     MD        Telephone conference with C. Cassidy regarding          0.10        975.00        $97.50
                                service of discovery responses.

 04/14/2023   GNB     MD        Email to and multiple telephone conference with S.      0.20        975.00       $195.00
                                Lee regarding Monday court conference relating to
                                deposition of Bishop Barres.

 04/14/2023   GNB     MD        Telephone conference with K. Thomas regarding           0.20        975.00       $195.00
                                service of discovery responses.

 04/14/2023   GNB     MD        Email PSZJ document review team regarding status        0.20        975.00       $195.00
                                updates.

 04/14/2023   GNB     MD        Email with PSZJ team regarding Joinder.                 0.10        975.00        $97.50

 04/14/2023   GNB     MD        Review email from Merson Law regarding                  0.20        975.00       $195.00
                                discovery (.1); Telephone conference with S. Cantos
                                and N. Feldman regarding same (.1).

 04/14/2023   GNB     MD        Telephone conference with J. Amala regarding            0.50        975.00       $487.50
                                responses to Debtor's discovery requests.

 04/14/2023   GNB     MD        Email with P. Noaker regarding Committee's              0.10        975.00        $97.50
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                                responses to Diocese's discovery requests.
 04/14/2023   GNB     MD        Email K. LaBrada regarding discovery-related tasks       0.10        975.00        $97.50
                                for today and this weekend.

 04/14/2023   GNB     MD        Read J. Merson email regarding Joinders, including       0.20        975.00       $195.00
                                email with D. Hinojosa regarding same and review
                                of D. Hinojosa analysis.

 04/14/2023   JIS     MD        Call with A. Kornfeld regarding motion to dismiss        0.60      1695.00       $1,017.00
                                issues.

 04/14/2023   JIS     MD        Call A. Kornfeld regarding dismissal motion issues.      0.40      1695.00        $678.00

 04/14/2023   JIS     MD        Review draft of letter to Court regarding Bishop         0.30      1695.00        $508.50
                                deposition.

 04/14/2023   JKH     MD        Review IAC Report regarding minutes review in            2.50      1350.00       $3,375.00
                                preparation for motion to dismiss depositions (.4);
                                Review Dept. of Education binder documents in
                                preparation for motion to dismiss depositions (2.0);
                                Telephone conferences with G. Brandt regarding
                                document review issues (.1).

 04/14/2023   KHB     MD        Emails from A. Kornfield re discovery issues (.1);       0.30      1525.00        $457.50
                                emails with G. Brown re hearing on deposition of
                                Bishop (.2).

 04/14/2023   LFC     MD        Review Debtor's documents for deposition                 3.00      1450.00       $4,350.00
                                preparation.

 04/14/2023   LFC     MD        Further review documents from Debtor for                 4.30      1450.00       $6,235.00
                                deposition preparation.

 04/14/2023   DHH     MD        Research regarding counsel who represented               0.80        395.00       $316.00
                                claimants but did not file a joinder to the Motion to
                                Dismiss (.60); emails to/from G. Brown regarding
                                same (.20).

 04/14/2023   TCF     MD        Document review of Debtor productions regarding          3.20      1075.00       $3,440.00
                                motion to dismiss.

 04/14/2023   TCF     MD        Draft letter response to Chief Judge Glenn regarding     6.40      1075.00       $6,880.00
                                deposition of Bishop Barres.

 04/14/2023   TCF     MD        Drafting and revisions to letter response to Chief       1.40      1075.00       $1,505.00
                                Judge Glenn regarding deposition of Bishop Barres.

 04/14/2023   TCF     MD        Telephone conferences and communications with            0.30      1075.00        $322.50
                                team regarding letter response to Chief Judge Glenn
                                regarding deposition of Bishop Barres.

 04/14/2023   TCF     MD        Review and revise letter response to Chief Judge         0.50      1075.00        $537.50
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                                                                                      Hours           Rate     Amount
                                Glenn regarding deposition of Bishop Barres.
 04/14/2023   KBD     MD        Call with A. Kornfeld and BRG regarding expert         0.50      1395.00        $697.50
                                report.

 04/14/2023   KBD     MD        Review BRG expert report draft.                        0.70      1395.00        $976.50

 04/14/2023   KBD     MD        Analyze discovery responses from SCC to Debtor         0.80      1395.00       $1,116.00
                                discovery demands.

 04/14/2023   KBD     MD        Telephone calls with A. Kornfeld regarding             0.20      1395.00        $279.00
                                discovery issues.

 04/14/2023   KBD     MD        Review email correspondence among PSZJ and SCC         0.30      1395.00        $418.50
                                regarding ongoing case issues.

 04/14/2023   KBD     MD        Review Diocese responses to discovery requests.        0.40      1395.00        $558.00

 04/14/2023   KBD     MD        Telephone conference with G. Brown and email with      0.10      1395.00        $139.50
                                G. Brown regarding deadlines for Jones Day's letter
                                brief for motion for protective order concerning
                                deposition of Bishop Barres.

 04/14/2023   KBD     MD        Analyze PSZJ letter regarding deposition of Bishop.    0.30      1395.00        $418.50

 04/14/2023   BMM     MD        Communications with team regarding motion to           0.90        875.00       $787.50
                                dismiss litigation.

 04/14/2023   KLL     MD        Attend SCC team call.                                  0.80        545.00       $436.00

 04/14/2023   KLL     MD        Review Debtor's responses to Committee discovery       0.30        545.00       $163.50
                                requests and update chart to same.

 04/14/2023   KLL     MD        Review and finalize for filing and serve courtesy      0.40        545.00       $218.00
                                copy to Court re preliminary injunction matter.

 04/14/2023   KLL     MD        Review various responses to Debtor's discovery         1.80        545.00       $981.00
                                requests and update chart to same.

 04/14/2023   KLL     MD        Research citations referenced in Jones Day letter      1.40        545.00       $763.00
                                dated 4-14-23.

 04/15/2023   AJK     MD        Begin preparation for discovery hearing.               0.70      1675.00       $1,172.50

 04/15/2023   AJK     MD        Review and analyze Debtor's discovery responses.       1.30      1675.00       $2,177.50

 04/15/2023   AJK     MD        Revise letter to court re discovery dispute.           4.50      1675.00       $7,537.50

 04/15/2023   GNB     MD        Revise portions of letter brief to Court regarding     1.50        975.00      $1,462.50
                                Bishop Barres’ deposition.

 04/15/2023   GNB     MD        Email PSZJ team regarding letter brief to Court        0.10        975.00        $97.50
                                concerning Bishop Barres’ deposition.
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 04/15/2023   GNB     MD        Email J. Stang regarding state court counsel question    0.10        975.00        $97.50
                                concerning Joinders (.1); Email with B. Michael
                                regarding same (.1).

 04/15/2023   GNB     MD        Email with K. LaBrada regarding document                 0.10        975.00        $97.50
                                production from Diocese and Jefferies due
                                yesterday.

 04/15/2023   GNB     MD        Email K. Dine regarding affirmative expert report        0.10        975.00        $97.50
                                due Monday.

 04/15/2023   GNB     MD        Revise and finalize letter brief to Court regarding      2.30        975.00      $2,242.50
                                Bishop Barres’ deposition (2.0); Telephone
                                conference with T. Flanagan regarding edits for
                                same (.1); Telephone conference with K. Dine
                                regarding same (.1); Telephone conference with J.
                                Stang and A. Kornfeld regarding same (.1).

 04/15/2023   GNB     MD        Email with PSZJ team regarding BRG affirmative           0.10        975.00        $97.50
                                expert report.

 04/15/2023   JIS     MD        Call A. Kornfeld regarding motion to quash Bishop        0.20      1695.00        $339.00
                                deposition.

 04/15/2023   JIS     MD        Call with A. Kornfeld regarding issues related to        0.80      1695.00       $1,356.00
                                motion to quash Bishop deposition.

 04/15/2023   JIS     MD        Call G. Brown and A. Kornfeld regarding motion to        0.10      1695.00        $169.50
                                quash Bishop deposition.

 04/15/2023   JIS     MD        Call T. Flanagan regarding letter response on Bishop     0.30      1695.00        $508.50
                                deposition.

 04/15/2023   TCF     MD        Review and revise letter response to Chief Judge         1.00      1075.00       $1,075.00
                                Glenn regarding deposition of Bishop Barres.

 04/15/2023   TCF     MD        Document review of Debtor's productions regarding        2.60      1075.00       $2,795.00
                                motion to dismiss.

 04/15/2023   TCF     MD        Analyze Bishop Barres deposition issues.                 0.80      1075.00        $860.00

 04/15/2023   TCF     MD        Draft letter response to Chief Judge Glenn regarding     3.60      1075.00       $3,870.00
                                deposition of Bishop Barres.

 04/15/2023   KBD     MD        Prepare comments to draft letter regarding               0.70      1395.00        $976.50
                                deposition of Bishop.

 04/15/2023   KBD     MD        Telephone call with G. Brown regarding letter to         0.10      1395.00        $139.50
                                Court.

 04/15/2023   BMM     MD        Communications with team regarding motion to             1.60        875.00      $1,400.00
                                dismiss litigation.
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 04/16/2023   GNB     MD        Telephone conference with T. Flanagan regarding          0.70        975.00       $682.50
                                Diocese’s discovery responses and need to meet and
                                confer regarding document production (.6);
                                Telephone conference with A. Kornfeld and T.
                                Flanagan regarding same (.1).

 04/16/2023   GNB     MD        Email Jones Day regarding request for meet and           0.20        975.00       $195.00
                                confer concerning document production; Email
                                PSZJ team regarding same.

 04/16/2023   GNB     MD        Telephone conference with T. Flanagan regarding          0.10        975.00        $97.50
                                pre-evidentiary hearing projects for the coming days.

 04/16/2023   GNB     MD        Email A. Kornfeld regarding court conference             0.10        975.00        $97.50
                                tomorrow; Review J. Stang email regarding same.

 04/16/2023   GNB     MD        Email with PSZJ team regarding strategy for              0.10        975.00        $97.50
                                depositions.

 04/16/2023   IAWN MD           Exchange emails with A. Kornfeld and K. Brown            0.30      1395.00        $418.50
                                regarding relevant Bishop questions.

 04/16/2023   TCF     MD        Preparation for judicial conference regarding Bishop     1.80      1075.00       $1,935.00
                                Barres deposition.

 04/16/2023   TCF     MD        Continued preparation for judicial conference            2.40      1075.00       $2,580.00
                                regarding Bishop Barres deposition.

 04/16/2023   TCF     MD        Document review regarding motion to dismiss.             1.80      1075.00       $1,935.00

 04/16/2023   KBD     MD        Analyze correspondence among PSZJ regarding              0.30      1395.00        $418.50
                                motion to dismiss discovery.

 04/16/2023   KBD     MD        Prepare deposition outline for White.                    0.60      1395.00        $837.00

 04/16/2023   KBD     MD        Review debtor discovery responses.                       0.70      1395.00        $976.50

 04/16/2023   KBD     MD        Telephone call with B. Michael regarding motion to       0.60      1395.00        $837.00
                                dismiss matters.

 04/16/2023   BMM     MD        Communications with team regarding motion to             0.40        875.00       $350.00
                                dismiss litigation.

 04/17/2023   AJK     MD        Review and analyze discovery responses.                  3.80      1675.00       $6,365.00

 04/17/2023   AJK     MD        Call with PSZJ team re strategy.                         0.90      1675.00       $1,507.50

 04/17/2023   AJK     MD        E-mail PSZJ team re Motion to Dismiss issues.            0.20      1675.00        $335.00

 04/17/2023   AJK     MD        Prepare for hearing on Bishop deposition.                3.20      1675.00       $5,360.00

 04/17/2023   AJK     MD        Call with E. Stephens re Motion to Dismiss issues.       0.20      1675.00        $335.00
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 04/17/2023   AJK     MD        E-mail to E. Stephens re scheduling.                      0.20      1675.00        $335.00

 04/17/2023   GNB     MD        Assist A. Kornfeld preparation for court conference       0.10        975.00        $97.50
                                today regarding Bishop Barres’ deposition.

 04/17/2023   GNB     MD        Telephone conference with T. Flanagan regarding           0.60        975.00       $585.00
                                discovery dispute concerning Diocese’s failure to
                                produce documents and objections to requests for
                                production (.5); Email with T. Flanagan regarding
                                same (.1).

 04/17/2023   GNB     MD        Telephone conference with B. Michael regarding            0.50        975.00       $487.50
                                document production searches, privilege log, and
                                status of outstanding pre-evidentiary hearing
                                projects.

 04/17/2023   GNB     MD        (Partial) Telephone conference follow up with PSZJ        0.70        975.00       $682.50
                                team after court conference on motion for protective
                                order on deposition of Bishop Barres.

 04/17/2023   GNB     MD        Telephone conference with T. Flanagan regarding           0.10        975.00        $97.50
                                next steps following court conference today.

 04/17/2023   GNB     MD        Review Jones Day email regarding Levy firm                0.10        975.00        $97.50
                                non-service of discovery responses; Email PSZJ
                                team regarding same.

 04/17/2023   GNB     MD        Email with PSZJ team regarding discovery dispute          0.20        975.00       $195.00
                                for meet and confer tomorrow regarding document
                                productions.

 04/17/2023   GNB     MD        Revise T. Flanagan draft meet and confer letter to        0.30        975.00       $292.50
                                Debtor’s counsel regarding document production.

 04/17/2023   GNB     MD        Email with K. LaBrada regarding deposition                0.10        975.00        $97.50
                                scheduling and counsel inquiries regarding same.

 04/17/2023   GNB     MD        Email with B. Michael and PSZJ staff regarding            0.10        975.00        $97.50
                                email server searches for privilege log.

 04/17/2023   JIS     MD        Draft email to committee and counsel re continuance       1.00      1695.00       $1,695.00
                                of motion to dismiss.

 04/17/2023   JIS     MD        Attend call of PSZJ team regarding motion to              0.90      1695.00       $1,525.50
                                dismiss after hearing on Bishop deposition.

 04/17/2023   KHB     MD        Team call re hearing and litigation strategy and court    0.90      1525.00       $1,372.50
                                questions on preliminary injunction issues.

 04/17/2023   GSG     MD        Partial status call with PSZJ team re motion to           0.50      1095.00        $547.50
                                dismiss.

 04/17/2023   TCF     MD        Document review regarding motion to dismiss.              1.20      1075.00       $1,290.00
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 04/17/2023   TCF     MD        Telephone conference with G. Brown regarding          0.60      1075.00        $645.00
                                discovery disputes in connection with motion to
                                dismiss.

 04/17/2023   TCF     MD        Draft letter brief regarding discovery disputes in    6.40      1075.00       $6,880.00
                                connection with motion to dismiss.

 04/17/2023   KBD     MD        Prepare for court conference regarding discovery.     0.20      1395.00        $279.00

 04/17/2023   KBD     MD        Review and prepare comments to expert report with     0.40      1395.00        $558.00
                                B. Michael (for part).

 04/17/2023   KBD     MD        Telephone call with P. Shields (BRG) regarding        0.10      1395.00        $139.50
                                expert report.

 04/17/2023   KBD     MD        Review discovery responses and production from        0.70      1395.00        $976.50
                                Jones Day regarding motion to dismiss.

 04/17/2023   KBD     MD        Review and prepare comments to letter regarding       0.40      1395.00        $558.00
                                discovery dispute.

 04/17/2023   KBD     MD        Review correspondence among PSZJ and Jones Day        0.30      1395.00        $418.50
                                regarding discovery issues.

 04/17/2023   KBD     MD        Review Moore expert report .                          0.30      1395.00        $418.50

 04/17/2023   KBD     MD        Follow-up with PSZJ team regarding court hearing      0.90      1395.00       $1,255.50
                                and next steps.

 04/17/2023   BMM     MD        Communications with team regarding motion to          0.90        875.00       $787.50
                                dismiss litigation.

 04/17/2023   BMM     MD        Communications with PSZJ, BRG, and Claro teams        5.00        875.00      $4,375.00
                                regarding motion to dismiss litigation.

 04/17/2023   BMM     MD        Call with G. Brown regarding motion to dismiss        0.40        875.00       $350.00
                                litigation.

 04/17/2023   BMM     MD        Call with team regarding chambers conference and      0.90        875.00       $787.50
                                motion to dismiss next steps.

 04/17/2023   KLL     MD        Review various emails on deposition schedule and      0.40        545.00       $218.00
                                update chart on same.

 04/17/2023   KLL     MD        Review production from Jones Day in response to       1.10        545.00       $599.50
                                Committee's request for production.

 04/18/2023   AJK     MD        Review and analyze Moore expert report.               1.70      1675.00       $2,847.50

 04/18/2023   AJK     MD        Review PSZJ and client e-mails re Motion to           0.30      1675.00        $502.50
                                Dismiss.

 04/18/2023   AJK     MD        Further review of Moore reports.                      0.40      1675.00        $670.00
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 04/18/2023   AJK     MD        Call with J. Merson re litigation issue.                0.20      1675.00        $335.00

 04/18/2023   AJK     MD        Attend Committee meeting (virtual).                     1.00      1675.00       $1,675.00

 04/18/2023   GNB     MD        Email PSZJ document review team regarding pause         0.10        975.00        $97.50
                                in document review and deposition preparation.

 04/18/2023   GNB     MD        Draft email to PSZJ team regarding open issues          0.20        975.00       $195.00
                                if/when resume litigation.

 04/18/2023   JIS     MD        Call A. Kornfeld regarding motion to dismiss issues.    0.10      1695.00        $169.50

 04/18/2023   TCF     MD        Finalize open items with respect to motion to           1.80      1075.00       $1,935.00
                                dismiss in light of pending mediation.

 04/18/2023   KBD     MD        Analyze expert report of C. Moore.                      1.20      1395.00       $1,674.00

 04/18/2023   KBD     MD        Analyze correspondence among PSZJ, Committee            0.40      1395.00        $558.00
                                and SCC regarding ongoing case issues.

 04/18/2023   KLL     MD        Correspond with counsel re deposition schedules.        0.30        545.00       $163.50

 04/19/2023   AJK     MD        Call with J. Stang re litigation strategy.              0.10      1675.00        $167.50

 04/20/2023   AJK     MD        Analysis of litigation strategy.                        0.40      1675.00        $670.00

 04/20/2023   AJK     MD        Call with T. Flanagan and G. Brown re litigation        0.10      1675.00        $167.50
                                status.

 04/20/2023   KLL     MD        Correspond with Porzio firm on deposition schedule.     0.10        545.00        $54.50

 04/21/2023   AJK     MD        Call with J. Stang re litigation strategy.              0.30      1675.00        $502.50

 04/21/2023   GNB     MD        Email K. LaBrada and B. Avanim regarding stay of        0.10        975.00        $97.50
                                litigation on motion to dismiss pending mediation

 04/21/2023   KLL     MD        Attend SCC conference call re update on MTD.            0.90        545.00       $490.50

 04/21/2023   KLL     MD        Review M. Garabedian joinder and compare to             0.50        545.00       $272.50
                                charts to claims dismissed.

 04/24/2023   AJK     MD        Call with T. Flanagan and K. McNally re expert          0.50      1675.00        $837.50
                                issues.

 04/24/2023   AJK     MD        Call with K. Brown re litigation schedule.              0.20      1675.00        $335.00

 04/24/2023   IAWN MD           Review C. Moore expert report.                          0.80      1395.00       $1,116.00

 04/24/2023   KHB     MD        Emails with J. Stang re obtaining hearing date (.1);    0.30      1525.00        $457.50
                                confer with A. Kornfield re hearing date and impact
                                of hearing on preliminary injunction (.2).

 04/25/2023   AJK     MD        Analysis of issues re CemCo.                            0.30      1675.00        $502.50
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 04/25/2023   AJK     MD        E-mails with PSZJ re litigation scheduling.             0.30      1675.00          $502.50

 04/25/2023   AJK     MD        Call with E. Stephens re litigation scheduling.         0.10      1675.00          $167.50

 04/25/2023   KHB     MD        Emails J. Stang and A. Kornfield re refusal of IAC      0.20      1525.00          $305.00
                                targets to negotiate.

 04/26/2023   AJK     MD        Review internal e-mails re scheduling.                  0.20      1675.00          $335.00

 04/26/2023   BMM     MD        Meeting with SCC regarding motion to dismiss            0.30        875.00         $262.50
                                status.

 04/27/2023   AJK     MD        Review e-mails re scheduling.                           0.20      1675.00          $335.00

 04/27/2023   AJK     MD        Call with B. Michael re scheduling.                     0.20      1675.00          $335.00

 04/28/2023   AJK     MD        Analysis of expert report (Diocese).                    1.60      1675.00         $2,680.00

 04/28/2023   AJK     MD        Review internal e-mails re scheduling.                  0.20      1675.00          $335.00

 04/28/2023   IAWN MD           Exchange emails with Claro and J. Bair re insurance     0.50      1395.00          $697.50
                                assumptions.

 04/28/2023   IAWN MD           Telephone call with BRG regarding Ecclesia.             0.50      1395.00          $697.50

                                                                                      530.70                    $668,674.00

  Mediation
 04/03/2023   JIS     ME        Draft cover email to state court counsel regarding      0.20      1695.00          $339.00
                                insurance demands.

 04/03/2023   KBD     ME        Prepare mediation statement.                            1.30      1395.00         $1,813.50

 04/04/2023   IAWN ME           Review emails re new mediator.                          0.20      1395.00          $279.00

 04/04/2023   KHB     ME        Emails with counsel re mediation schedule.              0.20      1525.00          $305.00

 04/10/2023   IAWN ME           Review J. Stang and Burns Bair LLP emails               0.10      1395.00          $139.50
                                regarding status as intervenors.

 04/10/2023   IAWN ME           Review emails from Burns Bair LLP and J. Stang          0.30      1395.00          $418.50
                                regarding status of insurers.

 04/10/2023   IAWN ME           Review J. Stang and Burns Bair LLP emails               0.10      1395.00          $139.50
                                regarding status as intervenors.

 04/10/2023   KBD     ME        Analyze correspondence among Burns Bair LLP and         0.20      1395.00          $279.00
                                PSZJ regarding appointment of mediator.

 04/11/2023   IAWN ME           Telephone call with SCC regarding mediation.            0.90      1395.00         $1,255.50

 04/11/2023   IAWN ME           Review emails between team regarding mediation.         0.30      1395.00          $418.50
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 04/11/2023   KBD     ME        Attention to matters relating to appointment of           0.20      1395.00        $279.00
                                mediator relating to settlement.

 04/11/2023   KBD     ME        Draft mediation statement.                                1.20      1395.00       $1,674.00

 04/12/2023   IAWN ME           Review mediation program.                                 0.30      1395.00        $418.50

 04/12/2023   IAWN ME           Telephone call with team regarding mediation.             0.80      1395.00       $1,116.00

 04/12/2023   JIS     ME        Call Paul Van Osselaer regarding mediation status.        0.40      1695.00        $678.00

 04/12/2023   JIS     ME        Call with insurance counsel regarding 4.14 call with      0.80      1695.00       $1,356.00
                                mediator.

 04/12/2023   KBD     ME        Telephone call with J. Bair, T. Burns, J. Stang and I.    0.80      1395.00       $1,116.00
                                Nasatir regarding appointment of Judge Cave.

 04/13/2023   IAWN ME           Telephone call with team regarding mediation.             1.10      1395.00       $1,534.50

 04/13/2023   JIS     ME        Attend PSZJ/BRG/BB team meeting regarding case            1.10      1695.00       $1,864.50
                                status.

 04/13/2023   JIS     ME        Call with P. Van Osselaer regarding status of             0.10      1695.00        $169.50
                                mediator selection.

 04/13/2023   KBD     ME        Review Judge Cave settlement procedures.                  0.20      1395.00        $279.00

 04/13/2023   KBD     ME        Telephone call with PSZJ, BRG and Burns Bair LLP          1.10      1395.00       $1,534.50
                                teams regarding mediation and ongoing case issues.

 04/14/2023   IAWN ME           Telephone call with SCC re mediation.                     0.80      1395.00       $1,116.00

 04/14/2023   IAWN ME           Telephone call with PSZJ team regarding call with J.      0.70      1395.00        $976.50
                                Cave.

 04/14/2023   JIS     ME        Status call with Judge Cave.                              1.00      1695.00       $1,695.00

 04/14/2023   JIS     ME        Follow up call with PSZJ team after Judge Cave            0.70      1695.00       $1,186.50
                                call.

 04/14/2023   KBD     ME        Call with J. Stang, T. Burns and J. Bair regarding        0.30      1395.00        $418.50
                                mediation matters.

 04/14/2023   KBD     ME        Call with counsel for Diocese, Insurers and               1.00      1395.00       $1,395.00
                                Committee with Judge Cave regarding mediation.

 04/18/2023   JIS     ME        Call P. Van Osselaer regarding status of Judge Cave       0.20      1695.00        $339.00
                                appointment.

 04/18/2023   KBD     ME        Call with B. Michael and BRG regarding financial          1.30      1395.00       $1,813.50
                                information issues.

 04/18/2023   KBD     ME        Prepare mediation statement.                              1.20      1395.00       $1,674.00
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 04/18/2023   BMM     ME        Call with BRG and K. Dine regarding financial         1.30        875.00      $1,137.50
                                information in preparation of mediation.

 04/19/2023   TCF     ME        Telephone conference with K. McNally and A.           0.20      1075.00        $215.00
                                Kornfeld regarding valuation matters and mediation
                                report.

 04/19/2023   TCF     ME        Correspondence with K. McNally and A. Kornfeld        0.10      1075.00        $107.50
                                regarding valuation matters and mediation report.

 04/20/2023   GNB     ME        Telephone conference with A. Kornfeld and T.          0.10        975.00        $97.50
                                Flanagan regarding analyses necessary for
                                mediation.

 04/20/2023   GNB     ME        Email K. Dine regarding financial analysis for        0.10        975.00        $97.50
                                mediation.

 04/20/2023   GNB     ME        Briefly review expert report of C. Moore from         0.20        975.00       $195.00
                                motion to dismiss contested matter in light of
                                mediation issues.

 04/20/2023   IAWN ME           Review and comment on mediation statement.            0.40      1395.00        $558.00

 04/20/2023   JIS     ME        Call Committee member regarding mediation.            0.70      1695.00       $1,186.50

 04/20/2023   JIS     ME        Call P. Van Osselaer regarding mediation.             0.40      1695.00        $678.00

 04/20/2023   TCF     ME        PSZJ team call regarding mediation issues.            0.90      1075.00        $967.50

 04/20/2023   TCF     ME        Telephone conference with A. Kornfeld and G.          0.10      1075.00        $107.50
                                Brown regarding mediation issues.

 04/20/2023   TCF     ME        Emails with G. Brown regarding mediation issues.      0.10      1075.00        $107.50

 04/20/2023   KBD     ME        Telephone call with B. Michael regarding              0.70      1395.00        $976.50
                                preparation for mediation.

 04/20/2023   BMM     ME        Review mediation order and parish stip (.3); draft    0.70        875.00       $612.50
                                email to Diocese and parishes regarding same (.4).

 04/20/2023   BMM     ME        Communications with team regarding upcoming           0.30        875.00       $262.50
                                team strategy meeting.

 04/20/2023   BMM     ME        Call with K. Dine regarding mediation and ongoing     0.80        875.00       $700.00
                                case issues.

 04/21/2023   GNB     ME        Telephone conference with K. Dine and B. Michael      0.70        975.00       $682.50
                                regarding mediation strategy and preparation.

 04/21/2023   IAWN ME           Telephone call with Judge Cave regarding mediation    1.00      1395.00       $1,395.00
                                scheduling.

 04/21/2023   IAWN ME           Telephone call with team regarding Judge Cave.        0.60      1395.00        $837.00
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 04/21/2023   IAWN ME           Telephone call with SCC regarding Judge Cave.          0.90      1395.00       $1,255.50

 04/21/2023   KBD     ME        Prepare mediation statement.                           2.20      1395.00       $3,069.00

 04/21/2023   KBD     ME        Attend conference with Judge Cave and parties          1.00      1395.00       $1,395.00
                                regarding mediation.

 04/21/2023   KBD     ME        Call with SCC regarding ongoing case issues.           0.90      1395.00       $1,255.50

 04/21/2023   KBD     ME        Follow-up call with PSZJ team regarding mediation.     0.60      1395.00        $837.00

 04/21/2023   KBD     ME        Call with G. Brown and B. Michael regarding            0.70      1395.00        $976.50
                                preparation for mediation.

 04/21/2023   KBD     ME        Telephone call with B. Michael regarding mediation     0.20      1395.00        $279.00
                                next steps.

 04/21/2023   BMM     ME        Participate in scheduling call with co-mediators.      1.00        875.00       $875.00

 04/21/2023   BMM     ME        Call with K. Dine and J. Stang following up on SCC     0.60        875.00       $525.00
                                call regarding mediation.

 04/21/2023   BMM     ME        Call with K. Dine and G. Brown regarding               0.80        875.00       $700.00
                                mediation strategy (.7); prepare for same (.1).

 04/23/2023   KBD     ME        Draft mediation statement.                             3.00      1395.00       $4,185.00

 04/24/2023   TCF     ME        Telephone conference with K. McNally regarding         0.20      1075.00        $215.00
                                valuation and claims issues and mediation report.

 04/24/2023   TCF     ME        Telephone conference with A. Kornfeld regarding        0.10      1075.00        $107.50
                                valuation and claims issues and mediation report.

 04/24/2023   TCF     ME        Telephone conference with B. Michael regarding         0.10      1075.00        $107.50
                                valuation and claims issues and mediation report.

 04/24/2023   TCF     ME        Coordination and analysis of valuation and claims      2.20      1075.00       $2,365.00
                                issues.

 04/24/2023   KBD     ME        Analyze issues for mediation statement.                1.60      1395.00       $2,232.00

 04/24/2023   KBD     ME        Telephone call with B. Michael regarding next steps    0.90      1395.00       $1,255.50
                                with respect to mediation.

 04/24/2023   BMM     ME        Call with K. Dine regarding mediation strategy.        0.90        875.00       $787.50

 04/24/2023   BMM     ME        Revise mediation statement.                            4.50        875.00      $3,937.50

 04/24/2023   BMM     ME        Revise mediation statement.                            1.50        875.00      $1,312.50

 04/25/2023   GNB     ME        Research insert for mediation brief.                   0.20        975.00       $195.00

 04/25/2023   JIS     ME        Call with BRG regarding cemetery analysis.             0.70      1695.00       $1,186.50
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 04/25/2023   BDD     ME        Research for mediation brief (.30); emails G. Brown    0.40        545.00       $218.00
                                and D. Hinojosa re same (.10)

 04/25/2023   KBD     ME        Telephone call with B. Michael regarding mediation     1.70      1395.00       $2,371.50
                                strategy.

 04/25/2023   BMM     ME        Call with K. Dine regarding mediation strategy.        1.70        875.00      $1,487.50

 04/25/2023   BMM     ME        Revise mediation statement.                            3.10        875.00      $2,712.50

 04/26/2023   AJK     ME        DRVC team (PSZJ) call re case strategy and             1.10      1675.00       $1,842.50
                                litigation issues (partial).

 04/26/2023   AJK     ME        Review coverage analysis for mediation.                0.30      1675.00        $502.50

 04/26/2023   IAWN ME           Telephone conference with team regarding motion to     1.50      1395.00       $2,092.50
                                dismiss.

 04/26/2023   JIS     ME        Call with PSZJ team regarding mediation issues.        1.50      1695.00       $2,542.50

 04/26/2023   JIS     ME        Review proposed order regarding confidentiality.       0.30      1695.00        $508.50

 04/26/2023   JIS     ME        Call P. Van Osselaer regarding mediation issues.       0.50      1695.00        $847.50

 04/26/2023   KBD     ME        Telephone call with PSZJ team regarding mediation      1.50      1395.00       $2,092.50
                                strategy.

 04/26/2023   KBD     ME        Telephone call with BRG regarding financial            1.00      1395.00       $1,395.00
                                information.

 04/26/2023   KBD     ME        Prepare comments to draft mediation statement.         0.70      1395.00        $976.50

 04/26/2023   BMM     ME        Revise mediation statement.                            0.50        875.00       $437.50

 04/26/2023   BMM     ME        Call with K. Dine regarding mediation strategy and     0.50        875.00       $437.50
                                expert fees.

 04/26/2023   BMM     ME        Revise mediation statement.                            1.00        875.00       $875.00

 04/26/2023   BMM     ME        Meeting with K. Dine and BRG regarding asset           1.00        875.00       $875.00
                                analysis for mediation.

 04/26/2023   BMM     ME        Meeting with PSZJ team regarding mediation             1.50        875.00      $1,312.50
                                strategy and other case issues.

 04/26/2023   BMM     ME        Call with J. Stang regarding mediation.                0.20        875.00       $175.00

 04/26/2023   BMM     ME        Revise mediation statement.                            1.40        875.00      $1,225.00

 04/26/2023   BMM     ME        Review draft mediation agreement and privilege         0.10        875.00        $87.50
                                issues.

 04/27/2023   AJK     ME        Review and revise draft mediation statement.           0.60      1675.00       $1,005.00
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 04/27/2023   AJK     ME        Call with B. Michael re mediation statement.          0.10      1675.00        $167.50

 04/27/2023   AJK     ME        Review further iteration of mediation statement.      0.70      1675.00       $1,172.50

 04/27/2023   AJK     ME        Review comments to mediation statement.               0.60      1675.00       $1,005.00

 04/27/2023   IAWN ME           Revise mediation brief.                               1.00      1395.00       $1,395.00

 04/27/2023   JIS     ME        Review/revise mediation memorandum.                   1.30      1695.00       $2,203.50

 04/27/2023   JIS     ME        Review email regarding state court counsel            0.20      1695.00        $339.00
                                attendance at mediation.

 04/27/2023   KBD     ME        Analyze draft confidentiality agreements regarding    0.30      1395.00        $418.50
                                mediation.

 04/27/2023   KBD     ME        Review correspondence among mediators and             0.20      1395.00        $279.00
                                parties concerning mediation.

 04/27/2023   KBD     ME        Prepare comments on mediation statement.              1.20      1395.00       $1,674.00

 04/27/2023   BMM     ME        Revise mediation statement.                           1.50        875.00      $1,312.50

 04/27/2023   BMM     ME        Communications with Committee and SCC                 0.60        875.00       $525.00
                                regarding mediation.

 04/27/2023   BMM     ME        Revise mediation statement.                           1.40        875.00      $1,225.00

 04/27/2023   BMM     ME        Analyze assumptions for ability to pay analysis.      0.60        875.00       $525.00

 04/27/2023   BMM     ME        Call with P. Van Osselaer regarding mediation.        0.40        875.00       $350.00

 04/28/2023   AJK     ME        Edit and revise mediation statement.                  1.80      1675.00       $3,015.00

 04/28/2023   AJK     ME        Review e-mails re edits to mediation statement.       0.40      1675.00        $670.00

 04/28/2023   IAWN ME           Telephone call with SCC regarding mediation.          1.40      1395.00       $1,953.00

 04/28/2023   IAWN ME           Telephone call with team regarding mediation.         0.40      1395.00        $558.00

 04/28/2023   IAWN ME           Telephone call with BRG regarding Ecclesia.           0.40      1395.00        $558.00

 04/28/2023   IAWN ME           Review and comment on mediation statement.            0.30      1395.00        $418.50

 04/28/2023   JIS     ME        Review/revise mediation memo.                         0.50      1695.00        $847.50

 04/28/2023   JIS     ME        Review/revise mediation statement draft.              0.60      1695.00       $1,017.00

 04/28/2023   KBD     ME        Analyze and prepare comments to draft mediation       1.40      1395.00       $1,953.00
                                statement.

 04/28/2023   KBD     ME        Telephone call with B. Michael regarding mediation    0.70      1395.00        $976.50
                                issues.
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 04/28/2023   KBD     ME        Call with Burns Bair LLP and PSZJ regarding            0.50      1395.00          $697.50
                                mediation strategy.

 04/28/2023   BMM     ME        Emails to team regarding mediation agenda.             0.20        875.00         $175.00

 04/28/2023   BMM     ME        Review edits to mediation statement.                   0.70        875.00         $612.50

 04/28/2023   BMM     ME        Research Diocese relationship with Dominican           1.80        875.00        $1,575.00
                                Village.

 04/28/2023   BMM     ME        Revise mediation statement.                            3.00        875.00        $2,625.00

 04/29/2023   AJK     ME        Edit and revise mediation statement.                   1.90      1675.00         $3,182.50

 04/29/2023   IAWN ME           Review financials and prepare a draft comment on       0.30      1395.00          $418.50
                                Arrowood status for SCC.

 04/29/2023   TCF     ME        Review and revise mediation statement.                 1.80      1075.00         $1,935.00

 04/29/2023   TCF     ME        Review and analysis of valuation and claim related     0.50      1075.00          $537.50
                                issues.

 04/29/2023   KBD     ME        Review revised mediation statement.                    0.30      1395.00          $418.50

 04/29/2023   KBD     ME        Analyze issues relating to mediation.                  1.20      1395.00         $1,674.00

 04/30/2023   AJK     ME        Review and analyze/edit report re valuation for        2.40      1675.00         $4,020.00
                                mediation.

 04/30/2023   AJK     ME        Review updated draft of mediation statement.           0.80      1675.00         $1,340.00

 04/30/2023   IAWN ME           Exchange emails with J. Stang and J. Bair re           0.10      1395.00          $139.50
                                guaranty fund coverage.

 04/30/2023   IAWN ME           Revise and expand comment to SCC regarding             0.30      1395.00          $418.50
                                Arrowood status.

                                                                                     109.20                    $138,342.00

  Mtgs/Conf w/ Case Prof.
 04/03/2023   KBD     MF        Prepare and review correspondence with Jones Day       0.20      1395.00          $279.00
                                regarding ongoing case issues.

 04/11/2023   KBD     MF        Prepare and review correspondence with Jones Day       0.30      1395.00          $418.50
                                regarding ongoing case issues.

 04/12/2023   JIS     MF        Conference call with Debtor regarding motion to        1.00      1695.00         $1,695.00
                                dismiss issues and mediation.

 04/12/2023   KBD     MF        Call with Jones Day and PSZJ team regarding            1.00      1395.00         $1,395.00
                                ongoing case issues.
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 04/13/2023   KBD     MF        Prepare and review correspondence with Jones Day        0.30       1395.00        $418.50
                                regarding ongoing case issues.

 04/14/2023   KBD     MF        Prepare and review correspondence among Jones           0.20       1395.00        $279.00
                                Day, PSZJ and Chambers.

 04/26/2023   KBD     MF        Telephone calls with B. Michael regarding               0.90       1395.00       $1,255.50
                                discussion with Jones Day.

 04/26/2023   KBD     MF        Telephone call with B. Michael, E. Stephens (Jones      0.20       1395.00        $279.00
                                Day) and A. Butler (Jones Day).

 04/26/2023   KBD     MF        Analyze correspondence among PSZJ, Burns Bair           0.10       1395.00        $139.50
                                LLP, Reed Smith, the US Trustee and Jones Day
                                regarding ongoing case issues.

 04/26/2023   BMM     MF        Call with Debtor's counsel regarding ongoing case       0.20         875.00       $175.00
                                issues

 04/27/2023   KBD     MF        Review correspondence among Chambers and                0.20       1395.00        $279.00
                                parties regarding certain ongoing case issues.

                                                                                         4.60                    $6,613.00

  Monthly Fee Statements
 04/12/2023   DHH     MFA       Review of PSZJ March statement (.20); emails            0.30         395.00       $118.50
                                to/from G. Brown regarding same (.10).

 04/17/2023   GNB     MFA       Revise certificate of no objection to PSZJ and Burns    0.10         975.00        $97.50
                                Bair most recent monthly fee statements.

 04/17/2023   KLL     MFA       Prepare certificate of no objection re Committee        0.50         545.00       $272.50
                                professionals February monthly fee statements.

 04/18/2023   GNB     MFA       Edit PSZJ March 2023 prebill.                           0.10         975.00        $97.50

 04/18/2023   GNB     MFA       Revise CNO and email M. de Leon regarding filing        0.10         975.00        $97.50
                                of same.

 04/19/2023   GNB     MFA       Edit PSZJ March 2023 prebill.                           1.30         975.00      $1,267.50

 04/19/2023   LSC     MFA       Finalize and file certification of no objection         0.20         545.00       $109.00
                                regarding PSZJ fee statement

 04/25/2023   DHH     MFA       Research and compile expert/consultant invoices for     0.80         395.00       $316.00
                                supplement to fee application.

 04/27/2023   DHH     MFA       Prepare PSZJ fee statement for March.                   1.20         395.00       $474.00

                                                                                         4.60                    $2,850.00
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  Open Court Hearing
 04/05/2023   JIS     OPH       Prepare for and attend hearing regarding claims           3.00      1695.00        $5,085.00
                                objections.

 04/05/2023   GSG     OPH       Attend hearing re Debtor's 3rd, 6th, 8th, and 9th         3.00          0.00           $0.00
                                omnibus objections to claims and notes re issues of
                                control and notice. (No Charge)

 04/05/2023   KBD     OPH       Participate in claims objection hearing before            3.00      1395.00        $4,185.00
                                Bankruptcy Court.

 04/05/2023   BMM     OPH       Participate (partial) in claims objection hearing on      1.60        875.00       $1,400.00
                                claims objections.

 04/19/2023   IAWN OPH          Attend hearing on preliminary injunction re               7.30      1395.00       $10,183.50
                                insurance.

 04/19/2023   JIS     OPH       Attend hearing (partial) regarding preliminary            4.00      1695.00        $6,780.00
                                injunction.

 04/19/2023   GSG     OPH       Attend (partial) preliminary injunction hearing/trial     7.00      1095.00        $7,665.00
                                re opening arguments and witness examinations.

 04/19/2023   KBD     OPH       Participate in court hearing on Preliminary               7.80      1395.00       $10,881.00
                                Injunction.

 04/19/2023   BMM     OPH       Participate in preliminary injunction hearing re          3.10        875.00       $2,712.50
                                discovery issues.

 04/19/2023   BMM     OPH       Participate in preliminary injunction hearing re          2.70        875.00       $2,362.50
                                discovery issues.

 04/20/2023   IAWN OPH          Attend hearing and closing on motion for                  2.50      1395.00        $3,487.50
                                preliminary injunction re insurance issues.

 04/20/2023   JIS     OPH       Attend hearing of closing arguments in preliminary        2.50      1695.00        $4,237.50
                                injunction.

 04/20/2023   GSG     OPH       Attend trial re closing arguments.                        2.50      1095.00        $2,737.50

 04/20/2023   LSC     OPH       Prepare for (1.5); and assist at (2.5) closing            4.00        545.00       $2,180.00
                                arguments on preliminary injunction hearing.

 04/20/2023   KBD     OPH       Prepare for (1.0); and participate in (2.5) hearing on    3.50      1395.00        $4,882.50
                                preliminary injunction.

 04/20/2023   BMM     OPH       Participate in preliminary injunction hearing re          2.20        875.00       $1,925.00
                                discovery issues.

 04/25/2023   KBD     OPH       Participate in court hearing regarding fees.              0.80      1395.00        $1,116.00

 04/25/2023   BMM     OPH       Participate in hearing on fee applications.               0.80        875.00        $700.00
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                                                                                      61.30                    $72,520.50

  Plan & Disclosure Stmt. [B320]
 02/08/2023   IAWN PD           Exchange emails with expert regarding Ecclesia        0.30       1395.00         $418.50
                                information

 02/08/2023   IDS     PD        Meeting with PSZJ team re plan and DS litigation      1.50       1125.00        $1,687.50

 03/07/2023   IAWN PD           Exchange emails with B. Michael re Ecclesia           0.10       1395.00         $139.50
                                documents needed from diocese.

                                                                                       1.90                     $2,245.50

  Diocese Plan/Disclosure Stmt.
 02/08/2023   IDS     PDJD      Review applicable caselaw regarding non-debtor        0.80       1125.00         $900.00
                                releases Diocese Plan/Disclosure Statement

 04/17/2023   BMM     PDJD      Call with K. Dine regarding Moore liquidation         0.20         875.00        $175.00
                                analysis.

 04/18/2023   BMM     PDJD      Review Moore declaration.                             1.00         875.00        $875.00

 04/20/2023   BMM     PDJD      Analyze assets listed in Moore expert report.         0.40         875.00        $350.00

                                                                                       2.40                     $2,300.00

  Preliminary Injunction
 03/07/2023   LSC     PINJ      Correspondence with G. Greenwood and retrieval of     0.40         545.00        $218.00
                                documents in connection with deposition.

 03/07/2023   LSC     PINJ      Retrieval of documents in connection with             1.30         545.00        $708.50
                                depositions and update attorney files for use.

 03/08/2023   LSC     PINJ      Follow up and correspond with TSG regarding           0.70         545.00        $381.50
                                upcoming depositions and address various issues
                                with respect thereto.

 03/08/2023   LSC     PINJ      Preparation of materials for upcoming deposition of   2.30         545.00       $1,253.50
                                K. Porter.

 03/09/2023   LSC     PINJ      Prepare for and assist at deposition of K. Porter     3.50         545.00       $1,907.50
                                (3.3); transmit exhibits to TSG and draft
                                correspondence to team post deposition (.2).

 03/10/2023   LSC     PINJ      Prepare for and assist at deposition of E. Stephens   5.50         545.00       $2,997.50
                                (5.2); transmit exhibits to TSG and draft
                                correspondence to team post deposition (.3).

 03/13/2023   LSC     PINJ      Coordinate retrieval of rough drafts of deposition    0.40         545.00        $218.00
                                transcripts and follow up with TSG regarding
                                exhibits.
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 03/16/2023   LSC     PINJ      Retrieve and transmit form and correspond with G.      0.30        545.00       $163.50
                                Greenwood regarding evidentiary stipulation and
                                procedures for submission of same.

 03/27/2023   LSC     PINJ      Correspondence regarding marked deposition             0.20        545.00       $109.00
                                exhibits.

 04/03/2023   IAWN PINJ         Telephone call with team regarding hearing             0.40      1395.00        $558.00
                                mechanics.

 04/03/2023   IAWN PINJ         Exchange emails with G. Greenwood regarding            0.20      1395.00        $279.00
                                insurance article.

 04/03/2023   IAWN PINJ         Telephone call with K. Brown and G. Greenwood          0.10      1395.00        $139.50
                                regarding K. Porter.

 04/03/2023   IAWN PINJ         Telephone call with Burns Bair LLP regarding K.        0.10      1395.00        $139.50
                                Porter.

 04/03/2023   KHB     PINJ      Emails with I. Nasatir and J. Bair and G. Greenwood    1.60      1525.00       $2,440.00
                                re insurance issues (.3); review authority on
                                Arrowhead run off issues (.5); email from court re
                                hearing procedures and email with team re
                                compliance (.3); team call re compliance with court
                                email on procedures (.4); confer with G. Greenwood
                                and I. Nasatir re hearing prep (.1).

 04/03/2023   BEL     PINJ      Review correspondence from courtroom deputy.           0.20      1095.00        $219.00

 04/03/2023   BEL     PINJ      Telephone conference with G. Greenwood, N.             0.40      1095.00        $438.00
                                Robinson and L. Canty regarding trial preparation.

 04/03/2023   BEL     PINJ      Zoom call with K. Brown, G. Greenwood, I. Nasatir,     0.30      1095.00        $328.50
                                K. Dine and L. Canty regarding preparation for
                                evidentiary hearing.

 04/03/2023   GSG     PINJ      Review joinders, update exhibit list, and email M.     0.30      1095.00        $328.50
                                Renck re same.

 04/03/2023   GSG     PINJ      Emails to/from I. Nasatir re insurance article.        0.20      1095.00        $219.00

 04/03/2023   GSG     PINJ      Conference call with B. Levine, L. Canty, and N.       0.50      1095.00        $547.50
                                Robinson re trial preparation.

 04/03/2023   GSG     PINJ      Review and annotate court letter re procedural and     0.40      1095.00        $438.00
                                equipment questions.

 04/03/2023   GSG     PINJ      Emails to/from K. Brown and B. Levine re call          0.30      1095.00        $328.50
                                scheduling and trial procedures.

 04/03/2023   GSG     PINJ      Call with K. Brown and I. Nasatir re insurance         0.10      1095.00        $109.50
                                portion of trial.
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 04/03/2023   GSG     PINJ      Email L. Canty and B. Levine re copies of pleadings      0.30      1095.00        $328.50
                                and exhibits and court submissions.

 04/03/2023   GSG     PINJ      Zoom call (partial) with K. Brown, I. Nasatir, B.        0.40      1095.00        $438.00
                                Levine, K. Dine, and J. Bair re trial prep, exhibits,
                                WiFi, etc.

 04/03/2023   LSC     PINJ      Participate on call with trial team with respect to      3.20        545.00      $1,744.00
                                upcoming trial (.6); follow up correspondence
                                regarding logistics (.5); preparation of additional
                                materials in connection with upcoming trial (2.1).

 04/03/2023   KBD     PINJ      Call with PSZJ team regarding issues relating to         0.30      1395.00        $418.50
                                preliminary injunction hearing.

 04/03/2023   KBD     PINJ      Analyze issues relating to preliminary injunction        0.40      1395.00        $558.00
                                hearing.

 04/04/2023   IAWN PINJ         Telephone call with K. Brown regarding trial.            0.10      1395.00        $139.50

 04/04/2023   IAWN PINJ         Telephone call with team regarding PSIP stipulation.     0.50      1395.00        $697.50

 04/04/2023   KHB     PINJ      Review parish reply brief (.2); emails with J. Stang     0.50      1525.00        $762.50
                                and G. Greenwood re response (.3).

 04/04/2023   LSC     PINJ      Continued preparation of binders of materials in         2.30        545.00      $1,253.50
                                connection with upcoming trial.

 04/04/2023   LSC     PINJ      Correspondence with Court staff regarding set-up         0.40        545.00       $218.00
                                and testing session for evidentiary hearing.

 04/04/2023   KLL     PINJ      Review and update files on E. Stephens deposition        0.20        545.00       $109.00
                                errata sheet.

 04/05/2023   IAWN PINJ         Telephone call with K. Brown, Burns Bair LLP and         0.30      1395.00        $418.50
                                G. Greenwood regarding final exhibit lists.

 04/05/2023   IAWN PINJ         Telephone call with K. Brown and G. Greenwood            0.20      1395.00        $279.00
                                regarding final exhibit list.

 04/05/2023   IAWN PINJ         Telephone call with G. Greenwood regarding trial         0.10      1395.00        $139.50
                                exhibits.

 04/05/2023   IAWN PINJ         Cull documents for K. Porter exhibits and working        2.80      1395.00       $3,906.00
                                pleadings.

 04/05/2023   KHB     PINJ      Review C. Moore deposition transcript and prepare        5.20      1525.00       $7,930.00
                                for cross examinations (2.7); work on exhibit list
                                (.8); work on email to court re pretrial procedures
                                and emails with L. Canty re same (.7); emails to J.
                                Bair and I. Nasatir re K. Porter cross examination
                                and exhibit list (.4); confer with I. Nasatir and G.
                                Greenwood re same (.2); confer with G. Greenwood
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                                                                                       Hours           Rate     Amount
                                re April 6 court submissions (.4).
 04/05/2023   BEL     PINJ      Review emails and open issues regarding trial           0.50      1095.00       $547.50
                                preparation.

 04/05/2023   GSG     PINJ      Email to/from E. Stephens re exhibit designations.      0.10      1095.00       $109.50

 04/05/2023   GSG     PINJ      Review scheduling order and JPTO re exhibit timing      0.20      1095.00       $219.00
                                and emails re same.

 04/05/2023   GSG     PINJ      Telephone calls with K. Brown and I. Nasatir re         0.10      1095.00       $109.50
                                insurance exhibits.

 04/05/2023   GSG     PINJ      Emails to/from I. Nasatir and J. Washington re          0.30      1095.00       $328.50
                                proposed exhibits, timing, and stipulations.

 04/05/2023   GSG     PINJ      Emails to/from I. Nasatir and J. Washington re          0.20      1095.00       $219.00
                                insurance binders.

 04/05/2023   GSG     PINJ      Review service and confer with M. Renck re filing       0.20      1095.00       $219.00
                                and status of exhibit list.

 04/05/2023   GSG     PINJ      Conference call with I. Nasatir and J. Bair re          0.30      1095.00       $328.50
                                insurance exhibits and cross-examinations.

 04/05/2023   GSG     PINJ      Conference call with I. Nasatir and K. Brown re         0.20      1095.00       $219.00
                                revised exhibit list.

 04/05/2023   GSG     PINJ      Emails to/from K. Brown re stipulated order re          0.60      1095.00       $657.00
                                parishes and additional exhibits.

 04/05/2023   GSG     PINJ      Email L. Canty re deposition binders.                   0.10      1095.00       $109.50

 04/05/2023   GSG     PINJ      Revise/finalize Exhibit List and email M. Renck re      0.20      1095.00       $219.00
                                same.

 04/05/2023   GSG     PINJ      Email E. Stephens re exchange of pre-marked             0.10      1095.00       $109.50
                                exhibits.

 04/05/2023   GSG     PINJ      Telephone call with K. Brown re trial preparation       0.10      1095.00       $109.50
                                and court submissions.

 04/05/2023   GSG     PINJ      Augment exhibit list re depo exhibits/pleadings,        0.90      1095.00       $985.50
                                collect exhibits, and circulate blackline of exhibit
                                list.

 04/05/2023   GSG     PINJ      Email L. Canty re trial issues and review draft         0.10      1095.00       $109.50
                                response to the Court.

 04/05/2023   GSG     PINJ      Emails to/from K. La Brada re MTD joinders and          0.10      1095.00       $109.50
                                exhibits relevant to preliminary injunction.

 04/05/2023   LSC     PINJ      Draft detailed correspondence to Courtroom Deputy       1.40        545.00      $763.00
                                in response to email sent regarding
Pachulski Stang Ziehl & Jones LLP                                                              Page:     62
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                                                                                       Hours           Rate     Amount
                                logistics/preparation and revise same (.8); internal
                                correspondence regarding open issues (.6).
 04/05/2023   KBD     PINJ      Review and prepare correspondence regarding             0.40      1395.00        $558.00
                                preparation for preliminary injunction.

 04/06/2023   JIS     PINJ      Call with K. Brown regarding exhibit list.              0.20      1695.00        $339.00

 04/06/2023   KHB     PINJ      Work on exhibit list (.2); confer with J. Stang re      3.70      1525.00       $5,642.50
                                exhibit list (.2); emails with G. Brown and G.
                                Greenwood re evidentiary issues with direct
                                testimony (.2); email from E. Stephens re reply and
                                direct testimony (.1); review direct testimony and
                                reply brief and consider objections to testimony and
                                issues raised in reply (2.7); emails to J. Elkin re
                                addressing legal issues raised by reply (.1); confer
                                with J. Elkin re same (.1); confer G. Greenwood re
                                exhibit list (.1).

 04/06/2023   GSG     PINJ      Emails to/from E. Stephens re exchange of proposed      0.10      1095.00        $109.50
                                documents.

 04/06/2023   GSG     PINJ      Emails to/from PSZJ team re filings and review.         0.30      1095.00        $328.50

 04/06/2023   GSG     PINJ      Confer with H. Phan re trial binders.                   0.10      1095.00        $109.50

 04/06/2023   GSG     PINJ      Confer with K. Brown and G. Brown re evidentiary        0.10      1095.00        $109.50
                                objections and review.

 04/06/2023   GSG     PINJ      Confer with M. Renck and K. Brown re exhibit list.      0.10      1095.00        $109.50

 04/06/2023   GSG     PINJ      Review Diocese exhibits re state court discovery        0.90      1095.00        $985.50
                                interrogatories and document responses.

 04/06/2023   GSG     PINJ      Emails to/from L. Canty re trial binders and            0.30      1095.00        $328.50
                                contents.

 04/06/2023   GSG     PINJ      Review reply brief and prepare notes re same.           2.10      1095.00       $2,299.50

 04/06/2023   GSG     PINJ      Review E. Stephens direct testimony and details of      1.60      1095.00       $1,752.00
                                summary exhibits and prepare notes re same.

 04/06/2023   GSG     PINJ      Review MTD joinders and spreadsheet from K.             0.30      1095.00        $328.50
                                LaBrada and emails re same.

 04/06/2023   GSG     PINJ      Annotate E. Stephens direct testimony re objections.    0.90      1095.00        $985.50

 04/06/2023   JE      PINJ      Call with K. Brown regarding issues raised in DRVC      0.10      1450.00        $145.00
                                response to objection to stay/injunction motion.

 04/07/2023   GNB     PINJ      Telephone conference with K. Brown and G.               0.40        975.00       $390.00
                                Greenwood regarding evidentiary objections to
                                Debtor’s direct testimony, cross-examination, and
                                oral argument.
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                                                                                         Hours           Rate       Amount

 04/07/2023   GNB     PINJ      Review direct testimony (by declaration) of C.            0.20        975.00        $195.00
                                Moore and E. Stephens.

 04/07/2023   GNB     PINJ      Draft evidentiary objections to direct testimony (by      0.50        975.00        $487.50
                                declaration) of C. Moore.

 04/07/2023   IAWN PINJ         Emails with K. Brown regarding submission of              0.20      1395.00         $279.00
                                objections.

 04/07/2023   IAWN PINJ         Exchange emails with G. Greenwood and K. Brown            0.10      1395.00         $139.50
                                regarding exhibits.

 04/07/2023   IAWN PINJ         Exchange emails with K. Brown regarding                   0.30      1395.00         $418.50
                                objections to K. Porter declaration.

 04/07/2023   JIS     PINJ      Call K. Brown regarding issues related to                 0.40      1695.00         $678.00
                                preliminary injunction opposition.

 04/07/2023   KHB     PINJ      Analyze DRVC direct testimony and exhibits and            6.90      1525.00       $10,522.50
                                consider objections and cross examination (2.6);
                                confer with G. Brown and G. Greenwood re same
                                (.5); analyze DRVC reply brief and consider issues
                                that require oral argument (.4); confer with J. Stang
                                re same (.3); work on pretrial order (1 .1); confer
                                with G. Greenwood re pre-trial order (.2); emails
                                with I. Nasatir re objections to submission or prior
                                Porter declarations (.3); emails to I. Nasatir re same
                                (.2); consider response to DRVC objection to
                                joinders and analyze authorities re same (.7); emails
                                and confer with A. Kornfield re same (.3); emails
                                with G. Greenwood and L. Canty re comparison of
                                proofs of claim and complaints (.2); emails from G.
                                Greenwood re transmission of exhibits (.1).

 04/07/2023   GSG     PINJ      Emails to/from K .Brown re reply and response.            0.30      1095.00         $328.50

 04/07/2023   GSG     PINJ      Brief legal research re reply issues.                     1.20      1095.00        $1,314.00

 04/07/2023   GSG     PINJ      Call with G. Brown and K. Brown re response to            0.50      1095.00         $547.50
                                reply and cross-examinations.

 04/07/2023   GSG     PINJ      Email K. Brown and G. Brown re Moore cross (.1)           0.50      1095.00         $547.50
                                and follow-up re reply legal/factual issues (.4).

 04/07/2023   GSG     PINJ      Telephone call with K. Brown re exhibits.                 0.10      1095.00         $109.50

 04/07/2023   GSG     PINJ      Receive and review Debtor’s exhibits and confer           0.40      1095.00         $438.00
                                with M. Renck re same.

 04/07/2023   GSG     PINJ      Emails to/from K. Brown and L. Canty re                   0.20      1095.00         $219.00
                                complaints and proofs of claim.
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                                                                                         Hours           Rate       Amount

 04/07/2023   GSG     PINJ      Prepare further exhibit and email E. Stephens re          0.30      1095.00         $328.50
                                same.

 04/07/2023   GSG     PINJ      Emails to/from I. Nasatir and K. Brown re Debtor’s        0.10      1095.00         $109.50
                                exhibits.

 04/07/2023   GSG     PINJ      Review Debtor’s JPTO and prepare additions re             1.70      1095.00        $1,861.50
                                same.

 04/07/2023   GSG     PINJ      Review C. Moore direct and K. Brown comments.             1.60      1095.00        $1,752.00

 04/07/2023   GSG     PINJ      Review K. Brown comments to E. Stephens direct            0.30      1095.00         $328.50
                                testimony.

 04/07/2023   GSG     PINJ      Emails to/from K. Brown re JPTO draft.                    0.20      1095.00         $219.00

 04/07/2023   GSG     PINJ      Prepare evidentiary objections re E. Stephens.            2.40      1095.00        $2,628.00

 04/07/2023   KBD     PINJ      Review of discovery correspondence regarding              0.20      1395.00         $279.00
                                preliminary injunction.

 04/07/2023   KBD     PINJ      Analyze issues regarding preliminary injunction.          0.50      1395.00         $697.50

 04/08/2023   GNB     PINJ      Draft cross-examination of C. Moore.                      0.10        975.00         $97.50

 04/08/2023   GNB     PINJ      Draft evidentiary objections to direct testimony of C.    2.00        975.00       $1,950.00
                                Moore.

 04/08/2023   KHB     PINJ      Confer with J . Stang re hearing (.1); emails with J.     7.70      1525.00       $11,742.50
                                Stang re joinder tally; work on pre-trial order (.4);
                                review reply brief and authorities and prepare for
                                argument in response at hearing (4.3); work on email
                                to SCC re proposal to seek court approval prior to
                                executing judgment (1.3); work on objections to
                                direct testimony (1.6).

 04/08/2023   GSG     PINJ      Review JPTO comments and email re same.                   0.10      1095.00         $109.50

 04/08/2023   GSG     PINJ      Review E. Stephens depo and annotate re                   6.90      1095.00        $7,555.50
                                cross-examination.

 04/08/2023   JE      PINJ      Review correspondence from K. Brown and G.                0.50      1450.00         $725.00
                                Greenwood and certain discovery excerpts relating
                                to state court litigation.

 04/08/2023   KBD     PINJ      Analyze pleadings relating to preliminary injunction.     1.20      1395.00        $1,674.00

 04/09/2023   JIS     PINJ      Review objection to C. Moore declaration.                 0.10      1695.00         $169.50

 04/09/2023   BEL     PINJ      Review emails regarding pretrial preparations.            0.30      1095.00         $328.50

 04/09/2023   GSG     PINJ      Email to/from K. Brown and prepare email re JPTO.         0.20      1095.00         $219.00
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 04/09/2023   GSG     PINJ      Review K. Brown comments to reply and legal                0.30      1095.00        $328.50
                                issues.

 04/09/2023   GSG     PINJ      Emails to L. Canty re exhibit binders and trial.           0.20      1095.00        $219.00

 04/09/2023   GSG     PINJ      Prepare cross-examination questions and cites re E.        4.60      1095.00       $5,037.00
                                Stephens.

 04/09/2023   KBD     PINJ      Analyze legal issue relating to preliminary                0.30      1395.00        $418.50
                                injunction.

 04/10/2023   GNB     PINJ      Edit evidentiary objections to direct testimony of C.      0.10        975.00        $97.50
                                Moore and E. Stephens.

 04/10/2023   IAWN PINJ         Telephone call with K. Brown and G. Greenwood              0.30      1395.00        $418.50
                                regarding diocese's exhibits.

 04/10/2023   IAWN PINJ         Review blackline of Joint Pretrial Order.                  0.20      1395.00        $279.00

 04/10/2023   IAWN PINJ         Review Burns Bair LLP notes re K. Porter.                  0.40      1395.00        $558.00

 04/10/2023   IAWN PINJ         Review K. Brown notes regarding K. Porter.                 0.30      1395.00        $418.50

 04/10/2023   IAWN PINJ         Exchange emails with K. Brown regarding K. Porter          0.20      1395.00        $279.00
                                testimony.

 04/10/2023   IAWN PINJ         Telephone call with K. Brown re K. Porter                  0.10      1395.00        $139.50
                                testimony.

 04/10/2023   JIS     PINJ      Review email to state court counsel regarding scope        0.60      1695.00       $1,017.00
                                of injunction order.

 04/10/2023   KHB     PINJ      Confer with G. Greenwood re JPTO and stipulation           6.20      1525.00       $9,455.00
                                on admission of exhibits (.2); emails with G.
                                Greenwood and E. Stephens re same (.4); emails
                                with I. Nasatir re objection to Porter direct testimony
                                (.2); confer with I. Nasatir re same (.1); review E.
                                Stephens and Moore deposition transcript and
                                prepared for cross exams (3.3); work on letter to
                                SCC re form of order re denial of motion to stay
                                (.4); confer with J. Stang re same (.2); prepare for
                                oral argument on issues raised in reply brief and
                                review authorities relied upon by DRVC re same
                                (1.4).

 04/10/2023   BEL     PINJ      Work on finalizing binders for court.                      0.20      1095.00        $219.00

 04/10/2023   BEL     PINJ      Finalize binders to be sent to court for hearing.          1.60      1095.00       $1,752.00

 04/10/2023   GSG     PINJ      Emails to/from L. Canty and B. Levine re trial             0.20      1095.00        $219.00
                                binders.

 04/10/2023   GSG     PINJ      Emails to/from E. Stephens re JPTO and exhibits.           0.40      1095.00        $438.00
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 04/10/2023   GSG     PINJ      Emails to/from K. Brown re rebuttal exhibits.               0.10      1095.00        $109.50

 04/10/2023   GSG     PINJ      Telephone call with B. Levine re court submissions,         0.10      1095.00        $109.50
                                timing, and confirmation of copies.

 04/10/2023   GSG     PINJ      Calls with K. Brown and I. Nasatir re Diocese               0.30      1095.00        $328.50
                                exhibits.

 04/10/2023   GSG     PINJ      Review comments re evidentiary objections re                0.30      1095.00        $328.50
                                Stephens/Moore direct.

 04/10/2023   GSG     PINJ      Emails to/from J. Elkins re legal issues from reply.        0.20      1095.00        $219.00

 04/10/2023   GSG     PINJ      Revise and blackline JPTO and circulate to K.               0.50      1095.00        $547.50
                                Brown, I. Nasatir, and J. Bair.

 04/10/2023   GSG     PINJ      Revise/edit evidentiary objections re Stephens              0.20      1095.00        $219.00
                                direct.

 04/10/2023   GSG     PINJ      Emails from/to J. Bair re insurance exhibits.               0.10      1095.00        $109.50

 04/10/2023   GSG     PINJ      Emails to/from L. Canty re complaints and proofs of         0.20      1095.00        $219.00
                                claim.

 04/10/2023   GSG     PINJ      Draft cross-examination of Stephens re case                 6.80      1095.00       $7,446.00
                                progress, plan, and burdens of state court litigation.

 04/10/2023   LSC     PINJ      Preparation of additional trial binders, including trial    3.70        545.00      $2,016.50
                                exhibit binder and pleadings binders.

 04/10/2023   LSC     PINJ      Research regarding certain state court actions and          0.60        545.00       $327.00
                                retrieve and transmit documents in connection with
                                same for K. Brown and G. Greenwood.

 04/10/2023   JE      PINJ      Review and annotate for response Reply brief of             1.30      1450.00       $1,885.00
                                DRVC in injunction/stay motion.

 04/10/2023   JE      PINJ      Outline issues to be reviewed.                              0.70      1450.00       $1,015.00

 04/10/2023   JE      PINJ      Review various court decisions cited in Reply brief.        1.40      1450.00       $2,030.00

 04/10/2023   JE      PINJ      Correspondence with K. Brown and G. Greenwood               0.20      1450.00        $290.00
                                regarding various issues.

 04/10/2023   KBD     PINJ      Review draft evidentiary objection re preliminary           0.20      1395.00        $279.00
                                injunction.

 04/10/2023   KBD     PINJ      Analyze issues relating to preliminary injunction.          0.40      1395.00        $558.00

 04/11/2023   GNB     PINJ      Revise evidentiary objection to C. Moore direct             0.40        975.00       $390.00
                                testimony.

 04/11/2023   GNB     PINJ      Email PSZJ and J. Bair regarding evidentiary                0.10        975.00        $97.50
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                                                                                        Hours           Rate       Amount
                                objections to direct testimony.
 04/11/2023   GNB     PINJ      Email K. Brown regarding evidence for evidentiary        0.10        975.00         $97.50
                                hearing.

 04/11/2023   GNB     PINJ      Revise evidentiary objections to direct testimony of     0.20        975.00        $195.00
                                K. Porter.

 04/11/2023   IAWN PINJ         Review Joint Pretrial Order.                             0.10      1395.00         $139.50

 04/11/2023   IAWN PINJ         Work on stipulation with reservation language.           0.30      1395.00         $418.50

 04/11/2023   IAWN PINJ         Final review of objection to evidence.                   1.00      1395.00        $1,395.00

 04/11/2023   IAWN PINJ         Exchange emails with K. Brown regarding                  0.10      1395.00         $139.50
                                objection.

 04/11/2023   IAWN PINJ         Review G. Greenwood edits to evidentiary                 0.10      1395.00         $139.50
                                objections.

 04/11/2023   IAWN PINJ         Draft and extensive revisions of K. Porter               4.50      1395.00        $6,277.50
                                cross-examination.

 04/11/2023   IAWN PINJ         Revise objections to K. Porter declaration with          0.20      1395.00         $279.00
                                Burns Bair LLP and K. Brown.

 04/11/2023   IAWN PINJ         Draft K. Porter evidentiary objections and send to G.    0.80      1395.00        $1,116.00
                                Greenwood.

 04/11/2023   JIS     PINJ      Call K. Brown regarding evidentiary issues on            0.40      1695.00         $678.00
                                preliminary injunction.

 04/11/2023   JIS     PINJ      Call A. Kornfeld regarding evidentiary issues.           0.30      1695.00         $508.50

 04/11/2023   JIS     PINJ      Draft email to K. Brown and A. Kornfeld regarding        0.20      1695.00         $339.00
                                evidence on injunction opposition.

 04/11/2023   JIS     PINJ      Draft response to inquiry regarding scope of             0.20      1695.00         $339.00
                                injunctive relief.

 04/11/2023   KHB     PINJ      Emails to G. Greenwood re JPTO (.2); emails from         6.60      1525.00       $10,065.00
                                E. Stephens re JPTO (.1); consider Jones Day
                                revisions to JPTO (.2); confer with J. Stang re
                                acceptable conditions upon denying stay motion
                                (.2); review authorities and emails with J. Stang re
                                same (.5); emails with SCC re same (.4); emails with
                                L. Canty, G. Brown and J. Stang re joinder tally and
                                issues (.3); work on objections to direct testimony
                                (3.5); confer with G. Greenwood re same (.2);
                                emails to G. Greenwood re same (.2); emails with G.
                                Brown re same (.1); emails with J. Bair and I.
                                Nasatir re same (.2); confer with J. Stang re
                                admissibility of MTD joinders (.2); emails with J.
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                                                                                         Hours           Rate       Amount
                                Stang re admissibility of MTD joinders (.2); emails
                                from J. Elkin re legal research on issues raised in
                                reply brief (.1)

 04/11/2023   BEL     PINJ      Emails regarding trial preparation.                       0.30      1095.00         $328.50

 04/11/2023   GSG     PINJ      Emails to/from L. Canty re trial prep and copies.         0.30      1095.00         $328.50

 04/11/2023   GSG     PINJ      Review emails re SCC and inquiry re injunction            0.10      1095.00         $109.50
                                motion.

 04/11/2023   GSG     PINJ      Review redline to JPTO and circulate comments re          0.30      1095.00         $328.50
                                same.

 04/11/2023   GSG     PINJ      Emails to/from J. Elkins re state court pleadings.        0.20      1095.00         $219.00

 04/11/2023   GSG     PINJ      Email I. Nasatir re Porter objections and review draft    0.30      1095.00         $328.50
                                re same.

 04/11/2023   GSG     PINJ      Review/revise final edits to Porter objections and        0.30      1095.00         $328.50
                                circulate redline.

 04/11/2023   GSG     PINJ      Review Exhibit B summary of affirmative defenses,         1.10      1095.00        $1,204.50
                                select state court answers, and stipulated order on
                                parish objection re contribution/indemnity claims.

 04/11/2023   GSG     PINJ      Call with K. Brown re Stephens testimony.                 0.10      1095.00         $109.50

 04/11/2023   GSG     PINJ      Emails re evidentiary objections and supplement E.        0.50      1095.00         $547.50
                                Stephens objections re statement about expert
                                testimony.

 04/11/2023   GSG     PINJ      Revise objections to E. Stephens testimony re             0.30      1095.00         $328.50
                                hearsay and circulate redline.

 04/11/2023   GSG     PINJ      Draft cross-examination of E. Stephens.                   5.30      1095.00        $5,803.50

 04/11/2023   LSC     PINJ      Preparation and transmittal of binders of chambers        1.70        545.00        $926.50
                                copies in connection with trial and correspondence
                                regarding the same.

 04/11/2023   JE      PINJ      Work on memo addressing issues raised in Reply            7.80      1450.00       $11,310.00
                                brief and read related cases.

 04/11/2023   KBD     PINJ      Analyze pleadings relating to preliminary injunction.     0.30      1395.00         $418.50

 04/12/2023   GNB     PINJ      Email with G. Greenwood regarding scheduling.             0.10        975.00         $97.50

 04/12/2023   IAWN PINJ         Telephone call with K. Brown regarding exhibits.          0.10      1395.00         $139.50

 04/12/2023   IAWN PINJ         Exchange emails with G. Greenwood and K. Brown            0.20      1395.00         $279.00
                                regarding exhibits.

 04/12/2023   IAWN PINJ         Review witness list.                                      0.10      1395.00         $139.50
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                                                                                          Hours           Rate       Amount

 04/12/2023   IAWN PINJ         Finalize and file objection.                               1.20      1395.00        $1,674.00

 04/12/2023   IAWN PINJ         Exchange emails with Burns Bair LLP regarding              0.20      1395.00         $279.00
                                combined single limits.

 04/12/2023   IAWN PINJ         Review case law cited by debtor.                           0.70      1395.00         $976.50

 04/12/2023   KHB     PINJ      Review deposition transcripts, reply brief and             5.20      1525.00        $7,930.00
                                prepare for cross exams and hearing (4.6); emails to
                                E. Stephens re exhibits (.2); confer with I. Nasatir re
                                exhibits (.1); confer with G. Greenwood re exhibits
                                (.1); emails with G. Greenwood and I. Nasatir re
                                exhibits (.2).

 04/12/2023   LAF     PINJ      Obtain docket & documents from court action.               0.30        595.00        $178.50

 04/12/2023   GSG     PINJ      Call with K. Brown re trial and cross-examinations.        0.10      1095.00         $109.50

 04/12/2023   GSG     PINJ      Email to/from G. Brown re Moore                            0.10      1095.00         $109.50
                                cross-examination and scheduling.

 04/12/2023   GSG     PINJ      Call with K. Brown (.1) and emails re proposed trial       0.30      1095.00         $328.50
                                exhibits and withdrwal except for impeachment (.2).

 04/12/2023   GSG     PINJ      Email K. Brown re complaints and proofs of claim.          0.10      1095.00         $109.50

 04/12/2023   GSG     PINJ      Review state court complaints and related claims re        1.10      1095.00        $1,204.50
                                consistency and piecemeal litigation.

 04/12/2023   GSG     PINJ      Revise/edit Stephens cross-examination re                  3.40      1095.00        $3,723.00
                                contribution and indemnity issues and shared
                                identity of interests.

 04/12/2023   GSG     PINJ      Emails to L. Canty re trial preparation and additional     0.10      1095.00         $109.50
                                court submissions.

 04/12/2023   GSG     PINJ      Revise Porter objection and confer with M. Renck re        0.40      1095.00         $438.00
                                final format and certificate of service.

 04/12/2023   GSG     PINJ      Review email from J. Elkin re preliminary legal            0.20      1095.00         $219.00
                                research and review case re proof of claim
                                resolution.

 04/12/2023   JE      PINJ      Work on memo addressing issues raised in Reply            12.40      1450.00       $17,980.00
                                brief and read related cases.

 04/13/2023   IAWN PINJ         Revise Kenneth F. Porter cross-examination.                2.80      1395.00        $3,906.00

 04/13/2023   IAWN PINJ         Work with L. Canty regarding exhibits and order in         0.40      1395.00         $558.00
                                cross-examination.

 04/13/2023   JIS     PINJ      Call K. Brown regarding evidentiary issues.                0.50      1695.00         $847.50
Pachulski Stang Ziehl & Jones LLP                                                                 Page:     70
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 04/13/2023   JIS     PINJ      Call J. Amala regarding terms of injunction.               0.10      1695.00         $169.50

 04/13/2023   KHB     PINJ      Prepare cross examinations of Moore and Stephens           5.60      1525.00        $8,540.00
                                and prepare for hearing (4.7); PSZJ team call re
                                litigation strategy (.5) (partial); confer with G.
                                Greenwood re cross examination outlines (.4).

 04/13/2023   GSG     PINJ      Review and organize reply arguments from cross             1.60      1095.00        $1,752.00
                                examinations.

 04/13/2023   GSG     PINJ      Brief legal research in connection with reply              0.50      1095.00         $547.50
                                arguments.

 04/13/2023   GSG     PINJ      Review K. Brown comments re Stephens                       0.40      1095.00         $438.00
                                cross-examination.

 04/13/2023   GSG     PINJ      Conference call with K. Brown re Stephens                  0.50      1095.00         $547.50
                                cross-examination and related exhibits.

 04/13/2023   GSG     PINJ      Prepare Moore cross-examination.                           6.40      1095.00        $7,008.00

 04/13/2023   LSC     PINJ      Attention to open issues with respect to upcoming          2.70        545.00       $1,471.50
                                hearing, including registration of attendees (whether
                                Zoom or in-person); scheduling of conference room,
                                retrieval of items needed at Court, and confer and
                                correspond with various PSZJ team members and
                                Court regarding the same.

 04/13/2023   LSC     PINJ      Preparation of additional binders of trial materials.      1.60        545.00        $872.00

 04/13/2023   JE      PINJ      Work on memo addressing issues raised in Reply            10.60      1450.00       $15,370.00
                                brief and read related cases.

 04/14/2023   IAWN PINJ         Exchange emails with K. Brown regarding trial              0.30      1395.00         $418.50
                                insurance issues.

 04/14/2023   IAWN PINJ         Further revisions to cross-examination of Kenneth F.       2.00      1395.00        $2,790.00
                                Porter.

 04/14/2023   IAWN PINJ         Telephone call with K. Brown regarding                     0.20      1395.00         $279.00
                                cross-examination of K. Porter.

 04/14/2023   JIS     PINJ      Call K. Brown re preliminary injunction order.             0.40      1695.00         $678.00

 04/14/2023   KHB     PINJ      Review authorities and briefs in preparation for           9.60      1525.00       $14,640.00
                                hearing (4.8); prepare cross examinations (2.6);
                                confer J. Stang re hearing prep and proposal to stay
                                execution of judgments as part order denying stay
                                (.3); confer K. Dine re same (.1); prepare letter to
                                court re same (.8); confer I. Nasatir re cross exam of
                                Porter (.2); emails with I. Nasatir re insurance issues
                                (.3); review letter from Jones Day re revisions to
Pachulski Stang Ziehl & Jones LLP                                                               Page:     71
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                                                                                        Hours           Rate       Amount
                                exhibits (.2); emails with G. Greenwood re response
                                to letter (.3).
 04/14/2023   GSG     PINJ      Prepare Moore cross-examination.                         2.50      1095.00        $2,737.50

 04/14/2023   GSG     PINJ      Review emails from K. Brown re SCC issues and            0.20      1095.00         $219.00
                                proposed letter to the Court re a stay on judgment
                                execution.

 04/14/2023   GSG     PINJ      Draft/revise Stephens cross-examination.                 1.70      1095.00        $1,861.50

 04/14/2023   GSG     PINJ      Prepare and summarize legal arguments responding         0.90      1095.00         $985.50
                                to Moore testimony.

 04/14/2023   GSG     PINJ      Review K. Brown comments re Moore testimony.             0.10      1095.00         $109.50

 04/14/2023   GSG     PINJ      Legal research re joint liability allegations against    2.30      1095.00        $2,518.50
                                debtors.

 04/14/2023   GSG     PINJ      Email comments re letter to Chief Judge Glenn.           0.20      1095.00         $219.00

 04/14/2023   GSG     PINJ      Review letter from C. DiPompeo re proofs of claim        0.10      1095.00         $109.50
                                and circulate to PSZJ team.

 04/14/2023   GSG     PINJ      Emails to/from K. Brown and J. Elkin re joint            0.40      1095.00         $438.00
                                liability and contribution/indemnity.

 04/14/2023   GSG     PINJ      Review complaints and proofs of claim in response        1.10      1095.00        $1,204.50
                                to C. DiPompeo letter.

 04/14/2023   GSG     PINJ      Review emails and memo from J. Elkin re legal            0.30      1095.00         $328.50
                                issues.

 04/14/2023   LSC     PINJ      Follow up and correspondence regarding logistics         4.90        545.00       $2,670.50
                                with respect to upcoming hearing and draft
                                correspondence to Court staff regarding same (.9);
                                prepare for and attend testing session at Court in
                                advance of hearing and confer and correspond with
                                D. Rivera and S. Winns regarding the same (4.0).

 04/14/2023   LSC     PINJ      Preparation of indices and additional binders of         1.30        545.00        $708.50
                                filings for Chambers and PSZJ team.

 04/14/2023   JE      PINJ      Work on memo addressing issues raised in Reply          12.30      1450.00       $17,835.00
                                brief and read related cases.

 04/14/2023   JE      PINJ      Review and distribute prior research on                  0.40      1450.00         $580.00
                                indemnification.

 04/14/2023   JE      PINJ      Correspondence with K. Brown and G. Greenwood            0.60      1450.00         $870.00
                                regarding issues for stay/injunction hearing.

 04/14/2023   KBD     PINJ      Draft letter to court regarding preliminary              0.40      1395.00         $558.00
                                injunction.
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 04/15/2023   IAWN PINJ         Exchange emails with K. Brown regarding hearing           0.50      1395.00        $697.50
                                preparation and stay.

 04/15/2023   IAWN PINJ         Review five cases cited in motion regarding shared        1.80      1395.00       $2,511.00
                                insurance.

 04/15/2023   IAWN PINJ         Exchange emails with K. Brown and Burns Bair              0.30      1395.00        $418.50
                                LLP regarding cross-examination additional points.

 04/15/2023   KHB     PINJ      Emails with I. Nasatir re hearing prep and insurance      4.50      1525.00       $6,862.50
                                issues relating to non-applicability of automatic stay
                                (.5); prepare for cross examinations of Porter, Moore
                                and Stephens (1.7); prepare for argument at hearing
                                and address issues and authorities in DRVC's reply
                                (2.3).

 04/15/2023   GSG     PINJ      Review opposition and revise cross examinations re        0.90      1095.00        $985.50
                                additional testimony and evidence.

 04/15/2023   GSG     PINJ      Telephone call with K. Brown re insurance                 0.30      1095.00        $328.50
                                schedules and email re hearing transcript.

 04/15/2023   GSG     PINJ      Response to K. Brown comments and                         0.20      1095.00        $219.00
                                revise/circulate letter re insurance schedules.

 04/15/2023   GSG     PINJ      Review additional CVA and insurance schedules re          1.10      1095.00       $1,204.50
                                C. DiPompeo letter.

 04/15/2023   GSG     PINJ      Draft response to C. DiPompeo letter re revised           0.70      1095.00        $766.50
                                insurance schedules.

 04/15/2023   JE      PINJ      Draft memo addressing issues raised in Reply brief        6.70      1450.00       $9,715.00
                                and read related cases.

 04/15/2023   JE      PINJ      Call with K. Brown regarding issues for                   0.20      1450.00        $290.00
                                stay/injunction hearing.

 04/16/2023   IAWN PINJ         Exchange emails with Burns Bair LLP regarding             0.30      1395.00        $418.50
                                BSA decision and share insurance.

 04/16/2023   KHB     PINJ      Prep for oral argument and cross examination;             5.30      1525.00       $8,082.50
                                review auth in reply brief.

 04/16/2023   GSG     PINJ      Research/review cases re preliminary injunction           4.90      1095.00       $5,365.50
                                factors and draft argument re same.

 04/16/2023   JE      PINJ      Review declarations of Moore and Porter in support        0.80      1450.00       $1,160.00
                                of stay/injunction motion.

 04/16/2023   JE      PINJ      Correspondence with PSZJ team regarding issues            0.30      1450.00        $435.00
                                relating to Moore declaration.

 04/16/2023   JE      PINJ      Review declaration of Stephens in support of              1.60      1450.00       $2,320.00
Pachulski Stang Ziehl & Jones LLP                                                                Page:     73
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                                                                                         Hours           Rate     Amount
                                stay/injunction motion and attached Exhibit A.
 04/16/2023   JE      PINJ      Spot review certain complaints cited on Stephens          0.70      1450.00       $1,015.00
                                Ex. A with actual complaints.

 04/16/2023   JE      PINJ      Correspondence with PSZJ team regarding issues            0.20      1450.00        $290.00
                                relating to Stephens declaration.

 04/17/2023   IAWN PINJ         Telephone call with K. Brown regarding                    0.30      1395.00        $418.50
                                cross-examination and hearing.

 04/17/2023   IAWN PINJ         Exchange emails with Burns Bair LLP regarding use         0.10      1395.00        $139.50
                                of Diocese's answer in Arrowood adversary.

 04/17/2023   IAWN PINJ         Telephone call with team regarding preliminary            0.90      1395.00       $1,255.50
                                injunction issues.

 04/17/2023   IAWN PINJ         Review omnibus response to direct examination             0.30      1395.00        $418.50
                                declarations.

 04/17/2023   IAWN PINJ         Exchange emails with Burns Bair LLP regarding             0.20      1395.00        $279.00
                                Midland.

 04/17/2023   IAWN PINJ         Revise K. Porter cross-examination and review             3.80      1395.00       $5,301.00
                                exhibits against cross-examination.

 04/17/2023   JIS     PINJ      Call I. Scharf regarding preliminary injunction           0.10      1695.00        $169.50
                                comparison to Diocese of Rochester.

 04/17/2023   KHB     PINJ      Prep for hearing and review auth relied on by debtor      5.50      1525.00       $8,387.50
                                (5.0); confer with I. Nasatir re hearing prep and
                                cross exam of Porter (.3); confer with G. Greenwood
                                re hearing prep (.2).

 04/17/2023   GSG     PINJ      Review opposition cases and prepare for trial.            1.30      1095.00       $1,423.50

 04/17/2023   GSG     PINJ      Review omnibus response re evidentiary objections.        0.30      1095.00        $328.50

 04/17/2023   LSC     PINJ      Preparation of additional materials for upcoming          2.70        545.00      $1,471.50
                                trial and coordinate with S. Winns, L. Delmonte, and
                                D. Rivera regarding the same.

 04/17/2023   JE      PINJ      Review certain treatise on res judicata and collateral    1.80      1450.00       $2,610.00
                                estoppel cited in reply brief and certain cases cited
                                therein.

 04/17/2023   JE      PINJ      Review various state court actions.                       1.20      1450.00       $1,740.00

 04/17/2023   JE      PINJ      Correspondence with K. Brown and G. Greenwood             0.30      1450.00        $435.00
                                regarding claims/issue preclusion.

 04/18/2023   AJK     PINJ      Exchange e-mails with J. Merson re preliminary            0.20      1675.00        $335.00
                                injunction matter.
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 04/18/2023   IAWN PINJ         Prepare Kenneth F. Porter cross-examination.                4.50      1395.00        $6,277.50

 04/18/2023   IAWN PINJ         Telephone conference with K. Brown regarding                0.10      1395.00         $139.50
                                Kenneth F. Porter cross-examination.

 04/18/2023   IAWN PINJ         Exchange emails with office regarding mechanics of          0.40      1395.00         $558.00
                                courtroom procedures.

 04/18/2023   JIS     PINJ      Call with K. Brown re issues related to Chief Judge         0.30      1695.00         $508.50
                                Glenn's inquiries.

 04/18/2023   KHB     PINJ      Prepare for hearing, cross examinations, witness            9.40      1525.00       $14,335.00
                                binders, oral argument (8.7); confer with J. Stang re
                                single satisfaction rule (.2); confer with I. Nasatir re
                                Porter cross exam (.1); respond to letter from Jones
                                Day re exhibits (.3); confer with J. Stang re same
                                (.1).

 04/18/2023   GSG     PINJ      Review trial binders and confer with L. Canty re            1.90      1095.00        $2,080.50
                                additional materials.

 04/18/2023   GSG     PINJ      Prepare rebuttal exhibits and confer with K. Brown          0.80      1095.00         $876.00
                                re same.

 04/18/2023   GSG     PINJ      Research/review cases re response to evidentiary            3.30      1095.00        $3,613.50
                                objections and admissions of hearsay.

 04/18/2023   GSG     PINJ      Outline evidentiary objection arguments.                    1.20      1095.00        $1,314.00

 04/18/2023   GSG     PINJ      Review emails re single judgment rule.                      0.20      1095.00         $219.00

 04/18/2023   GSG     PINJ      Emails to/from K. Brown re exhibits and                     0.30      1095.00         $328.50
                                cross-examinations of Moore/Stephens.

 04/18/2023   GSG     PINJ      Review C. DiPompeo letter re proofs of claim and            1.80      1095.00        $1,971.00
                                review underlying complaints and claims.

 04/18/2023   GSG     PINJ      Prepare response to C. DiPompeo and confer with             0.50      1095.00         $547.50
                                M. Renck re final service.

 04/18/2023   LSC     PINJ      Load electronic versions of binders, exhibits to be         6.10        545.00       $3,324.50
                                displayed in advance of hearing (2.9); continued
                                preparation of additional materials, including
                                binders and related materials for upcoming trial and
                                coordinate with S. Winns, L. Delmonte, and D.
                                Rivera regarding open issues with respect to the
                                same (2.8); further correspondence with Court staff
                                regarding logistics and items being brought to
                                Courthouse (.4).

 04/18/2023   JE      PINJ      Call with K. Brown regarding stay issues.                   0.20      1450.00         $290.00

 04/18/2023   JE      PINJ      Call with K. Brown regarding jurisdictional issues.         0.20      1450.00         $290.00
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 04/18/2023   JE      PINJ      Correspondence with B. Michael regarding certain          0.40      1450.00         $580.00
                                state court allegations and send sample excerpts
                                from state court actions.

 04/18/2023   JE      PINJ      Call with K. Brown regarding 157(b)(5) issue.             0.20      1450.00         $290.00

 04/18/2023   JE      PINJ      Read certain cases cited by debtor, trace prior           1.20      1450.00        $1,740.00
                                histories as to certain facts, and review lower court
                                and where applicable, state court opinions.

 04/18/2023   KBD     PINJ      Preparation for preliminary injunction hearing with       1.80      1395.00        $2,511.00
                                K. Brown (for part) and G. Greenwood (for part).

 04/18/2023   KBD     PINJ      Call with B. Michael and J. Stang regarding               0.50      1395.00         $697.50
                                preliminary injunction issues.

 04/18/2023   BMM     PINJ      Research single satisfaction rule.                        2.50        875.00       $2,187.50

 04/18/2023   BMM     PINJ      Call with K. Dine and J. Stang regarding preliminary      0.50        875.00        $437.50
                                injunction.

 04/18/2023   BMM     PINJ      Research single satisfaction rule.                        0.50        875.00        $437.50

 04/18/2023   BMM     PINJ      Research single satisfaction rule.                        1.80        875.00       $1,575.00

 04/19/2023   GNB     PINJ      Email with G. Greenwood in court regarding search         0.30        975.00        $292.50
                                for documents produced concerning lack of notice
                                (.1); Email with B. Michael and T. Flanagan
                                regarding same, including telephone conference with
                                T. Flanagan (.1); Draft template for charting relevant
                                data (.1).

 04/19/2023   GNB     PINJ      Research documents on Everlaw relating to                 2.70        975.00       $2,632.50
                                dismissals of state court actions for lack of notice
                                per Court’s request during evidentiary hearing (2.5);
                                Email PSZJ team regarding findings (.2).

 04/19/2023   GNB     PINJ      Email with B. Levine regarding G. Greenwood               0.70        975.00        $682.50
                                question from evidentiary hearing regarding
                                standard interrogatory responses (.1); Research data
                                regarding same (.5); Email G. Greenwood regarding
                                same (.1).

 04/19/2023   IAWN PINJ         Telephone call with team regarding hearing.               1.20      1395.00        $1,674.00

 04/19/2023   JIS     PINJ      Call with K. Brown re follow-up from hearing.             0.10      1695.00         $169.50

 04/19/2023   KHB     PINJ      Attend hearing (7.3); call with SCC re settlement         8.30      1525.00       $12,657.50
                                proposal (.7); call with J. Stang re same; hearing
                                prep (.3).

 04/19/2023   BEL     PINJ      Emails with Gillian N. Brown regarding standard           0.20      1095.00         $219.00
                                interrogatory response issue.
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 04/19/2023   GSG     PINJ      Confer with PSZJ team and counsel prior to hearing.     1.00      1095.00       $1,095.00

 04/19/2023   GSG     PINJ      Confer with PSZJ team during break re strategy and      1.00      1095.00       $1,095.00
                                responses to judge’s inquiries.

 04/19/2023   GSG     PINJ      Review database re documentary response to issues       1.40      1095.00       $1,533.00
                                raised during opening arguments and cross, notes
                                and email re same.

 04/19/2023   LSC     PINJ      Prepare for and assist at preliminary injunction        7.90        545.00      $4,305.50
                                hearing.

 04/19/2023   LSC     PINJ      Coordinate retrieval and preparation of additional      3.10        545.00      $1,689.50
                                documents in advance of closing arguments and
                                electronically transmit additional documents to
                                chambers.

 04/19/2023   TCF     PINJ      Document review in connection with preliminary          2.60      1075.00       $2,795.00
                                injunction hearing.

 04/19/2023   JE      PINJ      Correspondence with K. Brown regarding hearing.         0.20      1450.00        $290.00

 04/19/2023   KBD     PINJ      Prepare for hearing regarding preliminary injunction    1.10      1395.00       $1,534.50
                                with PSZJ team (for part).

 04/19/2023   KBD     PINJ      Follow-up from court hearing with PSZJ team.            1.20      1395.00       $1,674.00

 04/19/2023   BMM     PINJ      Review produced documents for pre-petition              1.00        875.00       $875.00
                                decisions or motions related to notice.

 04/19/2023   BMM     PINJ      Review produced documents for pre-petition              0.50        875.00       $437.50
                                decisions or motions related to notice.

 04/19/2023   BMM     PINJ      Communication, including meeting, with Committee        0.70        875.00       $612.50
                                regarding preliminary injunction.

 04/19/2023   BMM     PINJ      Communications with SCC regarding evidentiary           0.30        875.00       $262.50
                                hearing.

 04/20/2023   AJK     PINJ      Attorney team call re strategy and litigation issues    0.90      1675.00       $1,507.50
                                following today's hearing.

 04/20/2023   GNB     PINJ      Team PSZJ and BB call following up on evidentiary       0.90        975.00       $877.50
                                hearing ended today.

 04/20/2023   GNB     PINJ      Review K. Dine email summarizing hearing and            0.10        975.00        $97.50
                                forward-looking issues.

 04/20/2023   IAWN PINJ         Review and comment on K. Dine summary of                0.20      1395.00        $279.00
                                preliminary injunction trial.

 04/20/2023   IAWN PINJ         Telephone call with team regarding hearing.             0.90      1395.00       $1,255.50
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                                                                                         Hours           Rate      Amount

 04/20/2023   IAWN PINJ         Telephone call with team regarding evidentiary            0.80      1395.00       $1,116.00
                                hearing strategy (partial).

 04/20/2023   JIS     PINJ      Call J. Amala regarding preliminary injunction            0.50      1695.00        $847.50
                                hearing.

 04/20/2023   JIS     PINJ      Review/revise email to committee re status.               0.20      1695.00        $339.00

 04/20/2023   KHB     PINJ      Prepare for closing argument (2.8); attend hearing        5.20      1525.00       $7,930.00
                                and closing argument (2.4).

 04/20/2023   GSG     PINJ      Confer with PSZJ team and L. Canty re submission          2.00      1095.00       $2,190.00
                                of final exhibits and copies, and assist re collection
                                of demonstratives.

 04/20/2023   GSG     PINJ      Partial call with J. Stang, B. Michael, K. Dine, G.       0.70      1095.00        $766.50
                                Brown, A. Kornfeld, I. Nasatir, and T. Flanagan re
                                team strategy session following trial.

 04/20/2023   JWL     PINJ      Research regarding scope of jurisdiction and scope        0.70      1150.00        $805.00
                                of stay (.7).

 04/20/2023   TCF     PINJ      PSZJ team call regarding strategy following               0.90      1075.00        $967.50
                                preliminary injunction hearing.

 04/20/2023   JE      PINJ      Attend oral argument on stay/injunction motion.           2.50          0.00         $0.00

 04/20/2023   KBD     PINJ      Follow-up with PSZJ team regarding hearing.               0.90      1395.00       $1,255.50

 04/20/2023   KBD     PINJ      Follow-up (for part) with PSZJ team and Burns Bair        0.60      1395.00        $837.00
                                LLP regarding preliminary injunction.

 04/20/2023   BMM     PINJ      Team meeting following up on preliminary                  0.90        875.00       $787.50
                                injunction hearing.

 04/21/2023   JE      PINJ      Correspondence with K. Brown regarding hearing.           0.20      1450.00        $290.00

 04/21/2023   JE      PINJ      Review case law on stay.                                  0.40      1450.00        $580.00

 04/23/2023   GSG     PINJ      Review C. DiPompeo correspondence, revise                 0.40      1095.00        $438.00
                                spreadsheet, and email B. Michael re scope of cases
                                absent injunction.

 04/26/2023   AJK     PINJ      Review post- hearing submissions.                         0.30      1675.00        $502.50

 04/26/2023   IAWN PINJ         Review insurance premium stipulation.                     0.20      1395.00        $279.00

 04/26/2023   IAWN PINJ         Exchange emails with K. Brown, B. Michael and G.          0.40      1395.00        $558.00
                                Greenwood regarding stipulation.

 04/26/2023   IAWN PINJ         Exchange emails with G. Greenwood regarding               0.20      1395.00        $279.00
                                insurance exhibits.
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 04/26/2023   IAWN PINJ         Review K. Porter exhibit regarding evidence of              2.20      1395.00         $3,069.00
                                premium payment source.

 04/26/2023   JIS     PINJ      Call G. Greenwood regarding stipulation on                  0.10      1695.00          $169.50
                                insurance payments.

 04/26/2023   KHB     PINJ      Revise draft stipulation re payment of insurance            2.50      1525.00         $3,812.50
                                premiums and evidentiary issues and emails with
                                G.Greenwood, B. Michael and I. Nasatir re same
                                (1.4); team call re same (1.0); confer with J. Stang re
                                same (.1).

 04/26/2023   GSG     PINJ      Review proposed stipulation re insurance premiums           0.50      1095.00          $547.50
                                and emails from K. Brown and B. Michael re same.

 04/26/2023   GSG     PINJ      Revise and blackline stipulation and circulate with         0.70      1095.00          $766.50
                                comments.

 04/26/2023   GSG     PINJ      Emails to/from I. Nasatir re insurance exhibits.            0.20      1095.00          $219.00

 04/26/2023   GSG     PINJ      Conference call with J. Stang, K. Brown, K. Dine,           1.00      1095.00         $1,095.00
                                B. Michael, A. Kornfeld, and T. Flanagan re
                                mediation issues raised by post-trial stipulation.

 04/26/2023   GSG     PINJ      Revise and blackline post-trial stipulation and             0.40      1095.00          $438.00
                                circulate for final comments.

 04/26/2023   GSG     PINJ      Email C. DiPompeo re comments to post-trial                 0.20      1095.00          $219.00
                                stipulation (.1); and call from J. Stang re same (.1).

 04/26/2023   KBD     PINJ      Analyze proposed stipulation regarding certain              0.30      1395.00          $418.50
                                information relating to Preliminary Injunction.

 04/28/2023   IAWN PINJ         Email comments to J. Stang, B. Michael and K. Dine          0.10      1395.00          $139.50
                                regarding Debtor insurance counsel.

 04/28/2023   GSG     PINJ      Review case law re limited stay.                            0.30      1095.00          $328.50

 04/28/2023   JE      PINJ      Review stay/injunction opinion (.9) and                     1.10      1450.00         $1,595.00
                                correspondence with G. Greenwood and K. Brown
                                regarding same (.2).

                                                                                          419.60                    $507,229.00

  Travel
 04/17/2023   KHB     TR        Travel to NYC for PI hearing. (Billed at 1/2 rate)          2.00        762.50        $1,525.00

 04/17/2023   GSG     TR        Travel SFO/EWR. (Billed at 1/2 rate)                        5.90        547.50        $3,230.25

 04/18/2023   IAWN TR           Travel to New York for hearing (Billed at 1/2 rate)       12.00         697.50        $8,370.00

 04/19/2023   IAWN TR           Travel to court for hearing. (Billed at 1/2 rate)           1.00        697.50         $697.50
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                                                                                       Hours            Rate       Amount

 04/19/2023   KHB     TR        Travel to and from court. (Billed at 1/2 rate)          1.00         762.50        $762.50

 04/19/2023   LSC     TR        Travel to and from Courthouse.(Billed at 1/2 rate)      0.90         272.50        $245.25

 04/20/2023   IAWN TR           Travel to and from court for hearing. (Billed at 1/2    1.00         697.50        $697.50
                                rate)

 04/20/2023   KHB     TR        Travel to and from court. (Billed at 1/2 rate)          1.00         762.50        $762.50

 04/20/2023   LSC     TR        Travel to Courthouse. (Billed at 1/2 rate)              0.50         272.50        $136.25

 04/20/2023   LSC     TR        Return travel from Courthouse. (Billed at 1/2 rate)     1.00         272.50        $272.50

 04/23/2023   IAWN TR           Travel from New York to Los Angeles. (Billed at 1/2     8.50         697.50       $5,928.75
                                rate)

 04/23/2023   KHB     TR        Travel NY/SF for hearing on preliminary injunction.     7.50         762.50       $5,718.75
                                (Billed at 1/2 rate)

 04/23/2023   GSG     TR        Travel from EWR/SD/SFO. (Billed at 1/2 rate)            8.60         547.50       $4,708.50

                                                                                        50.90                    $33,055.25

  TOTAL SERVICES FOR THIS MATTER:                                                                          $1,554,775.75
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 Expenses
 09/07/2022   TR         Transcript [E116] Veritext, Inv. 6021794, BMM                63.60
 09/29/2022   TR         Transcript [E116] Veritext, Inv. 6069060, BMM                36.00
 10/27/2022   TR         Transcript [E116] Veritext, Inv. 6143688, BMM                57.60
 11/08/2022   TR         Transcript [E116] Veritext, Inv. 6159585, BMM                27.60
 11/16/2022   TR         Transcript [E116] Veritext, Inv. 6185537, BMM               109.20
 12/02/2022   TR         Transcript [E116] Veritext, Inv. 6221501, BMM                36.00
 12/16/2022   TR         Transcript [E116] Veritext, Inv. 6255657, BMM                43.20
 01/02/2023   HT         Hotel Expense [E110] Conrad Hotel NY, 4 nights, IAWN      2,576.83
 01/23/2023   TR         Transcript [E116] Veritext, Inv. 6309148, BMM                75.60
 02/23/2023   TR         Transcript [E116] Veritext, Inv. 6383031, BMM                60.00
 03/07/2023   AT         Auto Travel Expense [E109] KLS Worldwide Transportation     100.00
                         Services, Inv.3006679, From Residence to LAX, IAWN
 03/07/2023   AT         Auto Travel Expense [E109] KLS Worldwide Transportation     211.05
                         Services, Inv.3006679, From EWR to 41-00 43rd Ave.,
                         Queens NY , IAWN
 03/08/2023   AT         Auto Travel Expense [E109] Uber Transportation Service,      56.96
                         KBD
 03/08/2023   AT         Auto Travel Expense [E109] Curb Taxi Service, KBD            38.00
 03/09/2023   AT         Auto Travel Expense [E109] KLS Worldwide Transportation     100.00
                         Services, Inv.3006679, From LAX to Residence, IAWN
 03/09/2023   HT         Hotel Expense [E110] Conrad Hotel NY, IAWN                2,347.56
 03/09/2023   OS         Specialized Legal Services, Inv. # P200267, M. Renck        100.00
 03/09/2023   TR         Transcript [E116] TSG Reporting, Inv. 2106465, GSG        1,842.70
 03/14/2023   AT         Auto Travel Expense [E109] Uber Transportation Service,      47.93
                         KBD
 03/20/2023   TR         Transcript [E116] Veritext, Inv. 6439601, BMM                46.80
 03/20/2023   TR         Transcript [E116] Veritext, Inv. 6442175, BMM               169.05
 03/26/2023   RE         Copies FedEX Store (147@ 0.10) GNB                           14.70
 03/27/2023   OS         Horowitz Agency, Inv. 134                                 2,105.00
 03/28/2023   TR         Transcript [E116] Veritext, Inv. 6523234, J. O'Keefe        124.80
 03/30/2023   AF         Air Fare [E110] United Airlines, Tkt.#01678933876933,     2,458.00
                         From SFO/EWR/SFO, KHB
 03/30/2023   TE         Travel Expense [E110] Travel Agency Services, KHB            50.00
 03/31/2023   OS         Everlaw, Inc. Inv. #78324                                 6,292.00
 04/01/2023   LN         18491.00002 Lexis Charges for 04-01-23                       39.18
 04/01/2023   LN         18491.00002 Lexis Charges for 04-01-23                      120.32
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 04/03/2023   LN         18491.00002 Lexis Charges for 04-03-23                     2.02
 04/03/2023   LN         18491.00002 Lexis Charges for 04-03-23                    14.19
 04/04/2023   AF         Air Fare [E110]United Airlines, Tkt.#01678933877423,     478.90
                         From EWR/SFO,KHB
 04/04/2023   LN         18491.00002 Lexis Charges for 04-04-23                    14.17
 04/04/2023   RE         ( 46 @0.10 PER PG)                                         4.60
 04/04/2023   RE         ( 57 @0.10 PER PG)                                         5.70
 04/04/2023   RE         ( 20 @0.10 PER PG)                                         2.00
 04/04/2023   RE2        COPY ( 42 @0.10 PER PG)                                    4.20
 04/04/2023   RE2        COPY ( 3 @0.10 PER PG)                                     0.30
 04/04/2023   RE2        COPY ( 13 @0.10 PER PG)                                    1.30
 04/04/2023   RE2        COPY ( 3 @0.10 PER PG)                                     0.30
 04/04/2023   RE2        COPY ( 145 @0.10 PER PG)                                  14.50
 04/05/2023   FE         18491.00002 FedEx Charges for 04-05-23                    23.98
 04/05/2023   LN         18491.00002 Lexis Charges for 04-05-23                     3.03
 04/05/2023   LN         18491.00002 Lexis Charges for 04-05-23                     1.01
 04/05/2023   LN         18491.00002 Lexis Charges for 04-05-23                    14.19
 04/05/2023   PO         Postage LA                                                15.84
 04/05/2023   RE         ( 312 @0.10 PER PG)                                       31.20
 04/05/2023   RE2        COPY ( 50 @0.10 PER PG)                                    5.00
 04/05/2023   RE2        COPY ( 1 @0.10 PER PG)                                     0.10
 04/05/2023   RE2        COPY ( 13 @0.10 PER PG)                                    1.30
 04/05/2023   RE2        COPY ( 30 @0.10 PER PG)                                    3.00
 04/05/2023   RE2        COPY ( 3 @0.10 PER PG)                                     0.30
 04/05/2023   RE2        COPY ( 76 @0.10 PER PG)                                    7.60
 04/05/2023   RE2        COPY ( 113 @0.10 PER PG)                                  11.30
 04/05/2023   RE2        COPY ( 4 @0.10 PER PG)                                     0.40
 04/05/2023   RE2        COPY ( 11 @0.10 PER PG)                                    1.10
 04/05/2023   RE2        COPY ( 5 @0.10 PER PG)                                     0.50
 04/05/2023   RE2        COPY ( 113 @0.10 PER PG)                                  11.30
 04/05/2023   RE2        COPY ( 14 @0.10 PER PG)                                    1.40
 04/05/2023   RE2        COPY ( 13 @0.10 PER PG)                                    1.30
 04/05/2023   RE2        COPY ( 75 @0.10 PER PG)                                    7.50
 04/05/2023   RE2        COPY ( 18 @0.10 PER PG)                                    1.80
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 04/05/2023   RE2        COPY ( 15 @0.10 PER PG)                      1.50
 04/05/2023   RE2        COPY ( 76 @0.10 PER PG)                      7.60
 04/05/2023   RE2        COPY ( 25 @0.10 PER PG)                      2.50
 04/05/2023   RE2        COPY ( 2 @0.10 PER PG)                       0.20
 04/05/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/05/2023   RE2        COPY ( 2 @0.10 PER PG)                       0.20
 04/05/2023   RE2        COPY ( 15 @0.10 PER PG)                      1.50
 04/05/2023   RE2        COPY ( 42 @0.10 PER PG)                      4.20
 04/05/2023   RE2        COPY ( 22 @0.10 PER PG)                      2.20
 04/05/2023   RE2        COPY ( 1 @0.10 PER PG)                       0.10
 04/06/2023   FE         18491.00002 FedEx Charges for 04-06-23      26.21
 04/06/2023   LN         18491.00002 Lexis Charges for 04-06-23       2.00
 04/06/2023   PO         Postage [E108] Postage SF Mail Log           0.60
 04/06/2023   RE2        COPY ( 1 @0.10 PER PG)                       0.10
 04/06/2023   RE2        COPY ( 14 @0.10 PER PG)                      1.40
 04/06/2023   RE2        COPY ( 40 @0.10 PER PG)                      4.00
 04/06/2023   RE2        COPY ( 5 @0.10 PER PG)                       0.50
 04/06/2023   RE2        COPY ( 3 @0.10 PER PG)                       0.30
 04/06/2023   RE2        COPY ( 11 @0.10 PER PG)                      1.10
 04/06/2023   RE2        COPY ( 194 @0.10 PER PG)                    19.40
 04/06/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/06/2023   RE2        COPY ( 21 @0.10 PER PG)                      2.10
 04/06/2023   RE2        COPY ( 21 @0.10 PER PG)                      2.10
 04/06/2023   RE2        COPY ( 394 @0.10 PER PG)                    39.40
 04/06/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/06/2023   RE2        COPY ( 302 @0.10 PER PG)                    30.20
 04/06/2023   RE2        COPY ( 9 @0.10 PER PG)                       0.90
 04/06/2023   RE2        COPY ( 33 @0.10 PER PG)                      3.30
 04/06/2023   RE2        COPY ( 1 @0.10 PER PG)                       0.10
 04/06/2023   RE2        COPY ( 4 @0.10 PER PG)                       0.40
 04/06/2023   RE2        COPY ( 13 @0.10 PER PG)                      1.30
 04/06/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/06/2023   RE2        COPY ( 1 @0.10 PER PG)                       0.10
 04/06/2023   RE2        COPY ( 42 @0.10 PER PG)                      4.20
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 04/06/2023   RE2        COPY ( 57 @0.10 PER PG)        5.70
 04/06/2023   RE2        COPY ( 6 @0.10 PER PG)         0.60
 04/06/2023   RE2        COPY ( 302 @0.10 PER PG)      30.20
 04/06/2023   RE2        COPY ( 14 @0.10 PER PG)        1.40
 04/06/2023   RE2        COPY ( 9 @0.10 PER PG)         0.90
 04/06/2023   RE2        COPY ( 5 @0.10 PER PG)         0.50
 04/06/2023   RE2        COPY ( 33 @0.10 PER PG)        3.30
 04/06/2023   RE2        COPY ( 5 @0.10 PER PG)         0.50
 04/06/2023   RE2        COPY ( 12 @0.10 PER PG)        1.20
 04/06/2023   RE2        COPY ( 84 @0.10 PER PG)        8.40
 04/06/2023   RE2        COPY ( 28 @0.10 PER PG)        2.80
 04/06/2023   RE2        COPY ( 150 @0.10 PER PG)      15.00
 04/06/2023   RE2        COPY ( 214 @0.10 PER PG)      21.40
 04/06/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
 04/06/2023   RE2        COPY ( 570 @0.10 PER PG)      57.00
 04/06/2023   RE2        COPY ( 78 @0.10 PER PG)        7.80
 04/06/2023   RE2        COPY ( 376 @0.10 PER PG)      37.60
 04/06/2023   RE2        COPY ( 6 @0.10 PER PG)         0.60
 04/06/2023   RE2        COPY ( 78 @0.10 PER PG)        7.80
 04/06/2023   RE2        COPY ( 12 @0.10 PER PG)        1.20
 04/06/2023   RE2        COPY ( 190 @0.10 PER PG)      19.00
 04/06/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
 04/06/2023   RE2        COPY ( 30 @0.10 PER PG)        3.00
 04/06/2023   RE2        COPY ( 26 @0.10 PER PG)        2.60
 04/06/2023   RE2        COPY ( 252 @0.10 PER PG)      25.20
 04/06/2023   RE2        COPY ( 18 @0.10 PER PG)        1.80
 04/06/2023   RE2        COPY ( 174 @0.10 PER PG)      17.40
 04/06/2023   RE2        COPY ( 60 @0.10 PER PG)        6.00
 04/06/2023   RE2        COPY ( 12 @0.10 PER PG)        1.20
 04/06/2023   RE2        COPY ( 58 @0.10 PER PG)        5.80
 04/06/2023   RE2        COPY ( 12 @0.10 PER PG)        1.20
 04/06/2023   RE2        COPY ( 26 @0.10 PER PG)        2.60
 04/06/2023   RE2        COPY ( 226 @0.10 PER PG)      22.60
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 04/06/2023   RE2        COPY ( 12 @0.10 PER PG)         1.20
 04/06/2023   RE2        COPY ( 26 @0.10 PER PG)         2.60
 04/06/2023   RE2        COPY ( 26 @0.10 PER PG)         2.60
 04/06/2023   RE2        COPY ( 84 @0.10 PER PG)         8.40
 04/06/2023   RE2        COPY ( 26 @0.10 PER PG)         2.60
 04/06/2023   RE2        COPY ( 6 @0.10 PER PG)          0.60
 04/06/2023   RE2        COPY ( 20 @0.10 PER PG)         2.00
 04/06/2023   RE2        COPY ( 4 @0.10 PER PG)          0.40
 04/06/2023   RE2        COPY ( 894 @0.10 PER PG)       89.40
 04/06/2023   RE2        COPY ( 174 @0.10 PER PG)       17.40
 04/06/2023   RE2        COPY ( 36 @0.10 PER PG)         3.60
 04/06/2023   RE2        COPY ( 678 @0.10 PER PG)       67.80
 04/06/2023   RE2        COPY ( 450 @0.10 PER PG)       45.00
 04/06/2023   RE2        COPY ( 1128 @0.10 PER PG)     112.80
 04/06/2023   RE2        COPY ( 126 @0.10 PER PG)       12.60
 04/06/2023   RE2        COPY ( 36 @0.10 PER PG)         3.60
 04/06/2023   RE2        COPY ( 12 @0.10 PER PG)         1.20
 04/06/2023   RE2        COPY ( 298 @0.10 PER PG)       29.80
 04/06/2023   RE2        COPY ( 190 @0.10 PER PG)       19.00
 04/06/2023   RE2        COPY ( 58 @0.10 PER PG)         5.80
 04/06/2023   RE2        COPY ( 84 @0.10 PER PG)         8.40
 04/06/2023   RE2        COPY ( 42 @0.10 PER PG)         4.20
 04/06/2023   RE2        COPY ( 58 @0.10 PER PG)         5.80
 04/06/2023   RE2        COPY ( 6 @0.10 PER PG)          0.60
 04/06/2023   RE2        COPY ( 18 @0.10 PER PG)         1.80
 04/06/2023   RE2        COPY ( 84 @0.10 PER PG)         8.40
 04/06/2023   RE2        COPY ( 12 @0.10 PER PG)         1.20
 04/06/2023   RE2        COPY ( 78 @0.10 PER PG)         7.80
 04/06/2023   RE2        COPY ( 90 @0.10 PER PG)         9.00
 04/06/2023   RE2        COPY ( 252 @0.10 PER PG)       25.20
 04/06/2023   RE2        COPY ( 84 @0.10 PER PG)         8.40
 04/06/2023   RE2        COPY ( 78 @0.10 PER PG)         7.80
 04/06/2023   RE2        COPY ( 36 @0.10 PER PG)         3.60
 04/06/2023   RE2        COPY ( 54 @0.10 PER PG)         5.40
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 04/06/2023   RE2        COPY ( 78 @0.10 PER PG)                                        7.80
 04/06/2023   RE2        COPY ( 234 @0.10 PER PG)                                     23.40
 04/06/2023   RE2        COPY ( 252 @0.10 PER PG)                                     25.20
 04/06/2023   RE2        COPY ( 642 @0.10 PER PG)                                     64.20
 04/06/2023   RE2        COPY ( 5 @0.10 PER PG)                                         0.50
 04/07/2023   LN         18491.00002 Lexis Charges for 04-07-23                         2.02
 04/07/2023   LN         18491.00002 Lexis Charges for 04-07-23                       14.19
 04/07/2023   PO         Postage LA                                                     8.64
 04/07/2023   RE         ( 184 @0.10 PER PG)                                          18.40
 04/07/2023   RE2        COPY ( 1 @0.10 PER PG)                                         0.10
 04/07/2023   RE2        COPY ( 5 @0.10 PER PG)                                         0.50
 04/07/2023   RE2        COPY ( 5 @0.10 PER PG)                                         0.50
 04/07/2023   TR         Transcript [E116] Veritext, Inv. 46489030, BMM              224.40
 04/08/2023   RE2        COPY ( 3 @0.10 PER PG)                                         0.30
 04/08/2023   RE2        COPY ( 11 @0.10 PER PG)                                        1.10
 04/09/2023   AF         Air Fare [E110] United Airlines, Tkt. #01679597699563,     2,250.00
                         From LAX/EWR/LAX, round trip, refundable coach fare for
                         PINJ hearing 4/18-4/23) IAWN
 04/09/2023   RE2        COPY ( 29 @0.10 PER PG)                                        2.90
 04/09/2023   TE         Travel Expense [E110] Travel Agency Service, IAWN            50.00
 04/10/2023   LN         18491.00002 Lexis Charges for 04-10-23                         3.03
 04/10/2023   LN         18491.00002 Lexis Charges for 04-10-23                       14.19
 04/10/2023   LN         18491.00002 Lexis Charges for 04-10-23                       14.19
 04/10/2023   OS         Actuarial Value, LLC, Inv. #8, JIS                        17,550.00
 04/10/2023   PO         Postage LA                                                     0.53
 04/10/2023   RE         ( 72 @0.10 PER PG)                                             7.20
 04/10/2023   RE         ( 96 @0.10 PER PG)                                             9.60
 04/10/2023   RE2        COPY ( 3 @0.10 PER PG)                                         0.30
 04/10/2023   RE2        COPY ( 2 @0.10 PER PG)                                         0.20
 04/10/2023   RE2        COPY ( 9 @0.10 PER PG)                                         0.90
 04/10/2023   RE2        COPY ( 5 @0.10 PER PG)                                         0.50
 04/10/2023   RE2        COPY ( 2 @0.10 PER PG)                                         0.20
 04/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                         0.10
 04/10/2023   RE2        COPY ( 304 @0.10 PER PG)                                     30.40
Pachulski Stang Ziehl & Jones LLP                   Page:     86
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 04/10/2023   RE2        COPY ( 120 @0.10 PER PG)      12.00
 04/10/2023   RE2        COPY ( 384 @0.10 PER PG)      38.40
 04/10/2023   RE2        COPY ( 6 @0.10 PER PG)         0.60
 04/10/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
 04/10/2023   RE2        COPY ( 90 @0.10 PER PG)        9.00
 04/10/2023   RE2        COPY ( 14 @0.10 PER PG)        1.40
 04/10/2023   RE2        COPY ( 8 @0.10 PER PG)         0.80
 04/10/2023   RE2        COPY ( 204 @0.10 PER PG)      20.40
 04/10/2023   RE2        COPY ( 100 @0.10 PER PG)      10.00
 04/10/2023   RE2        COPY ( 60 @0.10 PER PG)        6.00
 04/10/2023   RE2        COPY ( 6 @0.10 PER PG)         0.60
 04/10/2023   RE2        COPY ( 90 @0.10 PER PG)        9.00
 04/10/2023   RE2        COPY ( 20 @0.10 PER PG)        2.00
 04/10/2023   RE2        COPY ( 114 @0.10 PER PG)      11.40
 04/10/2023   RE2        COPY ( 51 @0.10 PER PG)        5.10
 04/10/2023   RE2        COPY ( 51 @0.10 PER PG)        5.10
 04/10/2023   RE2        COPY ( 88 @0.10 PER PG)        8.80
 04/10/2023   RE2        COPY ( 44 @0.10 PER PG)        4.40
 04/10/2023   RE2        COPY ( 160 @0.10 PER PG)      16.00
 04/10/2023   RE2        COPY ( 24 @0.10 PER PG)        2.40
 04/10/2023   RE2        COPY ( 56 @0.10 PER PG)        5.60
 04/10/2023   RE2        COPY ( 56 @0.10 PER PG)        5.60
 04/10/2023   RE2        COPY ( 28 @0.10 PER PG)        2.80
 04/10/2023   RE2        COPY ( 228 @0.10 PER PG)      22.80
 04/10/2023   RE2        COPY ( 206 @0.10 PER PG)      20.60
 04/10/2023   RE2        COPY ( 12 @0.10 PER PG)        1.20
 04/10/2023   RE2        COPY ( 28 @0.10 PER PG)        2.80
 04/10/2023   RE2        COPY ( 16 @0.10 PER PG)        1.60
 04/10/2023   RE2        COPY ( 72 @0.10 PER PG)        7.20
 04/10/2023   RE2        COPY ( 88 @0.10 PER PG)        8.80
 04/10/2023   RE2        COPY ( 148 @0.10 PER PG)      14.80
 04/10/2023   RE2        COPY ( 60 @0.10 PER PG)        6.00
 04/10/2023   RE2        COPY ( 80 @0.10 PER PG)        8.00
 04/10/2023   RE2        COPY ( 28 @0.10 PER PG)        2.80
Pachulski Stang Ziehl & Jones LLP                                                    Page:     87
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 04/10/2023   RE2        COPY ( 188 @0.10 PER PG)                                       18.80
 04/10/2023   RE2        COPY ( 172 @0.10 PER PG)                                       17.20
 04/10/2023   RE2        COPY ( 88 @0.10 PER PG)                                         8.80
 04/10/2023   RE2        COPY ( 32 @0.10 PER PG)                                         3.20
 04/10/2023   RE2        COPY ( 20 @0.10 PER PG)                                         2.00
 04/10/2023   RE2        COPY ( 6 @0.10 PER PG)                                          0.60
 04/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                          0.10
 04/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                          0.10
 04/10/2023   RE2        COPY ( 1 @0.10 PER PG)                                          0.10
 04/10/2023   RE2        COPY ( 20 @0.10 PER PG)                                         2.00
 04/10/2023   RE2        COPY ( 206 @0.10 PER PG)                                       20.60
 04/10/2023   RE2        COPY ( 12 @0.10 PER PG)                                         1.20
 04/10/2023   RE2        COPY ( 28 @0.10 PER PG)                                         2.80
 04/10/2023   RE2        COPY ( 16 @0.10 PER PG)                                         1.60
 04/10/2023   RE2        COPY ( 16 @0.10 PER PG)                                         1.60
 04/10/2023   RE2        COPY ( 14 @0.10 PER PG)                                         1.40
 04/10/2023   RE2        COPY ( 16 @0.10 PER PG)                                         1.60
 04/10/2023   RE2        COPY ( 232 @0.10 PER PG)                                       23.20
 04/10/2023   RE2        COPY ( 120 @0.10 PER PG)                                       12.00
 04/11/2023   E107       Elite Transportation Services, Inv. 1879313, from PSZJ NY     114.08
                         to Court, D. Rivera - Messenger
 04/11/2023   RE2        COPY ( 54 @0.10 PER PG)                                         5.40
 04/11/2023   RE2        COPY ( 128 @0.10 PER PG)                                       12.80
 04/11/2023   RE2        COPY ( 51 @0.10 PER PG)                                         5.10
 04/11/2023   RE2        COPY ( 22 @0.10 PER PG)                                         2.20
 04/11/2023   RE2        COPY ( 7 @0.10 PER PG)                                          0.70
 04/11/2023   RE2        COPY ( 25 @0.10 PER PG)                                         2.50
 04/11/2023   RE2        COPY ( 15 @0.10 PER PG)                                         1.50
 04/11/2023   RE2        COPY ( 96 @0.10 PER PG)                                         9.60
 04/11/2023   RE2        COPY ( 14 @0.10 PER PG)                                         1.40
 04/11/2023   RE2        COPY ( 9 @0.10 PER PG)                                          0.90
 04/11/2023   RE2        COPY ( 4 @0.10 PER PG)                                          0.40
 04/11/2023   RE2        COPY ( 1 @0.10 PER PG)                                          0.10
 04/11/2023   RE2        COPY ( 30 @0.10 PER PG)                                         3.00
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 04/11/2023   RE2        COPY ( 22 @0.10 PER PG)        2.20
 04/11/2023   RE2        COPY ( 11 @0.10 PER PG)        1.10
 04/11/2023   RE2        COPY ( 15 @0.10 PER PG)        1.50
 04/11/2023   RE2        COPY ( 58 @0.10 PER PG)        5.80
 04/11/2023   RE2        COPY ( 6 @0.10 PER PG)         0.60
 04/11/2023   RE2        COPY ( 7 @0.10 PER PG)         0.70
 04/11/2023   RE2        COPY ( 47 @0.10 PER PG)        4.70
 04/11/2023   RE2        COPY ( 8 @0.10 PER PG)         0.80
 04/11/2023   RE2        COPY ( 2 @0.10 PER PG)         0.20
 04/11/2023   RE2        COPY ( 2 @0.10 PER PG)         0.20
 04/11/2023   RE2        COPY ( 75 @0.10 PER PG)        7.50
 04/11/2023   RE2        COPY ( 10 @0.10 PER PG)        1.00
 04/11/2023   RE2        COPY ( 11 @0.10 PER PG)        1.10
 04/11/2023   RE2        COPY ( 1 @0.10 PER PG)         0.10
 04/11/2023   RE2        COPY ( 3 @0.10 PER PG)         0.30
 04/11/2023   RE2        COPY ( 33 @0.10 PER PG)        3.30
 04/11/2023   RE2        COPY ( 33 @0.10 PER PG)        3.30
 04/11/2023   RE2        COPY ( 18 @0.10 PER PG)        1.80
 04/11/2023   RE2        COPY ( 22 @0.10 PER PG)        2.20
 04/11/2023   RE2        COPY ( 76 @0.10 PER PG)        7.60
 04/11/2023   RE2        COPY ( 37 @0.10 PER PG)        3.70
 04/11/2023   RE2        COPY ( 20 @0.10 PER PG)        2.00
 04/11/2023   RE2        COPY ( 40 @0.10 PER PG)        4.00
 04/11/2023   RE2        COPY ( 30 @0.10 PER PG)        3.00
 04/11/2023   RE2        COPY ( 43 @0.10 PER PG)        4.30
 04/11/2023   RE2        COPY ( 14 @0.10 PER PG)        1.40
 04/11/2023   RE2        COPY ( 7 @0.10 PER PG)         0.70
 04/11/2023   RE2        COPY ( 50 @0.10 PER PG)        5.00
 04/11/2023   RE2        COPY ( 7 @0.10 PER PG)         0.70
 04/11/2023   RE2        COPY ( 3 @0.10 PER PG)         0.30
 04/11/2023   RE2        COPY ( 2 @0.10 PER PG)         0.20
 04/11/2023   RE2        COPY ( 107 @0.10 PER PG)      10.70
 04/11/2023   RE2        COPY ( 10 @0.10 PER PG)        1.00
 04/11/2023   RE2        COPY ( 159 @0.10 PER PG)      15.90
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 04/11/2023   RE2        COPY ( 10 @0.10 PER PG)                                 1.00
 04/11/2023   RE2        COPY ( 18 @0.10 PER PG)                                 1.80
 04/11/2023   RE2        COPY ( 4 @0.10 PER PG)                                  0.40
 04/11/2023   RE2        COPY ( 22 @0.10 PER PG)                                 2.20
 04/11/2023   RE2        COPY ( 20 @0.10 PER PG)                                 2.00
 04/11/2023   RE2        COPY ( 388 @0.10 PER PG)                               38.80
 04/11/2023   RE2        COPY ( 4 @0.10 PER PG)                                  0.40
 04/11/2023   RE2        COPY ( 12 @0.10 PER PG)                                 1.20
 04/11/2023   RE2        COPY ( 42 @0.10 PER PG)                                 4.20
 04/11/2023   RE2        COPY ( 12 @0.10 PER PG)                                 1.20
 04/11/2023   RE2        COPY ( 114 @0.10 PER PG)                               11.40
 04/11/2023   RE2        COPY ( 604 @0.10 PER PG)                               60.40
 04/11/2023   RE2        COPY ( 66 @0.10 PER PG)                                 6.60
 04/11/2023   RE2        COPY ( 28 @0.10 PER PG)                                 2.80
 04/11/2023   RE2        COPY ( 4 @0.10 PER PG)                                  0.40
 04/11/2023   RE2        COPY ( 4 @0.10 PER PG)                                  0.40
 04/11/2023   RE2        COPY ( 4 @0.10 PER PG)                                  0.40
 04/11/2023   RE2        COPY ( 10 @0.10 PER PG)                                 1.00
 04/11/2023   RE2        COPY ( 84 @0.10 PER PG)                                 8.40
 04/11/2023   RE2        COPY ( 4 @0.10 PER PG)                                  0.40
 04/11/2023   TE         Travel Expense [E110] Travel Agency Service, IAWN      80.00
 04/12/2023   FF         Filing Fee [E112]File & ServeXpress, Inv.              25.00
                         #202304066501201, IDD
 04/12/2023   LN         18491.00002 Lexis Charges for 04-12-23                 14.59
 04/12/2023   PO         Postage LA                                              6.48
 04/12/2023   RE2        COPY ( 30 @0.10 PER PG)                                 3.00
 04/12/2023   RE2        COPY ( 18 @0.10 PER PG)                                 1.80
 04/12/2023   RE2        COPY ( 60 @0.10 PER PG)                                 6.00
 04/12/2023   RE2        COPY ( 8 @0.10 PER PG)                                  0.80
 04/12/2023   RE2        COPY ( 6 @0.10 PER PG)                                  0.60
 04/12/2023   RE2        COPY ( 6 @0.10 PER PG)                                  0.60
 04/12/2023   RE2        COPY ( 3 @0.10 PER PG)                                  0.30
 04/12/2023   RE2        COPY ( 21 @0.10 PER PG)                                 2.10
 04/13/2023   FE         18491.00002 FedEx Charges for 04-13-23                 90.69
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 04/13/2023   LN         18491.00002 Lexis Charges for 04-13-23      39.18
 04/13/2023   LN         18491.00002 Lexis Charges for 04-13-23       0.16
 04/13/2023   LN         18491.00002 Lexis Charges for 04-13-23      21.28
 04/13/2023   RE2        COPY ( 4 @0.10 PER PG)                       0.40
 04/13/2023   RE2        COPY ( 2 @0.10 PER PG)                       0.20
 04/13/2023   RE2        COPY ( 8 @0.10 PER PG)                       0.80
 04/13/2023   RE2        COPY ( 2 @0.10 PER PG)                       0.20
 04/13/2023   RE2        COPY ( 34 @0.10 PER PG)                      3.40
 04/13/2023   RE2        COPY ( 4 @0.10 PER PG)                       0.40
 04/13/2023   RE2        COPY ( 33 @0.10 PER PG)                      3.30
 04/13/2023   RE2        COPY ( 5 @0.10 PER PG)                       0.50
 04/13/2023   RE2        COPY ( 46 @0.10 PER PG)                      4.60
 04/13/2023   RE2        COPY ( 44 @0.10 PER PG)                      4.40
 04/13/2023   RE2        COPY ( 8 @0.10 PER PG)                       0.80
 04/13/2023   RE2        COPY ( 2 @0.10 PER PG)                       0.20
 04/13/2023   RE2        COPY ( 46 @0.10 PER PG)                      4.60
 04/13/2023   RE2        COPY ( 4 @0.10 PER PG)                       0.40
 04/13/2023   RE2        COPY ( 1 @0.10 PER PG)                       0.10
 04/13/2023   RE2        COPY ( 2 @0.10 PER PG)                       0.20
 04/13/2023   RE2        COPY ( 3 @0.10 PER PG)                       0.30
 04/13/2023   RE2        COPY ( 9 @0.10 PER PG)                       0.90
 04/13/2023   RE2        COPY ( 3 @0.10 PER PG)                       0.30
 04/13/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/13/2023   RE2        COPY ( 12 @0.10 PER PG)                      1.20
 04/13/2023   RE2        COPY ( 4 @0.10 PER PG)                       0.40
 04/13/2023   RE2        COPY ( 13 @0.10 PER PG)                      1.30
 04/13/2023   RE2        COPY ( 80 @0.10 PER PG)                      8.00
 04/13/2023   RE2        COPY ( 32 @0.10 PER PG)                      3.20
 04/13/2023   RE2        COPY ( 4 @0.10 PER PG)                       0.40
 04/13/2023   RE2        COPY ( 24 @0.10 PER PG)                      2.40
 04/13/2023   RE2        COPY ( 10 @0.10 PER PG)                      1.00
 04/13/2023   RE2        COPY ( 22 @0.10 PER PG)                      2.20
 04/13/2023   RE2        COPY ( 262 @0.10 PER PG)                    26.20
 04/13/2023   RE2        COPY ( 290 @0.10 PER PG)                    29.00
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 04/13/2023   RE2        COPY ( 4 @0.10 PER PG)                                          0.40
 04/13/2023   RE2        COPY ( 2 @0.10 PER PG)                                          0.20
 04/13/2023   RE2        COPY ( 95 @0.10 PER PG)                                         9.50
 04/13/2023   RE2        COPY ( 1 @0.10 PER PG)                                          0.10
 04/13/2023   RE2        COPY ( 2 @0.10 PER PG)                                          0.20
 04/13/2023   RE2        COPY ( 2 @0.10 PER PG)                                          0.20
 04/13/2023   RE2        COPY ( 2 @0.10 PER PG)                                          0.20
 04/13/2023   RE2        COPY ( 13 @0.10 PER PG)                                         1.30
 04/13/2023   RE2        COPY ( 342 @0.10 PER PG)                                       34.20
 04/13/2023   RE2        COPY ( 186 @0.10 PER PG)                                       18.60
 04/13/2023   RE2        COPY ( 12 @0.10 PER PG)                                         1.20
 04/13/2023   RE2        COPY ( 2 @0.10 PER PG)                                          0.20
 04/13/2023   RE2        COPY ( 95 @0.10 PER PG)                                         9.50
 04/13/2023   RE2        COPY ( 6 @0.10 PER PG)                                          0.60
 04/13/2023   RE2        COPY ( 6 @0.10 PER PG)                                          0.60
 04/13/2023   RE2        COPY ( 56 @0.10 PER PG)                                         5.60
 04/13/2023   RE2        COPY ( 20 @0.10 PER PG)                                         2.00
 04/13/2023   RE2        COPY ( 38 @0.10 PER PG)                                         3.80
 04/13/2023   RE2        COPY ( 36 @0.10 PER PG)                                         3.60
 04/13/2023   RE2        COPY ( 4 @0.10 PER PG)                                          0.40
 04/13/2023   RE2        COPY ( 1 @0.10 PER PG)                                          0.10
 04/13/2023   RE2        COPY ( 1 @0.10 PER PG)                                          0.10
 04/13/2023   RE2        COPY ( 10 @0.10 PER PG)                                         1.00
 04/13/2023   RE2        COPY ( 6 @0.10 PER PG)                                          0.60
 04/13/2023   RE2        COPY ( 4 @0.10 PER PG)                                          0.40
 04/13/2023   RE2        COPY ( 68 @0.10 PER PG)                                         6.80
 04/13/2023   RE2        COPY ( 66 @0.10 PER PG)                                         6.60
 04/13/2023   RE2        COPY ( 6 @0.10 PER PG)                                          0.60
 04/13/2023   RE2        COPY ( 26 @0.10 PER PG)                                         2.60
 04/13/2023   RE2        COPY ( 2 @0.10 PER PG)                                          0.20
 04/13/2023   RE2        COPY ( 22 @0.10 PER PG)                                         2.20
 04/13/2023   RE2        COPY ( 90 @0.10 PER PG)                                         9.00
 04/14/2023   E107       Elite Transportation Services, Inv. 1879808, from PSZJ NY      72.10
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 04/14/2023   LN         18491.00002 Lexis Charges for 04-14-23       7.29
 04/14/2023   LN         18491.00002 Lexis Charges for 04-14-23      15.68
 04/14/2023   LN         18491.00002 Lexis Charges for 04-14-23       7.39
 04/14/2023   LN         18491.00002 Lexis Charges for 04-14-23      14.79
 04/14/2023   LN         18491.00002 Lexis Charges for 04-14-23      22.17
 04/14/2023   LN         18491.00002 Lexis Charges for 04-14-23       4.00
 04/14/2023   LN         18491.00002 Lexis Charges for 04-14-23       1.00
 04/14/2023   LN         18491.00002 Lexis Charges for 04-14-23      14.19
 04/14/2023   PO         Postage LA                                  13.32
 04/14/2023   RE2        COPY ( 18 @0.10 PER PG)                      1.80
 04/14/2023   RE2        COPY ( 8 @0.10 PER PG)                       0.80
 04/14/2023   RE2        COPY ( 19 @0.10 PER PG)                      1.90
 04/14/2023   RE2        COPY ( 9 @0.10 PER PG)                       0.90
 04/14/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/14/2023   RE2        COPY ( 194 @0.10 PER PG)                    19.40
 04/14/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/14/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/14/2023   RE2        COPY ( 15 @0.10 PER PG)                      1.50
 04/14/2023   RE2        COPY ( 4 @0.10 PER PG)                       0.40
 04/14/2023   RE2        COPY ( 14 @0.10 PER PG)                      1.40
 04/14/2023   RE2        COPY ( 17 @0.10 PER PG)                      1.70
 04/14/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/14/2023   RE2        COPY ( 57 @0.10 PER PG)                      5.70
 04/14/2023   RE2        COPY ( 29 @0.10 PER PG)                      2.90
 04/14/2023   RE2        COPY ( 140 @0.10 PER PG)                    14.00
 04/14/2023   RE2        COPY ( 19 @0.10 PER PG)                      1.90
 04/14/2023   RE2        COPY ( 17 @0.10 PER PG)                      1.70
 04/14/2023   RE2        COPY ( 17 @0.10 PER PG)                      1.70
 04/14/2023   RE2        COPY ( 18 @0.10 PER PG)                      1.80
 04/14/2023   RE2        COPY ( 24 @0.10 PER PG)                      2.40
 04/14/2023   RE2        COPY ( 7 @0.10 PER PG)                       0.70
 04/14/2023   RE2        COPY ( 22 @0.10 PER PG)                      2.20
 04/14/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/14/2023   RE2        COPY ( 28 @0.10 PER PG)                      2.80
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 04/14/2023   RE2        COPY ( 45 @0.10 PER PG)                      4.50
 04/14/2023   RE2        COPY ( 24 @0.10 PER PG)                      2.40
 04/14/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/14/2023   RE2        COPY ( 252 @0.10 PER PG)                    25.20
 04/14/2023   RE2        COPY ( 1 @0.10 PER PG)                       0.10
 04/14/2023   RE2        COPY ( 84 @0.10 PER PG)                      8.40
 04/14/2023   RE2        COPY ( 8 @0.10 PER PG)                       0.80
 04/14/2023   RE2        COPY ( 302 @0.10 PER PG)                    30.20
 04/14/2023   RE2        COPY ( 13 @0.10 PER PG)                      1.30
 04/14/2023   RE2        COPY ( 1 @0.10 PER PG)                       0.10
 04/14/2023   RE2        COPY ( 25 @0.10 PER PG)                      2.50
 04/14/2023   RE2        COPY ( 7 @0.10 PER PG)                       0.70
 04/14/2023   RE2        COPY ( 12 @0.10 PER PG)                      1.20
 04/14/2023   RE2        COPY ( 13 @0.10 PER PG)                      1.30
 04/14/2023   RE2        COPY ( 18 @0.10 PER PG)                      1.80
 04/14/2023   RE2        COPY ( 7 @0.10 PER PG)                       0.70
 04/14/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/14/2023   RE2        COPY ( 10 @0.10 PER PG)                      1.00
 04/14/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/14/2023   RE2        COPY ( 60 @0.10 PER PG)                      6.00
 04/14/2023   RE2        COPY ( 5 @0.10 PER PG)                       0.50
 04/14/2023   RE2        COPY ( 4 @0.10 PER PG)                       0.40
 04/14/2023   RE2        COPY ( 12 @0.10 PER PG)                      1.20
 04/14/2023   RE2        COPY ( 16 @0.10 PER PG)                      1.60
 04/14/2023   RE2        COPY ( 6 @0.10 PER PG)                       0.60
 04/14/2023   RE2        COPY ( 2 @0.10 PER PG)                       0.20
 04/14/2023   RE2        COPY ( 12 @0.10 PER PG)                      1.20
 04/14/2023   RE2        COPY ( 8 @0.10 PER PG)                       0.80
 04/15/2023   LN         18491.00002 Lexis Charges for 04-15-23       7.29
 04/15/2023   LN         18491.00002 Lexis Charges for 04-15-23      15.68
 04/15/2023   RE2        COPY ( 4 @0.10 PER PG)                       0.40
 04/15/2023   RE2        COPY ( 7 @0.10 PER PG)                       0.70
 04/15/2023   RE2        COPY ( 4 @0.10 PER PG)                       0.40
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 04/16/2023   RE2        COPY ( 2 @0.10 PER PG)                                         0.20
 04/16/2023   RE2        COPY ( 5 @0.10 PER PG)                                         0.50
 04/17/2023   AF         Air Fare [E110] United Airlines, Tkt. UA7893387692, from   1,950.00
                         SFO to EWR, EWR to SFO, (4/18 -4/23, coach refundable
                         for PINJ hearing) GSG
 04/17/2023   AT         Auto Travel Expense [E109] Uber Transportation Services,      66.92
                         from Residence to SFO, GSG
 04/17/2023   AT         Auto Travel Expense [E109] Uber Transportation Services,      93.39
                         from EWR to Hotel, GSG
 04/17/2023   E107       Elite Transportation Services, Inv. 1879808, S. Winns -       93.70
                         Messenger
 04/17/2023   HT         Hotel Expense [E110] Lotte NY Palace, 6 nights, KHB        2,185.69
 04/17/2023   LN         18491.00002 Lexis Charges for 04-17-23                        14.59
 04/17/2023   PO         Postage LA                                                    13.32
 04/17/2023   RE         ( 294 @0.10 PER PG)                                           29.40
 04/17/2023   RE2        COPY ( 6 @0.10 PER PG)                                         0.60
 04/17/2023   RE2        COPY ( 13 @0.10 PER PG)                                        1.30
 04/17/2023   RE2        COPY ( 18 @0.10 PER PG)                                        1.80
 04/17/2023   RE2        COPY ( 18 @0.10 PER PG)                                        1.80
 04/17/2023   RE2        COPY ( 3 @0.10 PER PG)                                         0.30
 04/17/2023   RE2        COPY ( 100 @0.10 PER PG)                                      10.00
 04/17/2023   RE2        COPY ( 18 @0.10 PER PG)                                        1.80
 04/17/2023   RE2        COPY ( 500 @0.10 PER PG)                                      50.00
 04/17/2023   RE2        COPY ( 300 @0.10 PER PG)                                      30.00
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)                                         0.40
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)                                         0.40
 04/17/2023   RE2        COPY ( 300 @0.10 PER PG)                                      30.00
 04/17/2023   RE2        COPY ( 300 @0.10 PER PG)                                      30.00
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)                                         0.40
 04/17/2023   RE2        COPY ( 300 @0.10 PER PG)                                      30.00
 04/17/2023   RE2        COPY ( 14 @0.10 PER PG)                                        1.40
 04/17/2023   RE2        COPY ( 6 @0.10 PER PG)                                         0.60
 04/17/2023   RE2        COPY ( 12 @0.10 PER PG)                                        1.20
 04/17/2023   RE2        COPY ( 12 @0.10 PER PG)                                        1.20
 04/17/2023   RE2        COPY ( 100 @0.10 PER PG)                                      10.00
 04/17/2023   RE2        COPY ( 2 @0.10 PER PG)                                         0.20
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 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
 04/17/2023   RE2        COPY ( 78 @0.10 PER PG)        7.80
 04/17/2023   RE2        COPY ( 130 @0.10 PER PG)      13.00
 04/17/2023   RE2        COPY ( 216 @0.10 PER PG)      21.60
 04/17/2023   RE2        COPY ( 16 @0.10 PER PG)        1.60
 04/17/2023   RE2        COPY ( 6 @0.10 PER PG)         0.60
 04/17/2023   RE2        COPY ( 14 @0.10 PER PG)        1.40
 04/17/2023   RE2        COPY ( 8 @0.10 PER PG)         0.80
 04/17/2023   RE2        COPY ( 6 @0.10 PER PG)         0.60
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
 04/17/2023   RE2        COPY ( 500 @0.10 PER PG)      50.00
 04/17/2023   RE2        COPY ( 300 @0.10 PER PG)      30.00
 04/17/2023   RE2        COPY ( 300 @0.10 PER PG)      30.00
 04/17/2023   RE2        COPY ( 256 @0.10 PER PG)      25.60
 04/17/2023   RE2        COPY ( 318 @0.10 PER PG)      31.80
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
 04/17/2023   RE2        COPY ( 8 @0.10 PER PG)         0.80
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
 04/17/2023   RE2        COPY ( 107 @0.10 PER PG)      10.70
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
 04/17/2023   RE2        COPY ( 6 @0.10 PER PG)         0.60
 04/17/2023   RE2        COPY ( 300 @0.10 PER PG)      30.00
 04/17/2023   RE2        COPY ( 203 @0.10 PER PG)      20.30
 04/17/2023   RE2        COPY ( 490 @0.10 PER PG)      49.00
 04/17/2023   RE2        COPY ( 6 @0.10 PER PG)         0.60
 04/17/2023   RE2        COPY ( 108 @0.10 PER PG)      10.80
 04/17/2023   RE2        COPY ( 150 @0.10 PER PG)      15.00
 04/17/2023   RE2        COPY ( 214 @0.10 PER PG)      21.40
 04/17/2023   RE2        COPY ( 203 @0.10 PER PG)      20.30
 04/17/2023   RE2        COPY ( 18 @0.10 PER PG)        1.80
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)         0.40
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 04/17/2023   RE2        COPY ( 102 @0.10 PER PG)                                       10.20
 04/17/2023   RE2        COPY ( 300 @0.10 PER PG)                                       30.00
 04/17/2023   RE2        COPY ( 368 @0.10 PER PG)                                       36.80
 04/17/2023   RE2        COPY ( 16 @0.10 PER PG)                                         1.60
 04/17/2023   RE2        COPY ( 788 @0.10 PER PG)                                       78.80
 04/17/2023   RE2        COPY ( 300 @0.10 PER PG)                                       30.00
 04/17/2023   RE2        COPY ( 4 @0.10 PER PG)                                          0.40
 04/17/2023   TE         Travel Expense [E110] Travel Agency Service Fee, GSG           50.00
 04/17/2023   TE         Travel Expense [E110] InFlight Wifi Fee, GSG                   10.00
 04/17/2023   TR         Transcript [E116] Veritext Legal Solutions, Inv.#6550027,      52.80
                         KLL
 04/18/2023   BM         Business Meal [E111] Bubba Gump, Working Meal, L.              44.35
                         Canty
 04/18/2023   BM         Business Meal [E111] Mexicue,Working Meal, GSG                 41.25
 04/18/2023   BM         Business Meal [E111] Smith & Wollens NY, working meal,        171.66
                         KHB
 04/18/2023   LN         18491.00002 Lexis Charges for 04-18-23                          7.84
 04/18/2023   LN         18491.00002 Lexis Charges for 04-18-23                          7.84
 04/18/2023   LN         18491.00002 Lexis Charges for 04-18-23                         22.17
 04/18/2023   LN         18491.00002 Lexis Charges for 04-18-23                         23.51
 04/18/2023   RE         ( 2 @0.10 PER PG)                                               0.20
 04/18/2023   RE         ( 1 @0.10 PER PG)                                               0.10
 04/18/2023   RE         ( 1 @0.10 PER PG)                                               0.10
 04/18/2023   RE         ( 2 @0.10 PER PG)                                               0.20
 04/18/2023   RE2        COPY ( 14 @0.10 PER PG)                                         1.40
 04/18/2023   RE2        COPY ( 58 @0.10 PER PG)                                         5.80
 04/18/2023   RE2        COPY ( 12 @0.10 PER PG)                                         1.20
 04/18/2023   RE2        COPY ( 56 @0.10 PER PG)                                         5.60
 04/18/2023   RE2        COPY ( 302 @0.10 PER PG)                                       30.20
 04/18/2023   RE2        COPY ( 2 @0.10 PER PG)                                          0.20
 04/18/2023   RE2        COPY ( 6 @0.10 PER PG)                                          0.60
 04/18/2023   RE2        COPY ( 294 @0.10 PER PG)                                       29.40
 04/18/2023   RE2        COPY ( 14 @0.10 PER PG)                                         1.40
 04/18/2023   RE2        COPY ( 2 @0.10 PER PG)                                          0.20
 04/18/2023   RE2        COPY ( 9 @0.10 PER PG)                                          0.90
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 04/18/2023   RE2        COPY ( 14 @0.10 PER PG)                                         1.40
 04/18/2023   RE2        COPY ( 9 @0.10 PER PG)                                          0.90
 04/18/2023   RE2        COPY ( 21 @0.10 PER PG)                                         2.10
 04/18/2023   RE2        COPY ( 21 @0.10 PER PG)                                         2.10
 04/18/2023   RE2        COPY ( 34 @0.10 PER PG)                                         3.40
 04/18/2023   RE2        COPY ( 154 @0.10 PER PG)                                       15.40
 04/18/2023   RE2        COPY ( 196 @0.10 PER PG)                                       19.60
 04/18/2023   RE2        COPY ( 534 @0.10 PER PG)                                       53.40
 04/18/2023   RE2        COPY ( 45 @0.10 PER PG)                                         4.50
 04/18/2023   RE2        COPY ( 78 @0.10 PER PG)                                         7.80
 04/18/2023   RE2        COPY ( 40 @0.10 PER PG)                                         4.00
 04/18/2023   RE2        COPY ( 39 @0.10 PER PG)                                         3.90
 04/18/2023   RE2        COPY ( 51 @0.10 PER PG)                                         5.10
 04/18/2023   RE2        COPY ( 50 @0.10 PER PG)                                         5.00
 04/18/2023   RE2        COPY ( 6 @0.10 PER PG)                                          0.60
 04/18/2023   RE2        COPY ( 2 @0.10 PER PG)                                          0.20
 04/18/2023   RE2        COPY ( 9 @0.10 PER PG)                                          0.90
 04/18/2023   RE2        COPY ( 154 @0.10 PER PG)                                       15.40
 04/18/2023   RE2        COPY ( 1 @0.10 PER PG)                                          0.10
 04/18/2023   RE2        COPY ( 384 @0.10 PER PG)                                       38.40
 04/18/2023   RE2        COPY ( 48 @0.10 PER PG)                                         4.80
 04/18/2023   RE2        COPY ( 30 @0.10 PER PG)                                         3.00
 04/18/2023   RE2        COPY ( 2 @0.10 PER PG)                                          0.20
 04/18/2023   RE2        COPY ( 26 @0.10 PER PG)                                         2.60
 04/18/2023   RE2        COPY ( 14 @0.10 PER PG)                                         1.40
 04/18/2023   RE2        COPY ( 14 @0.10 PER PG)                                         1.40
 04/18/2023   RE2        COPY ( 76 @0.10 PER PG)                                         7.60
 04/18/2023   RE2        COPY ( 30 @0.10 PER PG)                                         3.00
 04/18/2023   RE2        COPY ( 2 @0.10 PER PG)                                          0.20
 04/19/2023   AT         Auto Travel Expense [E109] Uber Transportation Services,       25.01
                         KBD
 04/19/2023   AT         Auto Travel Expense [E109] Elite Transportation Services,      64.61
                         Inv. 1879808, from Residence to Court, KBD
 04/19/2023   AT         Auto Travel Expense [E109] Elite Transportation Services,      63.49
                         Inv. 1879808, from Hotel to Court, GSG
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 04/19/2023   AT         Auto Travel Expense [E109] Elite Transportation Services,     185.81
                         Inv. 1879808, from Court to Hotel, L. Canty
 04/19/2023   AT         Auto Travel Expense [E109] Elite Transportation Services,     185.81
                         Inv. 1879808, from PSZJ NY to Court, PSZJ counsel and
                         paralegal
 04/19/2023   BM         Business Meal [E111] Garden City Deli, Working Meal, L.        37.33
                         Canty
 04/19/2023   BM         Business Meal [E111] Bubba Gump, Working Meal, L.              52.43
                         Canty
 04/19/2023   BM         Business Meal [E111] Osteria Del Bianco NY, working meal,      80.05
                         KHB and GSG
 04/19/2023   BM         Business Meal [E111] Ole & Steen NY, working meal, KHB         43.55
                         and GSG
 04/19/2023   E107       Elite Transportation Services, Inv. 1879808, S. Winns -       143.30
                         Messenger
 04/19/2023   RE         ( 9 @0.10 PER PG)                                               0.90
 04/19/2023   RE         ( 1 @0.10 PER PG)                                               0.10
 04/19/2023   RE2        COPY ( 204 @0.10 PER PG)                                       20.40
 04/19/2023   RE2        COPY ( 28 @0.10 PER PG)                                         2.80
 04/19/2023   RE2        COPY ( 12 @0.10 PER PG)                                         1.20
 04/19/2023   RE2        COPY ( 15 @0.10 PER PG)                                         1.50
 04/19/2023   RE2        COPY ( 342 @0.10 PER PG)                                       34.20
 04/19/2023   RE2        COPY ( 171 @0.10 PER PG)                                       17.10
 04/19/2023   RE2        COPY ( 342 @0.10 PER PG)                                       34.20
 04/19/2023   RE2        COPY ( 72 @0.10 PER PG)                                         7.20
 04/19/2023   RE2        COPY ( 28 @0.10 PER PG)                                         2.80
 04/19/2023   RE2        COPY ( 12 @0.10 PER PG)                                         1.20
 04/19/2023   RE2        COPY ( 15 @0.10 PER PG)                                         1.50
 04/19/2023   RE2        COPY ( 72 @0.10 PER PG)                                         7.20
 04/19/2023   RE2        COPY ( 18 @0.10 PER PG)                                         1.80
 04/19/2023   RE2        COPY ( 171 @0.10 PER PG)                                       17.10
 04/19/2023   RE2        COPY ( 42 @0.10 PER PG)                                         4.20
 04/19/2023   RE2        COPY ( 204 @0.10 PER PG)                                       20.40
 04/19/2023   RE2        COPY ( 16 @0.10 PER PG)                                         1.60
 04/19/2023   RE2        COPY ( 18 @0.10 PER PG)                                         1.80
 04/19/2023   RE2        COPY ( 171 @0.10 PER PG)                                       17.10
 04/19/2023   RE2        COPY ( 513 @0.10 PER PG)                                       51.30
 04/19/2023   RE2        COPY ( 171 @0.10 PER PG)                                       17.10
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 04/19/2023   RE2        COPY ( 16 @0.10 PER PG)                                         1.60
 04/19/2023   RE2        COPY ( 3 @0.10 PER PG)                                          0.30
 04/19/2023   RE2        COPY ( 513 @0.10 PER PG)                                       51.30
 04/19/2023   TR         Transcript [E116] Veritext, Inv. 6520562, B. Anavim           424.80
 04/20/2023   AT         Auto Travel Expense [E109] Elite Transportation Services,      64.61
                         Inv. 1879808, from Residence to Court, KBD
 04/20/2023   AT         Auto Travel Expense [E109] Elite Transportation Services,     185.81
                         Inv. 1879808, from PSZJ NY to Court, PSZJ trial team
 04/20/2023   BM         Business Meal [E111] Hatsuhana Sushi NY, working meal,         40.86
                         KHB
 04/20/2023   BM         Business Meal [E111]Campagnola NY, working meal, KHB           40.98
 04/20/2023   BM         Business Meal [E111] Working Meal, GSG and KBD                 80.24
 04/20/2023   LN         18491.00002 Lexis Charges for 04-20-23                          7.00
 04/20/2023   LN         18491.00002 Lexis Charges for 04-20-23                          1.00
 04/20/2023   LN         18491.00002 Lexis Charges for 04-20-23                         14.19
 04/20/2023   RE2        COPY ( 40 @0.10 PER PG)                                         4.00
 04/20/2023   TR         Transcript [E116] Veritext, Inv. 6524033, J. O'Keefe          150.00
 04/21/2023   BM         Business Meal [E111] Duke Eatery, working meal, KHB            23.84
 04/21/2023   HT         Hotel Expense [E110] Lotte NY, 04/17/23 - 04/21/23, 4       1,845.40
                         nights, GSG
 04/21/2023   RE2        COPY ( 320 @0.10 PER PG)                                       32.00
 04/21/2023   RE2        COPY ( 8720 @0.10 PER PG)                                     872.00
 04/22/2023   AT         Auto Travel Expense [E109] Uber Transportation Services,       86.97
                         Hotel to EWR, GSG
 04/23/2023   AT         Auto Travel Expense [E109] Uber Transportation Services,      113.92
                         from SFO to Residence, GSG
 04/24/2023   AF         Air Fare [E110]United Airlines, Tkt.#01698487160392,           35.00
                         From EWR/SFO, (baggage fee)
 04/24/2023   AT         Auto Travel Expense [E109] Uber Transportation Service,        97.99
                         KHB
 04/24/2023   BB         18491.00002 Bloomberg Charges through 04-24-23                 20.00
 04/24/2023   BM         Business Meal [E111] EWR Vesper, working meal, KHB             33.60
 04/24/2023   BM         Business Meal [E111] Food Hall, working meal, KHB              17.56
 04/24/2023   LN         18491.00002 Lexis Charges for 04-24-23                          7.00
 04/24/2023   LN         18491.00002 Lexis Charges for 04-24-23                         14.19
 04/26/2023   LN         18491.00002 Lexis Charges for 04-26-23                          2.00
 04/26/2023   LN         18491.00002 Lexis Charges for 04-26-23                         14.19
 04/27/2023   RE         ( 363 @0.10 PER PG)                                            36.30
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 04/27/2023   RE         ( 60 @0.10 PER PG)                                                 6.00
 04/28/2023   AF         Air Fare [E110]Delta Airlines, Tkt.# 0062104832777, from         737.80
                         MSP/LGA/MSP for July 10/11 Hearing
 04/28/2023   LN         18491.00002 Lexis Charges for 04-28-23                             1.00
 04/28/2023   LN         18491.00002 Lexis Charges for 04-28-23                            14.19
 04/29/2023   AF         Air Fare [E110]Delta Airlines, Tkt.#0062104276529, From          967.80
                         MSP/JFK/MSP for May 19 Mediation
 04/29/2023   AF         Air Fare [E110] Delta Airlines, Tkt.# 0062104300393,             887.80
                         MSP/LGA/MSP for May 10 Mediation
 04/30/2023   OS         Actuarial Value, LLC, Inv. #9, (Services Rendered from        10,200.00
                         April 1, 2023 through April 30, 2023), JIS
 04/30/2023   OS         Everlaw, Inc. Inv. #80802                                      6,336.00
 04/30/2023   PAC        Pacer - Court Research                                            39.80

   Total Expenses for this Matter                                                   $73,650.63
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        04/30/2023

Total Fees                                                                                         $1,554,775.75

Total Expenses                                                                                             73,650.63

Total Due on Current Invoice                                                                       $1,628,426.38

  Outstanding Balance from prior invoices as of        04/30/2023          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 131278                   10/31/2022               $535,306.50         $335,664.40                   $107,061.30

 131417                   11/30/2022               $611,937.50         $115,944.55                   $122,387.50

 131565                   12/31/2022               $585,075.50           $8,798.32                   $117,015.10

 131783                   01/31/2023             $1,318,410.00         $178,736.15                   $263,682.00

 132042                   03/20/2023             $1,140,389.50          $37,241.71                 $1,177,631.21

 132252                   03/31/2023             $1,122,085.00         $187,833.87                   $614,123.27

             Total Amount Due on Current and Prior Invoices:                                        $4,030,326.76
